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                          UNITED STATES MARINE CORPS
                                    3D MARINE AIRCRAFT WING
                                MARINE CORPS AIR STATION MIRAMAR
                                         P.O. BOX 452038
                                     SAN DIEGO CA 92145-2036

                                                                   IN RERL’ REFER TO:

                                                                   5720
                                                                   S JA / CIV
                                                                   SEP 2 92011
    Mr. and Mrs. Rolando Fontalvo
    Attention: LtCol Jay M. Holtermann




   Dear Mr.   and Mrs.   Fontalvo:

        Please find enclosed a copy of the Manual of the Judge
   Advocate General final report of the command investigation
                                                               into
   the facts and circumstances surrounding the class “A”
                                                          CH-53E
   aircraft mishap of 17 March 2011, that resulted in the
                                                           death of
   your son, Staff Sergeant Alexis Fontalvo, U.S. Marine Corps.

         Some parts of the investigation have been redacted or
   removed because they contain information exempt from public
   disclosure under the rulemaking established under the
                                                           Freedom of
   Information Act (FOIA)   . As such, certain personal identifying
   information of third parties listed in the report
                                                       has been
   removed, including names, birth dates, birth places,
                                                          social
   security numbers, telephone numbers, mailing and
                                                      e-mail
   addresses’, and other information that may be personal
                                                           to a third
   party.

       Other documents have been removed because they were
  generated by other U.S. Government agencies and thus
                                                       are not
  under our control.  We have forwarded those portions of the
  investigation to the appropriate agencies for
                                                a release
  determination.  Those agencies will provide a response to you.
  We regret any delay this may create.

         a. The release authority for enclosures (22),
                                                         (23), (24),
  (25), (35), and (37) is Commander, Naval Air Techni
                                                       cal Data and
  Engineering Service Command, Naval Air Station
                                                  North Island,
  Building 90, Distribution, PC Box 357031, San
                                                 Diego, California
  92135—7031.

         b. The release authority for enclosures (38)
                                                       and (48) is
  Commander, Naval Air Forces, Office of the
                                             Force Judge Advocate
  (NO1J), Box 357051, San Diego, California 92135—
                                                   7051.
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                                                                5720
                                                                S JA / CIV


         c.  The release authority for enclosure (45) is
  Commanding Officer, (Attn: Public Affairs/FOIA), PSC Box 21002,
  Jacksonville, North Carolina 28545.

        d. The release authority for enclosures (5), (7), (16),
 (18), (28), (29), and (30) is Naval Criminal Investigative
 Services Headquarters (Code OOLJF), 27130 Telegraph Road,
 Quantico, Virginia 22134—2253.

        e.  The release authority for enclosure (46) is Office of
 Counsel NAWCAD, Attn: FOIA Officer, Bldg 435, 47076 Liljencrantz
 Road, Patuxent River, Maryland 20670.

       Other documents have been removed because they were
 generated by agencies outside the U.S. Government.   Although
 they were included in the investigation as enclosures, we cannot
 consider them for release because they remain under the control
 of the civilian agency that originated and maintain these
 records.   If you would like to obtain copies of enclosures (41),
  (43), and (44) from Sikorsky, you may contact them directly at
 this address:   Sikorsky, 6900 Main Street, Stratford,
 Connecticut 06614.

      We have kept the scope of any redactions or removal as
 narrow as possible.  However, if you would like a formal
 determination regarding the portions that have been deleted or
 removed, please submit a request to our office:  Director, Joint
 Law Center, Attention:  FOIA, Box 452022, San Diego, California
 92145—2022.

     I would like to extend my deepest sympathy to you and to
your family.  I hope that the information contained in the
investigation will assist you in some manner with the tragic
loss of your son.

                                       Sincerely,



                                       PHILIP 1. /ETZ JR
                                       Colonel, U.S. Mane     :orps
                                       Staff Judge Advocate
                                       By direction of the
                                       Commanding General

Enclosure:   1. Command Investigation of 18 Jul 2011



                                   2
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 I                                              JAG Investigation Request

                                                  Rolando & Norma R. Fontalvo
                                                                 (Name)

                                                                (Address)

                                                         (City/S tatelZip Code)
                                                              22 Sept2011
                                                                 (Date)




     (Convening Authority)

     (Address)

     (City, State, Zip Code)

     To Whom It May Concern:

        SSgt Alexis Fontalvo            -2071     died while serving on active
       (Marine’s Rank, Name, and SSN)
     duty in the U.S. Marine Corps on 17 March 201 1 Our relationship to the
                                       (Date of Death)
     Marine is that of Parents.


    My Casualty Assistance Calls Officer (CACO) advised me an investigation into the circumstances surrounding the death
 will be investigated and takes approximately four weeks to complete. I understand the investigation will be reviewed and
 endorsed prior to its submission to me. I further understand it may take approximately two months to complete this review.

   Request a complete copy of the investigation, to include copies of all endorsements, be provided to me at the above
 address. Please advise of any documents that cannot be provided and the reason for denial. If the investigation is delayed
 and not completed in four weeks, please advise of the approximate date of completion.

                                                Sincerely,




                                                 (Signature

Enclosure: DD Form 1300




•Fax to Marine’s Command (Attn: SJA[FOIA Office
 CC: Copy to HQMC Casualty Section
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                                                                       HEADQUARTERS, U.S. MARINE CORPS                                  REPORT CONTROL SYMBOL
                                                                                    3280 Russell Road                                          DD-P&R(AR)1664
        R1PORT OF CASUALTY                                                        Quantico VA 22134-5103
                                                             1. REPORT TYPE                                                                       2. DATE PREPARED
                                                             Interim                                                                                     28Mar2011
      3. SERVICE IDENTIFICATION
      a. NAME (Last. First, Middle end Suffix)                                     b. SOCIA.I. SECURITY NO.       c. RANI(     d. PAY GRADE       °‘   OCCUPATIONcL CODE)

     Fontalvo, Alexis                                                                             2071              SSGT             E-5                        6153
      f, COMPONENT                   g. BRANCH               h. ORGANIZATION
               Regular                     USMC              HMH-361, MAG-16, 3d MAW, MCAS Miramar, CA
     4. CASUALTY INFORMATION
     a. TYPE                  b. STATUS                      c. CATEGORY                        d. DATE OF CASUALTY a. PLACE OF CASUALTY
         Nonhostile                  Deceased                           Accident                 17 Mar 2011             San Diego, CA
     f. CIRCUMSTANCES
     Accident: Result of being pinned underneath aircraft landing gear.


     g. DUTY STATUS                                                                                                                                    h. BODY RECOVERED
     Active Duty/On Duty                                                                                                                               Yes
     5. BACKGROUND INFORMATION
     a. DATE OF BIRTH        b. PLACE OF BIRTH                                                                           c. COUNTRY OF CITIZENSHIP
                 1986        Paterson,     NJ                                                                                            United   States
     d. RACE
     White
     a. ETHNICITY                                                                                                                                      1. SEX
     Histnic or Spanish descent other than Latin American                                                                                                       Male
     9. RELIGIOUS PREFERENCE
     Roman Catholic Church
     6. ACTIVE DUTY INFORMATION
 a. PLACE OF ENTRY                                   b. DATE OF ENTRY        C.   HOME OF RECORD AT TIME OF ENTRY
 MEPS Houston, TX                                     21 Jun 2004            Houston,      TX
 7. INTERESTED PERSONSIREMARKS (Name, Address, and Relationshipi (Continue on separate sheet. if necessaty)

 Dominic M. Fontalvo, do Tashina S. Peshlakal,                                                                               Lakeside, CA                 (Son)
 Rolando Fontalvo, Sr.,                          Houston, TX                                         (Father), I
 Norma R. Fontalvo,                            Houston, TX                                        (Mother), 2
 Rolando Fontalvo, Jr.,                          Houston, TX                                        (Brother), 3
     End of Interested Persons                ‘‘‘‘




 Item 3c changed: Sergeant Alexis Fontalvo was posthumously promoted to the rank of Staff Sergeant, as of 17 March 2011,
 under section 1521(a) of tWe 10, U.S. Code. Pay grade shown in item 3d is that of E-5 since additional pay is not involved.




FOOTNOTES:          1 Adult next of kin.
                    2 BenefIciary for gratuity pay in Event there ía no sUrvIving spouse or child as designated on record of emergency data.
                    3 BenefIciary for unpaidpay and allowances   .   as designated on record of emergency data.
8. REPORTING INFORMATION
a. COMMAND AGENCY
                                                                                                                                                   b. DATE RECEIVED
HMH 361         Casualty     Msg dated 17 Mar2011                                                                                                        17 Mar2011
9.     DISTRIBUTION                                              10. SIGNATURE ELEMENT
DFAS, OSGLI, VA (Report # 038-11)

                                                                     By dwection    of   the Comman ant of the M, n Corps
                                                                 NOTE: ThIs form may be used to facIlitate the cashlli of bonds, the payment of commercial Insurance,
                                                                        or in the settlement of any other claim In which pioof of death is required.
DD FORM 1300, MAR 2004                                              PREVIOUS EDITION MAY BE USED.
  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.99 Page 5 of 155




                          (JN1TED STATES MARINE CORPS
                                   30 UARINE MRCRAFT NG
                               ARjNE CORPS AI STAT)ON MIRAUAR
                                        P0 BOX 482038
                                    SAN DIEGO CA 02i48-2038

                                                                   H tEPLY RErER TO:

                                                                   5800
                                                                   S JA / I NV
                                                                   AUG 312011
  SECOND ENDORSEMENT on                     ltr 5830 10 of 18 Jul 11

 From;   Commanding General, 3d Marine Aircraft Wing
 To:     Headquarters Marine Corps, 3280 Russell Road, Quantico,           VA
         22134—5103, Manpower and Reserve Affairs (MMSR—6)

 Subj:   COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
         SURROUNDING THE CLASS “A” CH—53E AIRCRAFT MISHAP AND
         DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
         QN 17 MARCH 2011

 1.  Readdressed and forwarded pursuant to section 0229(d) (3)         of the
 reference.

 2.  The findings of fact, opinions,        and recommendations of the
 Investigating Officer are approved.

 3.  I specifically find that Sergeant Fontalvo’s death occurred while
 in the line of duty and not due to his own misconduct.

 4.  Per section 0209(g) (8) of the reference, the Office of the Staff
 Judge Advocate will retain a copy of this investigation for a period of
 two (2) years.

5.  on behalf of the Marines and Sailors of 3d Marine Aircraft Wing, I
would like .to express our sorrow in the loss of Sergeant Fontalvo and
to send our heartfelt condolences to hi surviving family members.




                                       T. CONANT

Copy to:
OJAG (Code 15)
CNAF
0/C, Aviation
CMC (JAD)
CMC (CL)
AC/S, ALD
DOSS
CO, MAG-l 6
CO, HMH-36l
File



                                       17
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.100 Page 6 of 155




                         UNITED STATES MARINE CORPS
                                MARINE AIRCRAFT GROUP It
                                31)       AIRCRAFT WG
                            MARINE CORPS AIR STATION MIRAMAR
                                      P0 BOX 4525
                                 SAN DtGO. CA 145-205
                                                                    REPYFfRTO:
                                                                    5800
                                                                    Legal
                                                                    AUG 15 2011
  FIRST ENDORSEMENT on                        CI 5830 10 of 18 Jul 11

  From:   Commanding Officer, Marine Aircraft Group 16
  To:     Commanding General, 3d Marine Aircraft Wing

  Subj:   COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
          SURROUNDING THE CLASS t
                                IAR CH-53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
          ON 17 MARCH 2011

  1.  Readdressed and forwarded recommending a. determination of in
  the line of duty and not as a result of misconduct.

 2.  I have reviewed the contents of this command investigation
 and concur with the Investigating Officer’s findings of fact,
 opinions, and recommendations (1) through (7).

 3.   The point of contact is




 Copy to:
 CO, HMH-361
 Files




                                      16
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.101 Page 7 of 155




                           UNITED STATES MARINE CORPS
                                  MARINE AIRCRAFT GROUP 16
                                  30 MAJW’ JRC1iAFr WING
                              MARINE CORPS AJR 5TATON A1RAMAR
                                        PG BOX 452025
                                   SAN OIO CA 521452025
                                                                 IN AEPtYRPERTO
                                                                 5830
                                                                 I0
                                                                ra 15
   From                                          USMC
   To      Commanding Officer, Marine Aircraft Group 16

   Subj:   CONN.AND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
           SURROUNDING THE CLASS ‘IA” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
           ON 17 MARCH 201].

   Ref     (a) JAGINST 5800.7E,     Part II

   End:      (1) CO, MAG—16’s Appointment Ltr 5810 CO of 18 Mar 11
                 with Requested and Approved Extensions
             (2) 10’s summary of mishap observances and post mishap
                 tests conducted
             (3) Environmental data, collected 17 March 11
             (4) IH-361 Flight Schedule for 17 Mar 11
             (5) Voluntary Statement from               taken by NCIS
                 dtd 18 Mar 11
            (6) Voluntary Statement from                taken by 10 dtd
                 25 Mar 11
            (7) Voluntary Statement from                             taken
                 by NCIS  dtd 24 Mar  11
            (8) Voluntary Statement from                     taken by IC
                 dtd 25 Mar 11
            (9) Copy of Aircrew Training Jacket for Sergeant Fontalvo
            (10) Excerpt copies of NATOPS qualifications and
                  designations for Sergeant Fontalvo
            (11) Flight Logbook copy for Sergeant Fontalvo
            (12> HMH-361 Flight Hour Tracking Sheet
            (13) Voluntary Statement from                        taken by
                  10 dtd 8 Apr 11
            (14) Voluntary Statement from                  taken by IC
                  dtd 31 Mar 11
           (15) VoLuntary Statement from
                          taken by 10 dtd 31 Mar 11
           (16) Voluntary Statement from                      taken by
                  NCIS dtd 17 Mar 1].
           (17) Voluntary Statement from                      taken by
                  10 dtd 25 Mar 1].
           (18) Voluntary Statement from                    taken by
                  NCIS dtd 18 Mar 11
           (19) 10’s Diagram of mishap aircraft location and aircrew
                  positions
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  Subj;   COMMAND IN’STIGATION INTO ThE FACTS Ai) CIRCUMSTANCES
          SURROUNDING THE CLASS A” CH-53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
          ON 17 MARCH 2011

             (20) Voluntary Statement from                           dtd 6
                   Apr 11
             (21) Voluntary Statement from
                    taken by 10 dtd 6 Apr 11
             (22) Excerpts from NAVAIR A1-H53BE-NFM-0O CH53E NATOPS
                    Flight Manual; checklist procedures
             (23)  Excerpts  from A1-H53E-GAI-000 General Aircraft
                    Information
             (24) Excerpts from NAVAIR A1—H53BE--NFM--00 CH53E NATOPS
                   Flight Manual; Landing Gear System
             (25) A1-H53CE-130-100 Landing Gear Systems Manual
             (26) Aviation Skills Management (ASH) data for Sergeant
                   Fontalvo printed 2 Jun 11
             (27) 10 photograph of Sergeant Fontalvo immediately
                   following aircraft removal
            (28) Copy of Autopsy Examination Report obtained by NCIS
                   dtd 31 Mar 11
            (29) Copy of Fire Department Report obtained by NCIS dtd
                   25 Mar 11
            (30) Copy of EMS report obtained by NCIS dtd 31 Mar 11
            (31) Selected Maintenance Action Forms and Inspection
                   Record Copies from the ADB for BtJNO 163077
            (32) Excerpts from AIRS Logbook, including outstanding
                   Technical Directives BUNO 163077
            (33) Voluntary Statement from                      dtd 22 Mar
                   11
           (34) Record of Daily Inspection from Aircraft Discrepancy
                  Book
           (35) A1-H53CE-MRC--200 Daily Inspection Procedures
           (36) Record of Turnaround Inspection from Aircraft
                  Discrepancy Book
           (37) A1-H53cE-MRc-100 Turnaround Inspection Procedures
           (38) CH-53E BUNO 163077 Damaged Aircraft Condition and
                  Disposition Report dtd 7 Apr 1].
           (39) 10 photograph of mishap cockpit configuration
           (40) Narrative of Post-Mishap Tests Conducted Authored by
                                                   dtd 22 Apr 11
          (41) Materials Engineering Report dtd 13 May 11
                  authored by
          (42) 10 photographs of affected wires
          (43) Engineering Investigation titled ‘Report:
                  Inadvertent Retraction of Landing Gear While on the
                  Ground, CH—53E” authored by Sikorsky Engineer
                           dtd 23 Aug 05
          (44) Power Point Presentation titled Wire Degradation’s
                  Role in Helicopter Incident” authored by Sikorsky

                                     2
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  Subj:   C0NMA1JD INvSTIGATION INTO THE FACTS Aiii) CIRCUMSTANCES
          SURROUNDING THE CLASS     CH-53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2 071/6153 USMC
          ON 17 MARCH 2011

                 Engineer               given to Aging Aircraft
                 Conference  dtd 18 Apr  07
          (45)   Command  Investigation  of HMT-302 Aviation Ground
                 Mishap which  occurred  20 Jun 05
          (46)   Email from                        detailing Kapton
                 Wire Replacement dtd 22 Jul 11
          (47)   Email from               detailing phased Kapton wire
                 replacement completion dtd 22 Jul 11
          (48)   Draft Technical Directive proposed by NAVAIR with
                 respect to Landing Gear Wiring Inspection

                           Preliminary Statement

 1.   In accordance with reference (a) and pursuant to enclosure
 (1), a command investigation was conducted regarding the
 circumstances surrounding the death of Sergeant Alexis Fontalvo
 at Marine Heavy Helicopter Sciuadron 361 (H-361) on the
 afternoon of 17 March 2011 on the flightline at Marine Corps Air
 Station (MCAS) Miramar, California.

 2.  All reasonably available evidence was collected for this
 investigation, each directive of the Convening Authority was
 met, and all governing regulations contained within the
 references were adhered to.  Enclosures (2) through (48) contain
 factual material evidence pertinent to this investigation.

 3.  Legal assistance was provided by                             U.S.
 Marine Corps, 3d Marine Aircr-’t Wing (3d MAW)
                                    U.S. Marine Corps,
                       3d MAW pursuant to enclosure (1).

 4.  All interviews taken for this investigation were conducted
 by the Investigating Officer (10) in person at MCAS Miramar.

 5.  All social security numbers and other personal identifying
 information were obtained from administrative sources.

6.   This investigation was conducted concurrently with the
Aviation Mishap Board (AMB) and Naval Criminal Investigative
Service (NCIS) investigations, yet remained separate and
independent as dictated by reference (a) and enclosure (1).
However, the hierarchy of investigative priority rendered this
investigation third behind the other two, causing several delays
and difficulties in collecting witness statements, aircraft
data, and evidence. Most notable, the initiation of the
engineering investigation by external agencies was delayed by

                                    3
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                                                                   NCES
  Subj:        COMMAND IN’vSTIGATION INTO THE FACTS A) CIRCUNSTA
                                                                  AND
               SURROUNDING THE CLASS ‘A” CH-53E AIRCRAFT MISHAP
               DEATH OF SERGEANT ALEXIS FONTALVO xxx xx .2071/
                                                               6153 USMC
               ON 17 MARCH 2011

  the above events.  Enclosure (1) includes the original
                                                    extensions.
  appointment letter and the requested and approved

                                   Findings of Fact

  1.   The location and environment on 17 March 2010 was as
  follows;

      a.  Location:           MCAS Miramar, Hangar 5 Flightline             (N 32 52 01
  W 117 01 50) [End           (2)1

          b.    Air Temperature:     18°C [End      (3)1

          c.    Wind Direction and Speed:         310 degrees at 06 knots           [End
   (3)]

          d.    Wind Gusts;     0 knots   [End    (3)]

      e.  Conditions:   Clear skies with 7 statute miles of
  visability [End  (3)]

          f.    Altimeter:     30.05 inches of mercury [End             (3)]

  2.  The mishap aircraft (MAC) was a gray Cargo Helicopter (CH)
  53E, BUNO 163077,.side number 69, assigned to HMH-361.  [End
  (2)]

  3.      The aircrew of the MAC on 17 March 2011 were:

       a.                                                          USMC; Helicopter
  Aircraft Commander (EAC),         Left Seat.          [Ends    (4), (5), (6), (7),
  (8)1

      b.                                                                           USMC;
  Helicopter Second Pilot,          (H2P), Right Seat.           [EncJ.s   (4),   (5),
  (6), (7), (8)]

          C.                                                            USMC; Crew
  Chief,       Right Window.     [Ends    (4),   (5),    (6),   (7),   (8)]

      d.                                                               USMC;
  Assistant Crew Chief,         Cabin.     [Ends    (4),    (5),   (6), (7),      (8)]

      e.  Sergeant Alexis Fontalvo XXX XX 2071/6153 USMC; Aerial
  Observer, Left Window.  LEnds (4), (5), (6), (7), (8)1


                                             4
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  Subj:   COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
          SURROUNDING THE CLASS AU CH-53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
          ON 17 MARCH 2011

  4.   All personnel involved in the mishap flight were on active
  duty in the reular component of the U.S. Marine Corps.    [End
  (2))

  5.  Sergeant Fontalvo was designated as an Aerial Observer on 30
  September 2010, and was qualified as an Aerial Observer for the
  mishap flight.  [Ends (9), (10))

  6. Sergeant Fontalvo had flown 37.4 total hours in the CH-53E.
  [Ends (11), (12)]

  7.  Sergeant Fontalvo had met all ground and flight syllabus
  requirements, was medically and physiologically qualified,
  NATOPS current and qualified, aeronautically adapted, well-
  rested, and physically and mentally prepared to conduct flight
  operations.   [Ends   (10),   (13),       (14),   (15)]

  8.   The flight schedule dated 17 March 2011 authorized the
  aircrew to fly a proficiency training flight.   This flight
  schedule was signed by the HT-36l
                                           [End  (4))

  9.   The mishap section flight briefing was conducted in the HMEI
  361 ready room by the pilots.   The brief did not include
  standard pre-taxi NATOPS procedures because it was not required.
  [End   (6)]

  10.  The mishap pilots’ NATOPS brief for the MAC did not include
  standard pre-taxi NATOPS procedures because it was not required.
  [End  (6)]

  11.   The mishap aircrew’s brief was specific to external lift
  operations, and only included crew position assignments for the
  aircrew.   There was not any discussion of individual NATOPS
  checklist procedures because it was not required.   tEnds (16),
  (17))

 12.                 briefed the aircrew on the concept of
 operations before   preflighting, encompassing the conduct of the
 flight.  This did   not include any emergency procedures.  Such
 discussion is not   required.   [End  (6)]

 13.               completed a Preflight Inspection of the mishap
 aircraft starting at the crew door, and going counter-clockwise
 around the front of the aircraft.  This included the nose.
 landing gear, the left main landing gear, and eventually the

                                        5
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   Subj:   CONMAND INVESTIGATION INTO THE FACTS AJD CIRCUMSTANCES
           SURROUNDING THE CLASS ‘NA” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
           ON 17 MARCH 2011

   forward hydraulics compartment which includes the utility
   hydraulics system that powers the landing gear.  [End   (6)]

   14.  Upon Preflight Inspection, the forward hydraulics
   compartment was determined to be safe by
   accompanied by                    They did not immediately
                                      .


   recognize any problems with the system, the hydraulic lines,    or
   electrical wires.   [Ends (6), (17>]

  15.                         conducted a Preflight Inspection of
  the cabin and cockpit, exited the crew door and, going clockwise
  around the mishap aircraft, inspected the rest of the aircraft
  to include the right main landing gear.  [Ends (6), (8))

  16.  Each landing gear was determined to be safe; the landing
  gear safety pins were in but not checked for tension.  Such a.
  practice is not required by the governing manuals.   [Ends (6),
  (8), (17)]

  17.   The pilots and aircrew took their positions tor start-up
  and rotor engagement per the NATOPS checklist.   [Ends (6), (8),
  (17)]

  18.  Once the engines were online, there were no discrepancies
  or abnormalities related to the utility hydraulics, landing
  gear, or electrical system.  tEnds (6), (8), (17)]

 19.                   was at the 12 O’clock position, Sergeant
 Fontalvo was in or around the right crew door, and
        was seated in the cabin before the landing gear safety
 pins were pulled.  tEnds (6), (8), (17), (18), (19)]

 20.  External to the aircrew,
                         USMC, HMH-361, was assigned as the taxi
 director for the mishap flight, and took a position on the taxi-
 line approximately 30 feet in front of the aircraft at the 11
 O’clockposition.   [Ends (19), (20)]

 21.                                                    USMC,
 HMH-361, was an aircrewman on the aircraft to the immediate left
  (south) of the mishap aircraft. During the mishap timeframe, he
 was located outside his aircraft, on the right side, closest to
 the mishap aircraft.   [Ends (19), (21)]

 22.  At the point in the NATOPS checklist where the droop Stops
 are noted as ‘out” by the crew chief,                  asked for

                                  6
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   Subj;   COMMAND INVESTIGATION INTO THE FACTS A1’JD CIRCUMSTANCES
           SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO xxx xx 2 071/6153 USMC
           ON 17 MARCH 2011

   and received oral authority from the pilots to pull the landing
   gear safety pins, the auxiliary fuel tank pins, and the chocks
   from the wheels in order to be ready to taxi.   [Ends (6), (17>]

   23.  The call for “pins and chocks”, referring to pulling the
   landing gear safety pins, the auxiliary fuel pins, as well as
   the wheel chocks, is executed after electrical power has been
   applied to the aircraft.  fEnd  (22)]

   24.  Landing gear safety pins provide a mechanical lock,
   preventing the gear from collapsing due to malfunction or
   failure.  [End  (23)]

  25.  Auxiliary fuel tank pins provide a mechanical lock,
  preventing the auxiliary fuel tank from inadvertently releasing.
  [End  (23)]

  26.   In a properly functioning landing gear system, the landing
  gear will not retract unless the gear handle is in the up
  position, the aircraft weight is off the wheels, and the landing
  gear safety pins have been removed.   [End  (24), (25)]

  27.   As                 came inside the rotor arc to remove the
  landing gear safety pins, he was met by Sergeant Fontalvo, who
  indicated via hand signals that he would remove the left main
  landing gear safety pin and auxiliary fuel tank pin while
                   went to the nose landing gear.   [Ends (17),
  (20))

  28.  It is routine, but not prescribed by NATOPS, to pul]. the
  landing gear safety pin out before the auxiliary fuel tank pin.
  [Ends (21), (22)]

  29.  During normal operation, landing gear safety pins are
  removed unimpeded with little to no friction.  The time to take
  a landing gear safety pin out of a properly functioning system
  is 1—2 seconds.   fEnds   (2),   (21)]

  30.   Sergeant Fontalvo is an Airframes Collateral Duty Quality
 Assurance Representative (CDQAR).  This qualification requires
 significant exposure and a working mechanical knowledge of the
 landing gear system.  [End  (26)]

 31.  Sergeant Fontalvo proceeded under the left fuel sponson,
 but was having trouble removing the landing gear safety pin from
 the left main landing gear.  [Ends (20), (21)1

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   Subj:   CO1MAND IN’,iSTIGATI0N INTO THE FACTS Ai) CIRCUMSTANCES
           SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AN])
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2 071/6153 USMC
           ON 17 MARCH 2011


   32.  Simultaneously,                        had trouble pulling the
   nose landing gear safety pin.       [Ends   (16), (17)]

   33. The right main landing gear pin was never approached.
   [Ends (16), (17))

   34.                   began troubleshooting the landing gear
   system underneath the nose landing gear compartment by visually
   inspecting the down-and-locked pin.  (Ends (16), (17)]

  35.  Sergeant Fontalvo got out from underneath the left sponson,
  removed the left auxiliary fuel tank pin, and then went back
  underneath the left main landing gear to reattempt to remove the
  left main landing gear safety pin.  [EncJ. (20)]

  36.   Sergeant Fontalvo was lying on his left side, with his feet
  pointed outboard of the aircraft, attempting to remove the left
  main landing gear safety pin with his right ann.    [Ends (20),
  (21))

  37.  The left main landing gear retracted immediately when the
  left main landing gear safety pin was removed. fEnd   (20)]

  38.  Sergeant Fontalvo’s right arm was trapped within the
  landing gear mechanism as it retracted.   [Enc]. (27))

  39.   Sergeant Fontalvo was killed by the weight of the
  helicopter causing blunt force polytrauma. He suffered numerous
  injuries including but not limited to:   skull fractures, spinal
  fractures, and brainstem/spinal cord separation.   [Ends (27),
  (28))

  40.  Autopsy toxicology results for Sergeant Fontalvo were
  negative.  [End   (28)]

  41.               and                      felt the mishap
  aircraft violently shift. They did not immediately recognize
  the nature of the emergency. [Ends (5), (6), (7), (8)]

 42.                   called for an emergency shutdown when he
 realized what had happened. The pilots asked for clarification
 and, once briefed,              executed an emergency shutdown.
 fEnds (5), (6), (7), (8), (16), (17)]



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   Subj     COM4AND INSTIGATION INTO THE FACTS Aj’,jj) CIRCUMSTANCES
            SURROUNDING THE CLASS WA” CH-53E AIRCRAFT MISHAP AND
            DEATH OF SERGEANT ALEXIS FONTAI,VO XXX XX 2071/6153 USMC
            ON 17 MARCH 2011

   43.    MCAS Mirarnar   emergency response crews were dispatched to
   the scene at 1523, approximately 1 minute after the landing gear
   retracted.  [End   (29)]

  44.  The determination to redesignate the mishap scene from a
  rescue to a recovery was made by the mishap on scene commander.
  [Ends (2), (29), (30)]

  45.  The recovery mission was delayed when the air bladder used
  to lift the mishap aircraft tailed and had to be replaced.
  [End  (29)]

  46.  The mishap aircraft was lifted using a stronger air bladder
  and immediately reinforced with wooden trusses and a jack at the
  jack point.  [End   (29)]

  47.     Sergeant Fontalvo’s body was recovered by Crash Fire Rescue
  and pronounced dead at 1713.       [Ends   (28),   (30)1

  48.  The Aircraft Discrepancy Book, Aircraft Log Book, and
  NALCOMIS were immediately secured per squadron mishap protocol.
  [End  (2)]

  49.   The Maintenance Action Forms and outstanding Technical
  Directives were thoroughly examined, dating back to 2007.    No
  discrepancies  or symptoms were annotated with the landing gear
  system, electrical system, or hydraulic system components
  related to the landing gear system.   [Ends (31), (32)]

  50.   The mishap aircraft completed phase D” maintenance on 20
  January 2011.   The aircraft had flown 21.6 hours since phase.
  L:Encl (32))

 51.  The mishap aircraft completed depot level maintenance (IMC)
 overhal]. on 20 October 2010. The aircraft had flown 99.9 hours
 since IMC.   [End  (32)]

 52.  The mishap aircraft’s last safe flight was on 9 March 2011.
 The landing gear was cycled several times in flight without
 indications of malfunction.  The landing gear safety pins were
 also removed and replaced two times during refueling operations,
 with no discrepancies noted.  [Enc]. (33)]

 53.     The Daily inspection was comoleted at 2102 on 15 March 2011
 by                                                 USMC, HMH—36l.


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   Sub:j:   COMMAND INVJSTIGATION INTO THE FACTS Ai’D CIRCUMSTANCES
            SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
            DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
            ON 17 MARCH 2011

   The functionality of the landing gear safety pins is not a
   required check on a Daily inspection.  (Ends (34), (35)]

   54. The Turnaround inspection was completed at 2244 on 16 March
   2011 by                                               USMCI }-
   361.  The functionality of the landing gear safety pins is not a
   required check on a Turnaround inspection.  tEnds (36), (37))

   55. The total damage estimate for the landing gear retraction
   and repair, including parts and labor was $265381.00.   [End
   (38)]

  56.  The post mishap survey of the mishap aircraft found that
  the landing gear handle was down, and that both weight on wheels
  override switches were down and covered.  [Ends (18), (39)]

  57. A post mishap test proved that the weight—on-wheels
  switches were functional for each landing gear. [Enc].s (2),
  (40)]

  58. When the mishap aircraft was energized with electrical
  power after the mishap, the only indication of malfunction was
  the left main landing gear indicator indicating “up”, while the
  nose wheel and right main landing gear indicated down.   [End
  (40)]                V




  59.  The post mishap engineering investigation concluded that
  the main landing gear drag strut, the utility hydraulics module,
  and the landing gear control panel were all functioning
  correctly atthe time of the mishap.   [End   (41))

  60. During post mishap inspection, avionics mechanics
  discovered several portions of the wire leading from the landing
  gear control panel to the utility module had exposed wires.
  This means that the lamination of the wire was degraded and the
  wiring was unprotected.  [Ends (40), (41), (42)]

 61. The wire in question leads to pin 494. This pin, when
 energized, retracts the landing gear.  This action occurs
 downstream of all interlocks preventing gear retraction, other
 than the landing gear safety pin.  [Ends (40), (41)]

 62.  During post-mishap testing, a bare portion of the wire in
 question heading to pin 494 was deliberately energized with 28
 volts direct current (DC) from an outside source.  This caused
 the landing gear to retract.  [Ends (2), (40)]

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   Subj:   CONNAND IN’viSTIGATION INTO THE FACTS Ai) CIRCUMSTANCES
           SURROUNDING THE CLASS ‘A” CH—53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USHC
           ON 17 NARCH 2011


  63.    The wire in question starts as Spec 55 wire (MIL-W
  22759/43) and is spliced into the Kapton wire (MIL-W-81381/11).
  The engineering investigation found bare portions on both
  sections of the length wire in question.    [Ends (40), (41),
  (42> 1

  64.  The engineering investigation cites widespread Kapton wire
  degradation due to age, moisture intrusion, and handling of the
  wire (bending, clamping, and wire ties).   [End (41)]

  65.  The engineering investigation highlights numerous sites of
  probable electrical arcing on the wire in question on the Kapton
  section of the subject wire.  [End  (41)]

  66.   Kapton wiring degradation and subsequent arcing has been
  cited as a causal factor during a similar CH—53E mishap in June
  2005.   (Ends (43), (44)]

  67.  During the 2005 CH—53E mishap, the aircraft was taxiing
  when all three of its landing gear retracted. All three landing
  gear safety pins were already pulled.   [Ends (43), (44), (45)]

  68.  The command investigation for the 2005 mishap was published
  before the engineering investigation was completed and, in turn,
  before causal factors were determined.  [End  (45)]

  69.  It was later determined that bare Kapton wiring between the
  Landing Gear Control Panel and the utility module was the cause
  of the 2005 mishap.   [Ends (43), (44))

 70.  The fleet—wide plan to replace Kapton wiring was in place
 before the 2005 mishap.  It is a phased program that prioritized
 each Kapton wire bundle into one of 3 phases. Aircraft are
 modified when inducted into IMC.  [Ends (45), (46), (47))

 71.  The Kapton wiring program has never been fully funded, and
 is due to be phase 3 complete in Fiscal Year 2017.  [End   (46)]

 72.  At present, there are 97 CH—53Es in service.   One hundred
 percent are Phase I complete, 29 percent are Phase II complete,
 and Phase III is still in development.  [End  (47>]

 73.   The harness of wires that was involved in both mishaps is a
 part of Phase III of the Kapton wiring replacement plan.   [End
 (46))

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   Subj:   COMMAND IN\STIGATION INTO THE FACTS Ara) CIRCUMSThNCES
                                 A” CH-53E AIRCRAFT MISHAP AND
           SURROUNDING THE CLASS ‘
                                 1
           DEATH OF SERGEANT ALEXIS FON’I’ALVO XXX XX 2071/6153 USMC
           ON 17 MARCH 2011


   74.   As a result of this mishap, Naval Air Systems Command
    (NAVAIR) drafted a Technical Directive requiring a one-time
   inspection of the suspect wiring harness.   It further directs
   replacement of the wiring and spiral wrapping if damage is
   found.   This proposed Technical Directive has not been signed at
   the time of this report.   [Ends (47), (48)]

  75.   Landing gear safety pins are only mentioned in one
  maintenance publication.   They are not mentioned in the NATOPS
  publications.   There is no reference to malfunction or immediate
  actions when confronted with malfunction of the landing gear
  system with relation to landing gear safety pins.   [Ends (22),
  (23), (24), (25))

                                Opinions

  1.  Sergeant Fontalvo died in the line of duty and not due to
  his ownmisconduct.   [FF (3), (4), (5), (7), (31), (35), (39),
  (40))

  2.   Sergeant Fontalvo did not have physical, emotional,
  medicinal, or illicit substance dependency issues that would
  have contributed to his performance or decision making as an
  Airframes CDQAR or an Aerial Observer.   EFF (7), (40)]

  3.   The three inspections that took place before the aircrew
  started the mishap aircraft (Daily, Turnaround, Preflight) were
  thorough and in accordance with maintenance publications.   There
  is no requirement to check the functionality of the landing gear
  safety pins with or without electrical power.   [FF (53), (54),
  (75)]

 4.  The bare wire found subsequent to the mishap was well hidden
 among a wire bundle that is not in the field of view for any
 non-intrusive inspections, including Phase, Daily, Turnaround,
 and Preflight Inspections.  EFF (60), (61), (62), (63)]

 5.   The mishap aircraft utility hydraulic system was receiving
 an inadvertnant electrical signal downstream of all of the
 safety interlocks with the notable exception of the landing gear
 safety pin.   This caused the landing gear to continuously
 attempt retraction, casuing the landing gear safety pins to be
 tight or stiff in their positions as they are the mechanical
 barrier to retraction.   Once the landing gear safety pin was
 forcibly removed, the left main landing gear retracted, trapping

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   Subj:   COMMAND INSTIGAPION INTO THE FACTS A.’ii) CIRCUMSTANCES
           SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AN])
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
           ON 17 MZRCH 2011

  Sergeant Fontalvo   underneath the weight of the aircraft.
  Sergeant Fontalvo   did not have time to react.  The weight of the
  helicopter forced   the landing gear to retract instaneously.   [FF
  (29), (37), (56),   (57), (59), (60), (61), (62), (63) , (64) (66),
  (69)]

  6.  The source of the electrical signal is unknown.   The
  introduction of a stray electrical signa]. likely came from a
  separate charged wire within the same bundle. The Kapton
  portion of the wire in question showed significant degradation,
  and several indications of moisture and possible arcing.   The
  non-Kapton portion of the wire in question also had possible
  exposure sites identified.  [FF (61), (62), (63), (64), (65)]

  7.  While the landing gear should never retract while on the
  ground, the last remaining barrier to retraction was the landing
  gear safety pin. As a qualified Airframes COQAR, Sergeant
  Fontalvo is considered a duty expert with respect to the landing
  gear system.  Therefore, Sergeant Fontalvo should have
  recognized the danger of an impeded landing gear safety pin and
  immediately egressed.   CFF (7), (29), (30)]

  8.  The pilots did not receive any warning or indication of
  malfunction outside of the sudden displacement of the mishap
  aircraft and tip path plane.  [FF (41), (42), (56), (58)]

  9.                was advised and consciously chose to shut down
  the mishap aircraft instead of lifting off.   Taking of f would
  have put his aircrew and bystander Marines at great risk, and
  would not have saved Sergeant FontaJ.vo’s life.  Expedited
  removal of the mishap aircraft, whether by flight, crane, or
  cutting would not have changed the outcome once the gear
  retracted.  [FF (19), (20), (21), (38), (39), (42)]

 10.  There exists a significant training issue with respect to
 maintenance publications and the landing gear safety pins.
 While most aircrewrnan and all Airframes mechanics have come to
 understand its function through repeated contact and routine
 maintenance, at no time are aircrewman nor airframes mechanics
 formally taught the function of the landing gear safety pin, nor
 the danger and immediate actions if the pin is not functioning
 properly.  [FF (75)]

 11.  The causal factors for the 2005 inadvertant gear retraction
 mishap and this mishap are very similar.  The 2005 mishap
 command investigation was completed before the engineering

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   Subj:   COMMAND INSTIGATION INTO THE FACTS Ai) CIRCUMSTANCES
           SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
           ON 17 MARCH 2011

   investigation was concluded; therefore, causal factors were not
   identified.  Because of this, usable reccoinmendations were not
   filed.  After the 2005 engineering investigation was concluded,
   the command investigation Convening Authority should have
   followed up and made appropriate recommendations for corrective
   action, possibly preventing a future incident.  [FF (66), (67),
   (68), (69)]

  12.  NAVAIR did not accelerate nor alter the plan to replace
  Kapton wiring after the 2005 CH-53E mishap. Replacement of the
  Kapton wiring may have prevented this mishap.   EFF (70), (71),
  (72), (73), (74))

                             Recommendations

  1.  A formal determination that Sergeant Fontalvo died in the
  line of duty and not due to his own misconduct.

  2.  Verbiage should be added to the aircraft systems
  familiarization portion of the CH-53E NATOPS to include a
  description and the purpose of the landing gear saftey pins.
  Include a Warning in aircrew pocket checkists annotating the
  danger of removing a pin that is impeded and immediate action
  steps that must be executed.

  3.  A description and explanation of the landing gear safety
  pins’ function should be added to all appropriate technical
  publications.  Include a Warning regarding the danger of
  removing a pin that is impeded.

  4.   Add landing gear safety pin familiarization and
  functionality technical training to schoolhouse requirements for
  aircrewman as well as for airframes mechanics.

 5.   Identify and replace Kapton wiring that can lead to serious
 aviation or ground mishaps if comprimised. Accelerate
 replacement of these wires in all aircraft without waiting for
 scheduled IMC.

 6.  Adjust NATOPS procedures so the landing gear safety pins are
 removed before electrical power is applied to aircraft.  This
 would eliminate the possibility of an aircrewman being
 underneath the aircraft when the gear is capable of
 inadvertantly retracting.




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   Subj:   CONM?D IN’VPIGATION INTO THE FACTS AJ CIRCUMSTANCES
           SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
           ON 17 MARCH 2011

   7.  Reengineer the landing gear system so the safety interlocks
   cannot be electrically bypassed.




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                         UNITED STATES MARINE CORPS
                                MARINE *JRCRAFT GROUP 16
                                31) MARINE MRORAT WING
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                                      P0 BOX 452Cm
                                 SAN DIEGO, CA 2145.2C25
                                                                     N RLY PEPER TO
                                                                     5810
                                                                     Co
                                                                         MAR 18 2011
  From:   Commanding Officer, Marine Aircraft Group 16
  To;                                           USMC

  Subj:   COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
          SURROUNDING THE CLASS “A” CH—53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
          ON 17 MARCH 2011

  Ref:    (a) Manual of the Judge Advocate General           (JAGMAN),
              Chapter II
          (b) OPNAVINST 3750.16

  1.  This appoints you, per reference (a), to inquire into the
  facts and circumstances surrounding the Marine Heavy Helicopter
  Squadron 361 CH-53E aircraft mishap and the death of Sergeant
  Fontalvo on 17 March 2011 which occurred on the flight line
  outside of Hangar 5, Marine Corps Air Station Miramar, San
  Diego, California.

  2.   Investigate the cause and nature of the incident and
  recommend appropriate administrative or disciplinary action.
  Report your findings of fact, opinions, and recommendations
  including a line of duty determination recommendation in letter
  form by 7 April 2011, unless an extension of time is granted.

  3.   This command investigation is convened to investigate the
  circumstances surrounding a Class A” aviation mishap in
  compliance with 10 U.S.C. § 2555.

 4.. Per reference (a), if you are not a graduate of the Naval
 AviationSafety Officer or Corrimand Course, have previous service
 on an aviation mishap safety or aviation mishap JAGMAN
 investigation, or previous assignment as a squadron Aviation
 Safety Officer, you are directed to consult with a member of the
 armed forces or an officer or employee of the Department of
 Defense who possesses knowledge and expertise relevant to
 aviation mishap investigations.

 5.  There will be a concurrent joint service safety
 investigation pursuant to reference (b).  Close coordination and
 planning with the senior Marine safety mishap board member is
 advised.  Due to the separate purposes and procedures of JAGMAN
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  Subj:   COMMAND INVTIGATION INTO THE FACTS ANi CIRCUMSTANCES
          SURROUNDING THE CLASS ‘IA” CH-53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTAIV0 xxx xx 207 1/6153 USMC
          ON 17 MARCH 2011

  investigations and military mishap. investigations there are
  specific limitations and restrictions regarding the integration
  of these investigations, use of evidence obtained, including
  witness statements and the use and disclosure of the respective
  reports.   In conducting the JAGMAN investigation, care shall be
  exercised to respect the privileged character of the aviation
  mishap safety investigation.   Consult your legal advisor.

 6.  If you have not previously done so, read the reference in
 its entirety before beginning your investigation and seek legal
 advice from                                                 3d
 Marine Aircraft Wing, and
                 3d Marine Aircraft Wing, throughout the course
 of your investigation.




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 CO, NH361
     .




 CO, HM-466
 SJA, 3d MAW




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                         UNITED STATES MARINE CORPS
                                MARINE ARCRAFTGROJP 16
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                            MARINE CORPS AIR STATION I.SRAMAR
                                     PC BOX 452025
                                SAN DIEGO, CA 02145-2025

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                                                                     CO
                                                                     APR       52011
  FIRST ENDORSEMENT on                         ltr 5830 10 of 4 Apr 11

  From;   Commanding Officer, Marine Aircraft Group 16
  To:                                           USMC

  Subj:   COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
          SURROUNDING THE CLASS ‘IA” CH-53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
          ON 17 MARCH 2011

  1.  Your extension is approved.  Your new deadline is 6 May 2011,
  unless another extension is granted.




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                           UNITED STATES MARINE CORPS
                                  MARINE MRC1WTGROUP 16
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                              MARINE CORPS AR STATION MIRAMAR
                                       P0 BOX 45202$
                                  S4UEGO, CA 145-2025
                                                                    N REPLY FER TO:

                                                                    5830
                                                                    I0

                                                                    APR       4 2011
  From:                                         USMC
  To:     Commanding Officer, Marine Aircraft Group 16

  Subj:   COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
          SURROUNDING THE CLASS “A” CH—53E AIRCRAFT MISHAP AM)
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USNC
          ON 17 MARCH 2011

  Ref:    (a)   JAGMAN Section 0204
          (b)   CO, MAG-16’s ltr 5810 CO of 18 Mar 11

 1.   In accordance with reference (a) and as directed in reference
  (b), an extension of time is requested until 6 May 2011.  The
 reason for this request is to obtain the results of the
 Engineering Investigation on the mishap aircraft components,
 which will be published on a        ‘y 1 May 2011;




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                          UNITED STATES MARINE CORPS
                                 MARINE AJRCRAFT GROUP )8
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                             MARINE CORPS AJR STARON MIRAMAM
                                      P0 SOX 462025
                                 SAN DIEGO, CA 921452025
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                                                                    MAY 03 2011
   FIRST ENDORSEMENT on                        ltr 5830 10 of 29 Apr 11

   From:   Commanding Officer, Marine Aircraft Group 16
   To:                                           USMC

  Subj:    CONMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
           SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/6153 USMC
           ON 17 MARCH 2011

  1.  Your extension is approved.  Your new deadline is 26 May
  2011, unless another extension is granted.




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Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.121 Page 27 of 155




                         UNITED STATES MARINE CORPS
                                MARINE AIRCRAFT GROUP 16
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                                      PD SOX 452025
                                 SAN DIEGO CA 92145.2025
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                                                               5830
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                                                               APR 29
  From:                                         USMC
  To:     Commanding Officer, Marine Aircraft Group 16

  Subj;   COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
          SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
          DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2 071/6153 USMC
          ON 17 MARCH 2011

  Ref:    (a) JAGMAN Section 0204
          (b) CO, MAG-16’s ltr 5810 CO of 18 Mar 11

  1.   In accordance with reference (a) and as directed in reference
   (b), an extension of time is requested until 26 May 2011.  The
  reason for this request is to obtain  the results of the
  Engineering Investigation on the mishap aircraft components,
  jhich will be published on approximately .15 May 2011.
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.122 Page 28 of 155




                                    STATES MARINE CORPS
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                                      3D WR6E AMORWT WING
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                                      SAN OEGO. CA 52146-2025
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                                                                    MAY 23 2011
   From:                                          tJSMC
   To:     Commanding Officer, Marine Aircra ft Group   16

   Sub:    CONMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
           SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071/653 USMC
           ON 17 MARCfl 2011

  Ref:     (a) JAGMAN Section 0204
           (b) CO. MAG-16’s ltr 5810 Co of 18 Mar 11

  1.   In accordance with reference (a) and as directed in reference
   (b), an extension of time is requested until 17 Jun 2011.   The
  reason for this request is to digest the recentl y release d
  results results from the Engineering Investigation on the
  aircraft wiring, and to research appropriate reccomendations to
  improve worldwide CH53E operations.
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.123 Page 29 of 155




                         UNITED STATES MARINE CORPS
                               MARINE AIRCRAFT GROUP 16
                               OMARINGRFrWING
                            MARIE CORPS AIR STATiON MIRAMAR
                                    P0 DOX 45
                               SAN DO, CA 92I45-26
                                                                    IN REPIX REFEf TO;

                                                                    5830
                                                                    Co
                                                                    MAY 24 2011
  FIRST ENDORSEMENT on                        ltr 5830 10 of 23 May 11

  From:   Commanding Officer, Marine Aircraft Group 16
  To:                                           USMC

  Subj:   CONMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
                                 A” CH-53E AIRCRAFT MISHAP AND
          SURROtJNDING THE CLASS 11
          DEATH OF SERGEANT ALEXIS FONTALVO Xxx xx 2071/6153 USMC
          ON 17 MARCH 2011

  1.  Your extension is approved.  Your new deadline is 17 June
  2011, unless another extension is granted.




  Copy to:
  JLC, MCAS Miraniar
  CO, NMH-361




                                       2
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                          UNITED STATES MARINE CORPS
                               MM1NE Acc4AFT GROUP 1
                                3D UN4IN AIRCRAFT Wf
                             MNNE CORPS AJR STATION tRMAR
                                     P0 SOX 452c6
                                SAN O0, CA U214&2I5
                                                                    IN REPtY REFER TO
                                                                    5830
                                                                    CO
                                                                     JIJN 172011
   FIRST ENDORSEMENT On                        ltr 5830 10 of 17 Jun 11

   From:   Conunanding Officer, Marine Aircraft Group 16
   To:                                            USMC

   Subj:   CONMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
           SUIROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
           DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2 071/6153 USMC
           ON 17 MaRCH 2011

   1.  Your extension is approved.  Your new deadline is 18 July
   2011, unless another extension is granted.




  Copy to:
  JLC, MCAS Mirainar
  CO, HMH-361




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                              UNITED STATES MARINE CORPS                 V




                                     R(AR3E AIIICIWT GROUP 16
                                      3D MARINE NRCRPJT WING
                                 EAARINE CORPS AIR STATiON MIRAMAR
                                           PG BOX 452025
                                      8A1 DIEGO. CA 92145.2025
                                                                             IN REPLY R5FERTO
                                                                             5830
                                                                     V
                                                                             10
                                                                             JUN 1 72011
   From:                                             [JSMC
               Commanding Officer, Marine Aircraft Group   16.
   To:

   Subj:   V

               COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
               SURROUNDING THE CLASS “A” CH—53E AIRCRAFT MISHAP AND
               DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2072/6153 tJSMC
               ON 17 MARCH 2011

   Ref:        (a) JAGMAN Section 0204
               (b) CO, MAG-16’s ltr 5810 CO of 18 Mar 11

   1.   In accordance with reference (a) and as directed in reference
                                                     july2011.     The
    (b), an extension of time is requesteduntil 18
                                                   investigation   from
   reason for this request is to obtain a JAGMAN
           This archived JAGMAN details a very similar   CH53E  mishap
   2005.
                                                               was on
   where the gear retracted uncotnmanded While the aircraft
               The process of JAGMAN retrieval has  been  made
   the deck.
   difficult because it has been           t-b  ‘-ica1 Archives.
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.126 Page 32 of 155




      Notes and observations made by                               ,   Investigating
      Officer.

      o   on 17 March, I was part of the onlookers for the unfolding
          mishap at HH-361.    THe aircraft appears to be laying
          approximatel y 20 degrees left wing down.     It is shut down.
          Emergency response  vehicles surround   the scene,   and people.are
          running in every  direction.   About an  hour  into  the mishap
          chronology, it seems that  the  pace of  action  slows  down.
          surmise that the crewrnember is  dead,  and understand   that the
          methodical approach to lifting the   aircraft   is  to ensure the
          recovery teams safety.
     •    Aircraft location: MCAS Miramar Flightline, Hangar 5, spot 2.
          N 32 52 01  W 117 01 50
     •    The mishap aicraft (MAC) is a gray Cargo Helicopter (CH) 53E,
          BUNO 163077, side number 69, assigned to HN:H-361.


          GENDERAL AIRCRAFT CONFIGURATION:

  •       The gear handle was down and the downiock release- set.
  •       Emergency gear handle-down
  •       Parking brakeon
  -       #1/#2 radios were on
  •       Servo switches were centered
  •       SCL-forward Nr at 100%
  •       T-handles- forward
  •       Fuel Selector Levers-3/3/l
  •       Generators-all 3 on
  •       APP-off
  .       HNVS-on
  •       Flight control checks were conducted.
  •       Nr-1Oø% overspeed checks conducted.
  •       Ramp and Door was up
  •       WOW switch was covered.
  •       CB were n with the exception of the ramp open and tail skid.

  •       I speak to the AND Safety presiding officer.,
                    and he informs me that ll pertinent flight and
          aircrew data has been secured and/or electronically locked per
          squadron and safety protocol.
 •        I speak to the administrative section, and they provide me
          with all the pertinent data on the deceased.    When questioned,
          they inform me that all crewinembers were  in HNH-361 on regular
          active duty.
 •        I am underneath the aircraft with an F’fli—361 Airframes
          technician.   We practice pulling out the landing gear safety
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      pin with no elecerical power on the aircraft.       The pin moves
      freely and is able   to be pulled  in  as much time  as it takes to
      get there.   The technician  explains   the mechanical  function of
      the landing gear safety pin, and    speculates  why  it would be
      “stuck”.
      Tests are performed on the aircraft.      Specifically, we are
      looking to  verify/research  the  following:
         o If we can recreate the mishap
        V        Theories
                      Bumped gear handle                           V




                   • SpontaneUOus retraction
               V




                   • Utility module malfunction
                   • Crossed wires reciveing input inadvertantly
                   •   Hydraulic failure
                       Internal drag strut failure

        o  Verify that the weight on wheels switches work
        o  Testing is observed by                        NAVAIR
           hydraulics engineer  V
                                                            V




         o Summary of tests conducted will be written by
                     who is the Avionics expert.
  •   After 3 days, bare wires are discovered.         the bare
      portion of the wire to pin  494 recieves a 28VDC  voltage, it
      retracts the landing gear.
      After testing complete, the Utility module,. the drag strut,
      the Landing Gear Control panel, and now the wiring is packaged
      and sent to NAVAIR for engineering inspection.
                                                                            V
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                   •‘
                         ‘   :‘
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  Weather:
  A. Briefed By: OTHER
  B. Briefing Utilization: USED
  C. Air Temp: 18 F
  D. Relative Humidity:
  E. Dewpoint: F
  F. Water Temp: F
  G. Wind Direction: 310
  H. Wind Speed/Gust:OSJOO
  I. Ceiling AgI (lOOs It): 150
  J. Sky Condition: CLEAR
  K. Horizon: VISIBLE
  L. Visibility Statute Miles: 7.0
  M. Altimeter Setting: 30.05
  N. Icing; N
  0. Obstruction of Vision:
  P. Precipitation:
  Q. Extreme WX:
  R. Briefing Accuracy: NOT APPL



  Obtained by HMH-361 on 17 March 2011 via MCAS Weather Office
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                                                                                                                                                      UNITED STATES MARINE CORPS
                                                                                                                                                     Marine Heavy Helicopter Squadron 361
                                                                                                                                                            Marine Aircraft Group 16
                                                                                                                                                            3D Marine Aircraft Wing
                                                                                                                                                       MCAS Miramar, P.O. Box 452060
                                                                                                                                                          San Diego, CA 92145-2060
                                                                                                                                                              “FLYING TIGERS”
                                                                                                                                                        Thursday, 17-Mar-2011                           CH-5:3E                SORTIES                  HOURS
                                                                                                                                                                                                        SCHEDULED                 10                     16.0
                                                                                                                                                            JULIAN: 1076
                                                                                                                                             FIELD HOURS:                    0830-0100                  FLIGHT HOURS                CUM                  PROJ
                                                                                                                                             SUNRISE/SUNSET:                 0557/ 1858                 MONTHLY                     84.1                 225.0
                                                                                                                                             MOON RISE/SET:                  1701 I 0515                QUARTERLY                  1006.4                560.0
                                                                                                                                             ILLUM:                          89%                        ANNUAL                     3440.4               2435.0
                                                                                                                                             EENT:                           1951
                                                                                                                                             HLL PERIOD:                     1951-0602
                                                                                                                                             LLL PERIOD:                     NONE
                                                                                                                                             LPOD.                           2’
                                                                                   EVENT’
                                                                                    4000
                                                                                            .4                              0
                                                                                                                           0.0
                                                                                    4001         0800/TBDJTBD               0                                                                                                2K2                FCF
                                                                                                                           0.0
                                                                                   4002-1        1300/ 1530/ 1830           2                                     2411                                     2411              1A3       SINGLE   /   DUAL PT       1, 2
                                                                                                                           3.0                                2410X, 2411X                                 2411              1A9                EXT
                                                                                                                                                                                                       2410X, 2411X
                                                                                   4002-2        1300   /   1530/ 1830      2                                   2411                                       2411              1A3       SINGLE! DUAL PT            1, 2
                                                                                   4003-1        1630? 1900/ 2359
                                                                                                                           3.0
                                                                                                                            3
                                                                                                                                                            2410X, 2411X
                                                                                                                                                          2120, 2220, 220
                                                                                                                                                                                   I                       2411              1A9                EXT
                                                                                                                                                                                                     2120, 2220, 2320        1A3      NS FAN I HLL CALS       /   3, 4
                                                                                                                           5.0                       2102X, 2120X, 2220X, 2320X                      2120, 2220, 2320        1A9         TERF / FORM
                                                                                   4003-2        1630/1900/2359             3                             2120, 2220, 2320                           2120, 2220, 2320        1A3      NS FAN I HLL CALS       /   3, 4
                                                                                                                           5.0                       2102X, 2120X, 2220X, 2320X                      2120, 2220, 2320        1A9         TERF/ FORM
                                                                                                                                                                                                   2120X, 2220X, 2320X
                                                                                                                                                                                                   2120X, 2220X, 2320X
                                                                                    SIM          0700/0800/1000                                                   2100                                                       1A1            INST SIM
                                                                                                                           2.0                                    2100
                                                                                            _SECTION_LEADER
                                                                                                                                                          +   FLIGHT LEADER                # MISSION COMMANDER                          X ATF     uuutu
                                                                                   A/C AWAY FROM HOME BASE: 0                                                          ALL A/C: CH-53F                                                          A/C AT IMC)SDLM: 2)0
                                                                                   FLIGHT NOTES:
                                                                                       1.  EVENT TO CONDUCT E)(TERNALS AT THE FCLP PAD. PRIMARY FREQ: 40.80. POC:
                                                                                       2.              AND                 TO SPIN BACKUP FOR EVENT 4002.
                                                                                       3. TERF AUThORIZED ON ThE STUD ROUTE NO LOWER ThAN 150’ UNTIL CURRENT AND THEN NO LOWER ThAN 50’.
                                                                                       4.             AND              TO SPIN BACKUP FOR EVENT 4003.
                                                                                   SPINS:
                                                                                       1. 0730-1630: SQUADRON WEIGH-INS FOR ANYONE THAT HAS NOT COMPLETED 1 HALF OF ThE YEAR WEIGH-INS. LOCATION: 5-3 OFFICE. POC:
                                                                                       2.  1500: AOM IN THE READY ROOM FOR ALL OFFICERS.
                                                                                       3,  1600: OFFICER’S CALL FOR                  AT THE O’CLUB. EVENT IS OPEN TO ALL OFFICERS.
                                                                                                                                        .
                                                                                   QUESTIONS:
                                                                                   EP                       EMERGENCY SHUTDOWN
                                                                                                            (1. HIGH PRESSURE ROTOR BRAKE SWITCH EMERGENCY. 2. ALL ENGINE SPEED CONTROL LEVERS SHUT OFF. “3. APP AS REQUIRED. “4. FUEL SELECTOR
                                                                                                                                                -                                                   -                    -
                                                                                                            LEVERS SHUT OFF.
                                                                                                                   -
                                                                                   NATOPS                   THE HEATER IS BATED AT       BTU’S AND DRAWS FUEL FROM THE  ___  TANK AT THE BATE OF 54 PPM.
                                                                                                              600.000, #2 LEFT)
                                                                                   TACTiCS                  DEFINE L-HOUR.
                                                                                                            (IN AMPHIBIOUS OPERATIONS, THE TIME AT WHICH THE FIRST HELICOPTER OF THE HEUCOPTERBORNE ASSAULT WAVE TOUCHES DOWN IN THE ZONE.”)
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f/S/f
OPS
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  25 March 2012




  HMH-361

  On the day of the mishap, 17 March, I was the aircraft commander and section leader for flight. THe
  section brief for the flight consisted mostly of how the two aircraft were going to conduct OPCs in the
  local airspace, as well as deconflict at Miramar between the external load and the helicopter spots.

  Sergeant Fontalvo was to get training codes for external operations that day.

  After the brief, I screened the Aircraft Discrepancy Book, and I do not remember any MAFs pertaining to
  the landing gear in the open or closed MAFs. I pay particular attention to landing gear MAFs because of
  having sometimes to leave the gear pinned. I also do not remember seeing any open MAFs regarding
  the utility hydraulic system, and although I wasn’t as thorough in the closed MAFs, I don’t remember
  their being any utility hydraulic issues pertaining to it being “down” or leaking. There was only one
  NPPC, regarding the #3 Nf tape gauge.

  I was left seat for the flight, so I went Out the crew door and preflighted to the left in CCW fashion.
  Beginning with the nose gear, nothing was out of the ordinary as I preflighted. I checked the servicing
  pin on the top, it was flush. The landing gear pin was in place though I did not touch it. The rest of the
  inspection of the nose landing gear was unremarkable.

  When I got to the left main landing gear, I preflighted it in the same fashion. I checked the servicing pin
  on top, finding it flush. The gear pin was in place. I did not notice any leaks in or around the left main
  landing gear.

 I also preflighted the utility hydraulics reservoir, as well as the utility module. All of the filter buttons
 were in, and the surrounding are was relatively dry compared to some aircraft. My preflight was
 complete there, because                        completed the preflight on the right side of the aircraft.
 After completion, all crewmember agreed that the aircraft looked good, and that there were no
                                      s
 outstanding discrepancies restricting it from flight.

 Even though it is right-seat’s responsibility, I took a scan of the cabin circuit breakers on both left and
 right. The only anomaly with the panel was that the #2 ignition CB was pulled. I asked                   about
 that CB, and we decided to put it back in.

 With respect to crewmember position assignments, I was in the left seat.(copilots seat),
        was in the right seat,         was in the right window, Sgt Fontalvo was in the left window,
 and            was on the tail.

 I was first to climb into the cockpit and went to the left seat. I do not recall bumping into switches, or
 getting hung up when climbing in. I make a habit of taking a quick scan around the cockpit, with specific
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                                                                                              climbed into the
                                        to make sure it had not moved,
 attention to the landing gear handle                                               bump anything or get
                                        he sat down, and at no time did I see him
 right seat. He pulled his bag in after
 hung up on switches when entering.
                                                                                   inued with the checklist. I
                                           resolving the APP start issues, we cont
 We began the NATOPS checklist. After                                             ators, and it read “3 down
                                        ng the visual landing gear position indic
 specifically remember visually checki                                                 in the down position. I
                                           gear handle the “bump” to ensure it was
 and locked”. I also physically gave the
                                          downiock release mechanism.
 did not visually or manually check the
                                                                                             to a rotor speed of
            ed  the point in the NATO   PS chec  klist where you push the engines forward
  We  reach                                                                                    een the 11 and
                                                      was at approximately was moving betw
  98% to remove the droop stops.                                               did not see Sgt Fontalvo up to this
  loclock position,              was up ICS, but remained in the cabin. I
                                               the rotor arc.
  point. I can only say he was not outside
                                                                                chief out front. On our left was a
  I know that                 was in the aircraft to my right, with her crew
                                                                                                         amer
                                                             as the crew chief. At some point, an airfr
  te5t aircraft unrelated to our flight, with                                                     le we borrowed
                                                 g. I assumed it was related to the pump hand
  entered the rotor arc to retrieve somethin
                                             .
  to charge the accumulator for app start
                                                                                             # 2, and turn off
                                            point, the collective is down. I start generator
  After reaching the “droop stops are out”                                            said “pins and chalks”
                                            execute overspeed checks.
  the app. I run the engines to. 100% Nr to                                                   states “area
                                          em”. I call for overspeed checks, and
  and I respond with “go ahead and pull-                                                   because I don’t
                                           checks. I decided to wait for flat pitch checks
  clear”. I completed all three overspeed
  have a visual on all three crewmembers.
                                                                                           It is’about the time
                                            coming across the radio on base frequency.
  At this time, I remember a female voice
                                                                          trigger to respond. I never ended
  that                was supposed to check in. I reached for the radio
                                                                                                  an instant. It
                                                   we had the violent motion. It happened in
  up doing that because at that point was when                                                     fell on its
                                              rneath me, it was that quick. The plane basically
  was as if this couch just disappeared unde
  side.
                                              r              coming in the rotor arc from the 3oclock, and
  To the best of my recollection, I remembe                                                             vo at any
                                                 e. I do not remember specifically seeing Sgt Fontal
  remember someone coming under the prob
                                                                                      gear pin.
  time. I assumed                was under the nose getting the nosewheel landing
                                                                                                 the controls to
                                                ediately when the aircraft crashed, I came on
  I was not at the controls at this point. Imm                                                      nd.
                                             cyclic is pushed right to remain parallel to the grou
  make sure the collective Is down and the
                      has already done that.
                                                                                                    ls to make
                                                 nosis. I reflexively took another look at the peda
  Dynamic rollover was my first instinctive diag
  sure they were centered. They were.
                                                                                                        oh my
                                                . To the best of my recollection it was “oh my God,
  I hear someone on ICS saying something loud
                                                   herent.
  God” very loud over the ICS. It was mostly inco
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                                                                                 I ask over ICS “tell me what
  When the ICS goes silent and there isn’t any violent motion with the aircraft,
                                                                            “oh my God, someone is under
  is happening. What is going on”. At that point, someone states over ICS
  the aircraft, shut It down, shut it down”.

   visually confirmed that                     was holding the controls, and immediately reached for all
                                                                                 brake to emergency, and
  three speed control levers and shut them down, I then switched the rotor
                                                                                             collective in for
  followed that with the fuel control levers off. I did not start the APP. I robotically put
  the droops and the rotor stops.

              comes in the crew door, looking pretty shook up, and states that we need to call an
 ambulance. I instruct                     to go to the ODO and call an ambulance. He egresses and does
 so. I took off my vest and went outside to see Sgt Fontalvo.
                                                                                    outside what was
 My first recognition that the landing gear was collapsed was when I started asking
 going on.




  I certify that this 3 page statement is an accurate representation of my interview.




                                                                                13FcT j

                                            Print                              Date
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  HMH-361

  Interview 25 March 2011 1340



  I checked into the squadron
                                th
                                25
                                     of January, and I have had 4 or 5 fllghts including one nighttime flight.

  On 25 March 2011, I showed up at 0900 for crew rest purposes, got some chow, discussed flight related
  stuff with a peer of mine, and then did some last minute flight planning. The brief started at 1300.
        did some section leadership briefing, only because we were going to use Yuma Course rules for
  OPCs, and then dissolve the section when we came back to Miramar, This was an initial external training
  code for me, conducting single and dual point externals at Miramar’s LHD pad.

  I did not screen the ADB before flight.

 1 arrived at the aircraft to find the aircrew workIng on setting up the external pennants, and then
 briefed the crew on the scheme of maneuver for the flight. We then began the preflight based on
 seat assignment. I was assigned the right seat. This means that I start with the cabin and cockpit,
 preparing It for the prestart checklist. This day I did not preflight the cabin circuit breaker panels. I do
 remember the gear handle being down, and l manually triggered mechanical downlock release lever to
 insure it was spring loaded to the locked position. It was. I do not remember how much gas was in the
 tanks.

 I then proceeded to preflight the right side of the aircraft. I pulled the auxiliary fuel tank pin and it
 moved freely. I then went underneath the aircraft to inspect the right main landing gear. I do not
 generally manipulate the gear pins unless they do not look seated appropriately. On this day, its
 condition was “all the way in” with the push pin part of it flush with the drag link. I also checked the
 downiock pin looking for the nipple, as well as the brakes, tires and the hydraulic servicing pin on top.
 There was nothing else to note about the right main landing gear that day. I did not look at any of the
 other two landing gear, as             preflighted them.

 At the culmination of preflight, the pilots generally meet at the “doghouse” (forward hydraulics
 compartment). By the time I reached the top of the aircraft,            had completed the preflight of
 that area and the compartment was already closed and latched.

 At the completion of preflight, I ask        if he had any discrepancies with preflight, he indicated he
 did not, and I reported the same from my side. I did not have an enlisted crew member with me on
 preflight.

 I was the second pilot into the cockpit, sitting right seat. I was behind             waiting for him to get
 in. I didn’t notice him having any trouble  getting  in the cockpit or getting tangled. 1 then got into the
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                                                                         step Into the floorboards of the
  right seat, and then once seated, pulled my navigation bag up from the
  cockpit.

  The NATOPS checklist was being read aloud by             and I remained on the controls during startup.
                                                                                    that the gear handle
  I remember the call for the landing gear check and downiock release. I reaffirmed
                                                                                 function. During the
  was down, then mechanically actuated the downiock release to ensure proper
  checklist,            was out front on ICS. I heard           on ICS, but am unsure if Sgt Fontalvo was
  up ICS,
                                                                                      I would
  Other than the problems with the APP clutch not engaging and having to recharge it,
  characterize the startup that day as normal.
                                                                                     the droop stops
  At the time where we run the engines forward to 100%, I was at the controls. After
  were Out, I put the collective down.            was at the l2oclock position.           manipulated
                                                           turned the APP off, and pushed the engines to
  the speed control levers to 98%, turned #2 generator on,
  100% Ni.



                                                                                                  cold”
  I don’t know when the call was made for pins and chalks. I remember someone stating “going
  indicating that they were going off ICS, and              moving toward the aircraft. My focus is on the
  tip path plane, making sure it is lever with the horizon.

  I do not remember seeing Sgt F.ontalvo outside the aircraft. I heard other voices on ICS that were not
              nor            but I cannot be sure who it was. I had never met Sgt Fontalvo before that
  day, nor have I flown with him.

  Shortly after going to 100%, I felt the aircraft “go left”, specifically roll left quickly and violently. I do not
  remember It yawing many way, My first instinct was that something happened with the tail rotor. My
  immediate reaction was to keep the tip patch plan from striking the deck.

  After it happened, I remember asking what happened over ICS. Nobody was talking. People were
  running around outside the rotor arc,               asked over ICS “1 need to know what is going on”.
           carrie to the copilots window (left side) and his facial expression told me something bad had
  happened.               reiterated that he needed to know what was going on outside.
  responded that “he’s under there”. I didn’t know who it was, but it had to be               or Sgt
  Fontalvo.

  At that point, I maintained the controls, and          initiated the emergency engine shutdown. We
  did not restart the APP,           directed me to run to the ODD and call 911. I ripped myself out of
  the aircraft and began running upstairs. I did not come back outside.

  Interview Complete 1405 25 March 2011.
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.138 Page 44 of 155




                                                                    n of my interview.
  I certify that this 2 page statement is an accurate representatio




                                            Print                            Date
                                                                     CH—53 ENLISTED AIRCREW TEAINING FORM
                                                                                                       TrFiii
                                                                                                        I                       MISSION    /   A/c PREPARATION: INTRO. DAY TERF
             FDIGST EVAL               J       N       A                   TTECHT EVAL                         N
                                               B                                                               0
                                                                                                       —                —
                                                                  DAD ClEARANCE                            —   3c

CC   /   AC RESPOESXDTLITIES       X       —           —
                                                                                                                                BRIEF:DISCUSSED:UNDERSTAND TERF BASICS
EROS//CT PROCEDURES                                             STANDARD TERMINOLOGY                           X
                                                                THROATRECOONmON                        —
A/C cDNTIGORATICN/PREPARA:ON       X                                                                       —   )
                                                                ThREATREACTION                         —
UNDERSTANDING OF TEAl//I//I                                                                                —   X        —

                                                                                                                                EXECUTION:SNN WAS BRIEFED ON TERP TYPES AND MANUEVERS,
                                                                                                                                AND EXPECTATIONS OF AN AO DURING TERF FLIGHT.  SNM’S
                                                       —        WINGMAN RESPONSIBIUTE/S
SITUATIONAL                        X       —   -                                                           —   X                OVERALL PERFORMANCE WAS SUFICIANT.
ASSEFTIVNESS                                                    CABIN CONLIGURAT1ON                    —
                                   X                                                                           )
DECISION MAR/ND                                        —        PUIIL MANAGEMENT
                                   X           —




CO/*/BNXCATIDK                 V




                                           —   —                STANDARD TERMINOLOGY                   —   —
LE/EERSI/IN
                                                                                                                                                                                       V




                                                                                                                           —        STRENGTHS:   IMPROVEMENT OF CALS AND SITUATION
                                               —       —        COMMUNICATION NOW              V
ADAPTAXTY/FLCXARIIITY                                                                                      -




MISSION ANALYSIS                                                SI-IIPIIOARD PROCEDURES                —       X
                                                                PUGMTPATrI!RNS                     V   -   —   -

                                                                                                                           —        WEAXNESSES:AIR SICKNESS
BRIEF FAX                          —           X                ISII CONSIDERATIONS   -                        )

tRD/UNtDAD CA/tOO                                  X            WEAPONS/LASER PREPARATION                                           RECONMENDATIONSMORE FLIGET TIME
                                                       —        WEAPONS/LASER KNOWlEDGE                —
III S               V              —       —       X                                                       —       X       —




                                               -

                                                                WEMSSIt/EEMI’LOYMLNT                   —
                                                                                                           —       )
I//ROMAN P.ESPONSIBILITIES         —       —           —




TAC FORM N/GRiEVERS                                             LOOKOUT DOCT1/INC

                                                                SMART PACK USAGE

                                                                                                                                    INSTUCTOR
                                                                     KNOWlEDGE                         —                   —
 A/C CLEARANCE                     X
                                                                                                                                I   SIGNATURE:
 Iz/TtRRAIN SD!TABILITY            3                             Nv(j I’REPARATION                                 X
                                                                 NVOL’SAGE                                         -       —

                                                                                                                                    DATE OF             20100812          FLIGHITIME       6.0
 STANDARD TERN!NOLOGI                                            NIGHT NVIRONMI/NT CONSIDERATION                   )                FLIGHT
 A/C CLEARANcE                     x
                                                                                                                                                                      V



 LOOXD/JT DOCTRINE                  X                            LOOKOUT DOCTRINE                      —           )                TRAINING CODE       i-gOJt j310       LANDINGS!        8/0
                                                                                                                                                                          EXTERNALS
 rEEF                                  X                         STPSNI)ARDTERMINOLOGY                             3
                                                                                                                                    INSTRUCTOR                            STUDENT          FONTALVO
 SySTEM PREP JG14T/IO/OWLEDGE                              x     BOGEY/BANDIT NAN/lOP!’                             3
                                   —                             SUGGIISTRI)1/IANL/EVER                —                    —
 ICED PRE-FLIGHT                                           )(
 I/ST PRDCEOURES/CONSIDERXTIOE                             X     ASIt ItMPIJWMr.NT                                     X
 STANDARD TER//INCLOCY

 I       NUN/CAl/ON PLO/I          —                       xJ    SYSIt1M KNOWLF./)GFJINSTALL                           X
                                                                                                                            —
 DRIFT CORRECTION.’ANTCIFAT/D/I                            X     I’AIEI’OPP.RATIONS                                    X
                                   —           _
                                                                                                                                                                                                      Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.139 Page 45 of 155
                                                                  CH-53           ENIJISTED           AIRCREW                   TRAINING         FORM


                                  QIU               1
                                                    N                                                 u
         FLXCN EVA                          N                          PIXGET El/AL                           j             MISSION   /   A/C PREPARATION:DAY SECTION CALS

                                                               LOAD CLENRANCE                                 X
CC / AU RESFOUS:BJL:TES           X                                                                                         BRIEF:DISCUSSED:INTO. To DAY SECTIONS CALS
                                      —     —       —        STANDAJU)T)!RMINOL(XW
ZKRGENC PROCEDURES                                                                            —               X
A/C CONFCORATRON/PREPARATION                                 THRflAT Rt/cooNmON                                        —




                                                    —
                                                                                                                       —
UNDERSTR/CCNG OF TRRWCNG                                     TISWAT RNACTION                                  X
                                                                                                                            EXECUTION:SNM WAS INTRODUCED TO SECTION CONFINED AREA
                                                                                                                            LANDINGS DURING THE DAY TIME ENVIROMENT
s:JSTONR SWANEHESS                                  —        WINGMAN RUSIONSIBILtT1I/S
                                  X   —     —                                                                 X


 SSERTXVNKSS                          —     —       —        CAIIIN CONFiGURATION                                      —




                                                             FUEL MANAGEMENT                  —
                                                                                                      —                —
DECISIOW )4AKING                  X                                                                           X
CUNICRTION

LEADERSHIP                                                   STANDARD TERMINOLOGY             —               )
LxTy/pERpBry                      X         —
                                                             COMMUNICATION FLOW                                             STRENGTHS:     IMPROVEMENT OF CALS AND OBSTICLE CLEARANCE
                                                                                              —
                                                                                                      —                —
MISSiON ADALSSiS                  X                          SIUPEOARDPROCFJ)UIUIS

                                                             VUGHTI’ATTERNS
                                                                                                                            WEAKNESSES: SITUATION AWARENESS
BRIEF P1X                         X                          LSEcONSIDERATIONS

LOAD/URLOBD?AX                    )
LOAD/UNLOAD cssoo                 X                          WEAPON         VNEFAIRA11ON                      X             RECOMMENDATIONS :MORE FLIGHT TIME
R:-R                              3                          WLA?ONSJLASER KNOWLI/DOTI                        2        —




                                                             WEAPONS/LASER EMPLOYMENT                         2        —




                                                    —
 tZNUNAN RSPONEIBXLITXCS

TAC FORM MAIDIEVERE               X                           lOOKOUT DOCCRINE                                )
                                                              SMARTEACKUSAGE                  —
                                                                                                      —       2        —




 STANDSAD TRRMThOLOGY             X                                                                                          INSTUCTOR
 A/C CLESAUJICE                   X                           NVG KOWIJU)GL                       —           X              SIGNATURE:
 LI/TERRAiN SUITABILITY                                       NVG PREPARATION                             —   -        —
                                  X
                                                              NVO USAGE                        -


                                                                                                          -
                                                                                                                             DATE OF               12 AUG. 2010   FLIGHTTIME   6.0
 STANDARD TSRJ4:NOLOGY                                  )(    NIGHTENVIRONMENTCONSIDERATION                       X    —     FLIGHT
 A/C CANCE                                              )
                                                                                                                        -    TRAINING CODE                        LANDINGS!
                                                                                               -
 LOOKOUT DOCTRINE                                       X     LOOKOUTDOCrRINE                             -       2                                                            8/0
                                                                                                                                                                  EX]ERNALS
 TERF                                                   X     STANDARD TERMINOLOGY                                )
                                                              EANDITACQUSm0N
                                                                                                                             INSTRUCTOR                           STUDENT      FONTALVO
                                                              SOGI/Y/BANDIT NANDOFI                               ‘I
 SSS’CSM PBS   IGHT/ICIOWLEI,GE

 LOAD PRE-FLGHT                   —     —                     SUGC,IISTTIOR4ANUEVIm               —
                                                —       X                                                 —       2    —




 WIT PROCEDURES/CONIIDERATION                           X     AlE EMPLOYMENT                                      X    —




 STAND/sAD TERIIINOLOGS

 COMNUNICATSOr FLOW                                     X     SYSEThI KNOWLEDGERNSTALL                            X
 DR/ST CORRECTION/RNTICI?ATION    —     —                     FARPOPIERATIONS
                                                —       )                                                         X
                                                                                                                                                                                          Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.140 Page 46 of 155
                                                       CH-53 ENLISTED AIRCREW TRAINING FORM
                                                              PLIERTEVAL                                     MISSION   /   A/C PREPARATION:DAY CALS

                                                         CLERERECE                  —       —           —


CC / SO RESPOPRESILICIKS       x           —                                                                 BRIEF:DISCUSSED:INTO. TO DAY CALS
ENERGEICS PROCEDURES                   —         STANI)AROTERMINOI.(XY                          )
S/C COMFSERATJON/PREPARATION           —
                                                 THRLAT RECOONmON                   —
                                                                                            —           —




SNDERSIPNDIHG OF TREI1IG       X                 THNEATRI!ACTION
                                                                                                             ExECUTION:SNM WAS INTRODUCED TO CONFINED AREA LANDINGS
                                                                                                             DURING THE DAY T]E ENVIROMENT
                                           —
SITURTIOSAL wAsss              X       —
                                                 WINGMAN RESPONSIUII!rIIIS                  —           —



ASSERTIVNESS                           —
                                   —                                                        —
                               X                 CAIIIN COMIGURATION                                    —



DECISION NMUWI                 )                 FuEL MANAGEMENT                                    )
GES4ONICATION                  3
LESDERSIIIP                                —
                                   —   —
                               3                 STAI4ORRD TERMINOLOGY
SOAP   BILITY/FLEXABILITY                        COMMUNICATION RX)W                                 y        STRENGTHS:     IMPROVEMENT OF CALS AND OBSTICLE CLEARANCE
MISSION ANALYSIs                       —   —     SIIIPBOARDPROCEI)URRS              —       —




                                                 FLIGHT PA1Th1RNS                   —                   —

                                                                                    -       -
                                                                                                -            WEAKNESSES:SITUATION AWARENESS
BRIEF PAZ                                  —     LSE CONSIDERATIONS
LOSD/LJNLOADPAIC

                                           —
LOAOJITWOAD CARGO              X       -
                                                 WEAPONS/LASER PREPARATION          —       —
                                                                                                        —    RECONMENDATIONS: NORE FLIGHT TIME
NIE                            X                -_WEAPONS/LASER KNOWLEDGE           —                   —.




                                                                                            —   -
                                                 WEAI’ONSJLASER EMPLOYMENT
MIME4M SSSPONSIBILIYIES

SAC FORM MSNUEVERS                               LOOKOUT DOCSRINE

                                                                                    —
                                                 SMARTI’ACKUSAGR

                                   -   -   —
                                                                                                             INSTUCTOR
A/C CLEARANcE                      —       —
                                                                                        —
                                                 NYG ICNOWL000E
                                                                                                        —    SIGNATURE:
LI/TERRAIN SUIThSILITY                           NVG PREPARATION

                                                  NVG USAGE                         -


                                                                                            —   2       —    DATE OF
STANDARD ZERMINOI.oGY          —
                                       —
                                           )(    NIGHT ENVIRONMENT CONSII)ERATION
                                                                                                                                   12 AUG. 2010 FLIGHTTEvIE   6.0
                                                                                                    Y        FLIGHT
                               —
E/CCLEARANCE                       -




LOOKOII? DOCTRINE                          )      LOOKOUT DOCrRINE                                           TRAINING CODE         I-61X
                                                                                                    3                                      L1Jo   LANDINGS!   8/0
CERY I4ANUEVERS                            x      STANEARD TERMINOLOGY
                                                                                                                                                  EXTERNALS
                                                                                                    3
                                                                                                             INSTRUCTOR                           3TUDENT     FONTALVO
SISTER PREFLIGNT/ESOWLERGS                 X      IIOGEY/BANDO HANDOI’P
LOAD P55-FLIGHT                            3      SUGGESTED MANUEVER                                X   —




KS? PROCEOURES/CCNS:DERSSION               X      ASK EMPLOYMENT
STISCASO TE//KINOLCOY                      )
CO/INUNIcRTZCN FLOW                               SYSEflI KNOWI.I!DGIYINSTALI.      -
                                                                                                    X
                               —   —
TRIP? coRREcoN/ssTIcIPAT:cN            —   )(     FARI OPERATIONS                                   Y   —
                                                                                                                                                                         Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.141 Page 47 of 155
                                                                          CH-53 ENLISTED AIRCREW TRAINING FORM
          FLIGhT EVI.L                                                         h’LXGILT
                                                                                                                               MISSION / A/C PREPARATION:DAY FORM

                                                                       LOAD cLELRJO:cE                     —




cc/A0RESPORS1BILITIES                                                                                                          BRIEF:DISCUSSED:INTO. FORMATION FLIGHT
                                                        —
                                    x           j
                                                        —            STM/DRIJ TI/EMINULLIGY            —
SNESGENCY PROCEDURES                        —       —
                                                                                                                   X
                                            —       —   —            THREAT RECOGNITION                —           X
A/C COSPIGJRAC:oN/pREpAp510N

UDZSTAD3IIRI OP TRAiNING                                             ThREAT REACTION                               X           EXECUTION:SNM WAS INTRODUCED TO SECTION FORM IN THE LOCAL
                                                                                                                               AREA OF OKINAWA JAPAN.
SITIIATIONAL AWARENESS              X                                WINGMAN RESPONSIELLITUiS

                                                                                                       —
ASSKRTIVNESS                                                         CAILIN CONFIGURATION                      —
                                    X
                                                                     PUELMANAGLIMENT                           —   A
DECISLON MAKING                     X
COt*I1INXCA7ION

                                                            —        STANDARD TERMINOLOGY              —
LEADERSHIP                          X                                                                              )
                                                            —        COMMUNICATION PLOW                —       —
                                                                                                                               STRENGTHS:   IMPROVEMENT OF CALS AND OBSTICLE CLEARANCE
         ILUTY/PLEXABILITY                  —



                                                                                                       —
                                                    —                SHIPBOARD PROCEDURES
MISSION ANALYSIS
                                                                     fliGHT PATtERNS
                                                                                                       —       -   -
                                                                                                                           —   WEAKNESSES;CALL DASH TWO AIRCRAFT
                                            —       —       —        LSE CONSIDERATIONS
 BRIEF PAR

 LOAD/UNLOAD P55                    X
 LOAD/UNLOAD CARGO                  )                                 WEAPONS/LASER PREPARATION                                RECOMMENDATIONS :N/A
                                                                      WEAPONS/LAsER KNOWLEDGE          —
 1112                               X
                                                                      WEAPONS/LASER EMPLOYMENT                 —           —




 NIKGMAR RESPORSIBI LITIES          X
                                                    —                 LOOKOUT DOCTRINE                 —           )
 TAO PORN MANUEUESS                 X
                                                                                                               —           —
                                                                      SMART PACK USAGE

 STANDARD TERMINOLOGY                       -       -       -




                                                            —                                          —
                                                                                                                               I INSTUCTOR
 A/C CLEARANCE                                      —                 NVG KNOWU/DOE
                                                                                                               -           —   [SIGNATURE:
                                                                                                                                                                                         —
 LZ/TERRAIN SUITABILITY                 )                             NVOPRIII’ARATLON                                 X
                                                                      XVG USAGE                                -

                                                                                                                           —                       12 AUG. 2010 FLIGHT1’IME
                                                                                                                                DATE OF                                       6.0
  STANDARD TERMINOLOGY                          —   —       )(        NIGIITENVIRONMENTCONSIOERATION                   X        FLIGHT
                                    —           —
  A/C CI.EP.RAZICE                                  —




  LOOKOUT GOCRINE                                                     LOOKOUT DOCtRINE
                                                                                                                                TRAIMNG CODE       1S2X           LANDINGS!    8/0
                                                                                                                                                          LI lo   EXTERNALS
  TERF M?NTIEVERS                                               )     STANDARD TERMINOLOGY                             X
                                                                                                           —
                                                                                                                                INSTRUCTOR                        STUDENT      FONTALVO
                                                                       IIOGEY/BANDITACQUSITION                 —       )
  SYSTEM PRE’1.tT/KNOWLEDGE
                                    H                           X      IIOGEYIEANI)1T IIANDOFP                         )
                                    —           —               )(     SUGGESTED MANURVER                                  —
  LOAD PRE-FLIDIT                                                                                                      )
  lIST PAOCEDURES/CONSIIERAT!ON                                 >‘     AYE EMI’LOYMENT                                 X
  STANDASD TERNINOIDGY

  CO/GEDIICATION PLOW                                           )I     STY//TM KNOWI.I/LXIPJINSTAIL            —           —
                                        —
                                                                                                                       X
                                        —       —                                                          —
                                                                                                                           —
                                                                                                                                                                                           a
                                                                                                               —
  OSWr     ORRECTZOM/AYTICIPATIOM                       —
                                                                       1MW UI’I/RA11ONS
                                                                                                                                                                                               Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.142 Page 48 of 155
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.143 Page 49 of 155




                             UNITED STATES EARINE CORPS
      \
                            MARINE HEAVY HELICOPTER SQUADRON 361




                                                                   DOSS
                                                                   1 Feb 11

                                                       USMC
   From:   Sergeant Alexis Fontalvo XXX XX 2071/6153
                      Office r, Marine Heavy Helico pter Squadron 361
   To:     Commanding

   Subj:   VOLUNTEER STATEMENT FOR DUTY INVOLVING FLYING

   Ref:     (a)   OPNAVINST 3710.7U

                                               volunteer to fly as an
   1.   I have been advised of the duties and
                                           letter will be filed in section
   aircrew member. I understand that this
                                               Qualifications/Training
   I, part B, of the NATOPS.Flight Personnel
                                              and will remain in effect
   Jacket in accordance with the reference,
   unless I withdraw this letter.
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.144 Page 50 of 155




                                UNITED STATES MARINE CORPS
                                                                 61
                              MARINZ HRAV’I HEL.ICOPTR SQUIsDROU
                                    H.RIN AXRCRAP7 GOZJP 16
                                        P.O. BOX 452060
                                    SkN OXEGO, Ca 92145-2060
                                                                      IN RIPLY RZTIN T

                                                                      1326/2
                                                                      S-3
                                                                      1 Feb 11

                                                                      36].
     From:     Commanding Officer, Marine Heavy Helicopter Squadron
                                                               (IS MC
     To:
                                                    153_tJSMC
               Sergeant Alexis Fontalvo_136842071/6
                                                                                  tJSMC

                                                                                  USMC

                                                PORARY-INDEFINITE FLIGHT
     Subj:     ASSIGNMENT OF NON-CREWMEMBER TEM
               ORDERS

     Ref:      (a>   MCO 1326.2G
                                            ordered to duty in a flying
     1.  Per the reference, you are hereby
                                       53ENon-Crewmember (Aerial
     status involving flights as a CH-                 February 2011 and
     Gunner/Observer)   These orders are effective 1
                          .

                                         emb er 2011 .
     will remain in effect until 30 Sept
                                              arged and reenlist at
     2.  If during this period, you are disch                          l
                                          ve service, these orders wil
     this station without a break in acti
                                         cified her ein.
     remain in effect for the period spe
                                              flight orders and your
     3.  You are hereby notified that these
                                    h 1 abov e, will be terminated as of
     flight status, as per paragrap
                                             renewed.
     30 September 2011unless subsequently
                                            revoked upon transfer from
     .   These orders will be automatically
     this unit.




     Copy To:
     S-i
     S-2
     NATO PS
     Flight pine
     Flight Equipment
     TEFO Binder
     Files
     Unit Diary ff:                                      Initials:
                       NOTICE        (Aeromcdic
CLEARANCE




                                                                                       Name:           FWT,44.VcJ,            ALEY1’
Date:      ‘L’i       {Ø
                                                                                                       1S2ø7I
                                                                                       SSN:
From:                                                                                  RankfService:       ST       /(JS’iL

                                    (
                                    M
                                    4 .sLZCL                                                           PML       ti.ItEPJMA
To:                                                                                    HR•Loc:

                                                               e    aeronautically adapted tar duty involvmn flight as:
1.     Recommend subject individual be found physically quatifi and

                      SNA    Q
                                 SGI      Q
                                              SGIT    Q
                                                          SGIII
Class 1:          Q



                      SNFO          NFO       ATC     Q
                                                          AC/SAR       Q   AC/FEW     7
                                                                                      O ther           1-c_ /i1i-o
 Class 2:         Q          C




Waiver has been (reornmended) (granted) for:

 2.   C    Corrective lens required in performance at flight duties.
       C   Corrective lens required and extra pair must be carried in
                                                                   -

           performance of flight duties (DVA < 20’l 00).

 3. ‘Annual Physical Examination.
    C Following Aircraft Mishap/Incident.
    Q Return from sick/grounded list.
    C Other (Spocity)
 4.    Date grounded                                 Reason
       Expiration date of clearance                                                 Signature
       Original to:    C CO
       Copy to:        Q Oper. Off.                                                 if other, received concurrence from:
                       Q 1mg. Off.                                                                                     Name

     NAVMED 6150’2 ‘jJIL-1by                                                                                          Unit
                    (Date)   I                                                                                                   US.0PO1eGS-7o4O02J22S14
                                                                               —-



     NAVUED 641012     (a.v. .soj
                                                                                                                                                           Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.145 Page 51 of 155
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.146 Page 52 of 155




                                                        S
                              UNITED STATES MARINE CORP
                                                    SQUADIWN 262 (REIN)
                          MARINE MEDIUM H LICOPTER
                                                           UNIT
                                 31ST MARINE EXPEDITONARY
                                                          FORCE
                                XII MARINE EXPEDITIONARY
                                           UNIT 37238
                                       FPO AP 96603-7238

                                                                          fl   PjPl,Y   I{ER To.

                                                                          3710
                                                                          DOS S
                                                                          30 Sep 10

                                                                 262
                                      Medium Helicopter Squadron
   From:   Commanding Officer, Marine
           (REIN)
                                        XX 2071/6153 USMC
   To:     Sergeant Alexis Fontalvo XXX
                                        NATION
   Subj:   AERIAL GUNNER/OBSERVER DESIG

   Ref:    (a)   OPNAVINST 3710.7U
           (b)   A1—H53BE-NFM—000
           (c)   NAVMC DIR 3500.47
           (d)   NAVMC DIR 3500.89
           (e)   MCO P1000.6G
           (f)   MCO P1200.7(3

                                       demonstrated the knowledge,
   1.  Per the references, and having                     designated
                                required, you are hereby
   proficiency, and dedication                             wear the
                               Observer and authorized to
   a CH-53E Helicopter Aerial
                                   rence (g).
   Naval Aircrew insignia per refe
                                    requirements as outlined in
   2.  Additionally, having met the                         6199,
                                 granted the additional MOS
   reference (f), you are hereby
   Aerial Observer.
                                    made in your NATOPS
   3.  An appropriate entry will be                          ator’s
                                 Performance Record, and Avi
   Qualification Jacket, Aircrew
   Flight Log Book.




   Copy to:
   NATO PS
   APR
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.147 Page 53 of 155




                                                       S
                             UNITED STATES MARINE CORP
                                                            262 (REIN)
                        MARINE MEDIUH REI.ICOPTEP. SQUADRON
                               3ST MARINE EXPEDITONARY UNIT
                              XII MARINE EEDITIONARY FORCE
                                        UNIT 37238
                                     FO .A 96603-7238

                                                                         XH REPLY REFJ TO

                                                                         3710
                                                                         DOS S
                                                                         25 Sep 10

                                             Helicopter Squadron 262
   From:   Commanding Officer, Marine Medium
           (REIN)
                                                /6153 USMC
   To:     Sergeant Alexis Fontalvo XXX XX 2071
                                              RRAL
   Subj:   TRAINING AND READINESS FLIGHT DEFE

   Ref:    (a) OPNAVINST 3710.70
           (b) NAVMC DIR 3500.47
           (c) NAVMC DIR 3500.89

                                           are being deferred due to
   ].   EXT flights 170, 171, 172, and 173
                                       to further progress in
   lack of external opportunities and
   training per reference (c).
                                                at the earliest
   2.  Flights being deferred will be conducted
   possible opportunity.
                                              will be made in your
   3.  An appropriate entry per reference (a)
                                           Performance Record.
   NATOPS Qualification Jacket and Aircrew




   Copy to:
   NATOPS
   APR
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.148 Page 54 of 155




                                                CRM Training/Evaluation Record
                                                                                          Part C.
                This for is to be permanently maintained in the NATOPS jacket Section II,

                                                              CRM 1MM Instructors Course
                                                    Woes nail conipletion datfor ThIF.Ilnslnictars Course In this block)

   Date Completed:

                                                                      CRM Facilitator Course
                                                         “.ist      all CRM Facilitator Courses Attended In this Sectiou)__________           —




                                                                                Date Completed                                                      Unit
                    TIM Aircraft




                           Ground Training                                                                                  FLight Evaluation
                                                                                                    (List A,snuixl CRM’flight evaluations/or azdi 1ZM In this tection)
   (Lot A,,,,ual CR/S Ground traininx for each TIM aircraft in this sectiOn)
   Annual CRM ground training expires the last day of the cuirent                                   CRM renewal expires last day of the current month plus on year
   month plus one year.                                                                             and may be accomplished 60 days early.


                                         lnitial/                   Unit             I    T/M            Date                lpitial/                Unit        Expiration
    TIM              Date
                                                                                                                                                                   Date
   Aircraft        Completed           Rccurrency                                        Aircraft      Completed           Recurrency
                  j O(r,               rr                                                              ;2    AmXss   to      r-rTspns                           .        Pvh   Ii




                                                                                    Extensions
                                                                          nound training andlor flight evalualina br cacti TIM aiitraft
                                                                                                                                                                         -
                                          {LiaI cxtcnsio5.c   Ii)   CRM
            T/M Aircraft                               Ground/Flight                                      Authority                       —         Expiration Date




  NAME (Last. fitst,icii Inthial)                                                                                                             SSN
                                                                                                                                                  XXX XX
      J4T-LVC,
          Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.149 Page 55 of 155




NATOPS EVALUATION REPORT                                                                                          REPORT SYMBOl. OPNAV 370 2
OPNAV 3710/7 (4-90) S/NO I 07-LF-009-800                                                         SSN
                                                                         GRADE
NAME ((nsI.fi,L jill/al)
                                                                       SGT                       XXX XX 2071
FONTALVO, A                                                                                      CREW POSITION
SQUADRON/UNIT                                      AIRCRAFT MODEL

                                                   CH-53E                                        AERIAL OBSERVER
HMM-262, 31ST MEU
                                                                                                 DATE OF LAST EVALUATION
                                                   TOTAL HOURS TN MOl)I/I,
TOTAL iuGirr HOURS

                                                   28.0                                          INITIAL
28.0
                                                               NATOPS EVALUATION
                                                                                                                          GRADE

                                                                DATE COMPLETED                               Q               CQ         U
               REQUIREMEW
OPEN 1100K EXAMINATION                                              25   Sep 2010                          3.84
CLOSED (X)K EXAMINAJ’ION                                            25   Sep 2010                          3.84
ORAL EXAMINATION                                                    29   Sep 2010                           Q
EGRESS                                                              29   Sep 2010
*EVALUATION FLIGHT                                                  29   Sep 2010                           Q
                                                                                                 OVERAll. IINAT.GRAI)I)
                                                   AIRCRATT UUNC)
II JCI ITI)UnM1ON

                                                    162525                                                         QUAUFIED
5.0
REMARKS OF EVALUATORIINSTRUcTOR
                                                           cargo movement aboard USS ESSEX. SNM
Sgt Fontalvo flew a 5.0 hour flight consisting of PAX and
                                                            SNM maintained good situational awareness
manned the AU gun position for the duration of the flight.
                                                             load of all passengers and cargo. SNM was also
throughout the flight and was assertive with onload and off
                                                                    ary. With each simulated emergency, SNM
available for minor tasking in the cockpit and assisted when necess                                           l
was able to provide ample knowledge, react
                                              accordingly and correct actions in accordance with PCL. Overal
                                                                an Aerial Observer in the CH—53E. This flight
SNM flew a solid initial NATOPS check and is qualified to be
                                                            VTNST 3710.7U as well as his annual EGRESS
serves as his annual CRM Flight in accordance with OPNA
training requirement.

 Strengths: Aircraft knowledge, Safety, Standard Terminology
 Weaknesses: Tactics
                                                                                                                     NAVFLIR# GC6N5DT
 EXPIRES 30SEP11


 URAT)E. NAME (WEVAI.UEE
                                               I                                                 r3o Sep 2010
                                                                                                  JATh


 SGT A. A. FONTALVO
                                                                                                 130 Sep 20 10
                                                                                                    A.-”i-(               W
                    -4vo             is              L(                             ,
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 R,%NR.

                                                                                                   30 Sep 2010
                                                    [‘1
                                                                                                                                            A-7247
   WST. OFT. COT. or rockpii check in accordanc:
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.150 Page 56 of 155




                                                                           2
                                                                           AiL A/
  Al -H53BE-N FM-000
                                              4t ,vc                           T

                                                                            FORM
                                           CH-53E AIRCREW NATOPS EVALUATION
                                                                                                                   0        CO 00       Comments

     Evaluec ThMIAL-kiO,           4 iXJ’,                                   SECURING OF AIRCRAFT
                                                                                                                            El El
     Evaluee SSN
                                                                                                                            El C)
                                                                                Stowage of .ar
                                                                                                                            El El
     Instructor                                                                 Tiedowne and Covers
                              47J
     Date of Flight
     Total Hours                                                              Phase iii Mission Evaluation Areas
                                                                                                                            LI     El
     Model Hours                               R                              PERSONAL FLIGHT EQUIPMENT
                                                                                                                            U      El
     Flight Duration        j2.                                                  AvsllebllltY
                                                                                                                                   El
                                                                                 Condition                                  El
      Helicopter Btjno                                                                                                             El
                                                                                 Usage                                      El
      Dais of Lest Eval
                    i 4?T,?Ctl                                                SAFETY REGULATIONS                            El     C
      Expires
                                                                                 Compliance                                 ID     El
                                                                                                                            El     El
      Open Bock Data and Grade
      Closed Book Date and Grg
                                                         ::                   EMERGENCY PROCEDURES
                                                                                 Proficiency                                El
                                                                                                                            ID
                                                                                                                                   El
                                                                                                                                   El
      Final Overall Grade                                                         Compliance
                                                                              FLIGHT PARAMETERS
                                                                                                                            CD     El
                                                                                  Knowledge                                 U      El
                                                     (USMC)
     C]   Turnln completed ATF to S.3 Pilot Training                                                                         El    El
                                                                                 Alertness
     C]   TMR code 2L4 entered In NALCOMIS                                                                                   C)    El
                                                                              VOICE PROCEDURES
                                                                              CONFINED AREA LANDINGS                   D           El
                                             0 CO 00            Comments         Observation                           El          El
      Phase I Ground Evaluation                                                                                        C]          El
                                                    El    C]                     CommunIcation
         Open I Closed Book                                                                                         El C]          U
                                                                              EXTERNAL CARGO OPERATIONS
         Oral Exam
                                                                                    Procedures
                                                                                                                                         9’i2
      Phase il Flight Evaluation                                                    Voice Procedures                   El    El    C] l7A4
                                                    EJ    C)                   WINCH OPERATIONS
                                                                                                                             El    C)
      PREFLIGHT
          Aircraft InspectIon                       El    E]                      Loading                                    El    LI
          Yellow Sheet                      is      I]    c                       Unloading
                                                                                                                             El    C
                                            iil     El    C]                                                           El    El    C    P’-’Q
          Compliance With MRQs                                                 UT1LITYHOISTOPERATIONS
                                                    U     C)                                                           El    El    El   t7&O
      CONDITION OFAIFICRAFT                                                       Procedures
         Cleanliness                         b-<•   C)    C)                      lOB CommunIcatIon                    C)    El    El
      CABIN GEAR                                    El    El                   AIRCREW COORDiNATION                    I     C)    El
         Security                                   C)    C)                      DecIsion MakIng                            El    El
                                                                       ——


           Condition                         &      El    El                       Assertiveness
                                                                                                                             El    El
      GROUND SAFETY PRECAUTIONS                     C)    C)                      Mission Anslysis                           El    U
         Observance                                 El    C)                       Communication                              El   C)
                                                    El    CD                                                           I1     C)    U
      LOADING INTERNAL CARGO                                                       Leadership
         Weight end Balance                         El    El                       AdaptabllltylFlexlbIiity                   El    El
         Use of Tiodowna                     t      El    El                       SituatIonal Awarenesa                      El    El
                                                    )     []
      AUXILIARY POWER PLANT
          inspectIon                            El        El                   Narrative of Flight:
          Operation                             U         C)
                                             El El        El        ttiO                                                           4P7Tr,
      RANGE EXTENSION FUEL SYSTEM                                              Strengths: ARL”1
          installation                       j El         C]                        A3(1V T’C’                     -“
          Operation                             1j        j
                                                                                        7(712,
                                                                                Weakness:
      BRIEFING OF PASSENGERS                 S El         C]
      HAND SIGNALS                              U         C)
                                                El        El                    Narrative:ZT))A’
         Day
         Night                               $  El        Cl                        4Y    4-4ASS 4
                                             l       C]   El                      ,j4      44i 4(,44
      FUELING AND SERVICING                                                                         FcK
                                                 El       El                     42      vLAA
         Gravity
         Pressure                             I El        C)                     1
                                                                                 - r 2
                                                                                     C
                                                                                     L II Pmt
                                                                                              raG.4r
         i-IIFR                               El El       C)                                   L.c.
      POSTFLIGHT AND DAILY                       El        C
         inspection                              El       C]    -




         Compliance with MRCs                    El        El
                                                                                                                                                Cl-153t-F239


                                                                                         2)
                                        Figurc 21-1. NATOPS Evaluation Forms (Sheet 2 of


                                                                            21-32
   ORIGINAL
I               FcJThLJC,         A..

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    L*3I4ATON: NO.




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                            C4$(P Y NAVAL N*TIA
                                 NAVY WPAITMLWT
                              WAI*..T.N. C.C.   SI4


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                                                                Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.151 Page 57 of 155
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                                              ADB Work Order
 Work Center                        CF Reqd GA Reqd System Reason
 210                                  N       N     2ND STAGE FLUCTUATES
Assy Cd         Buno/Serno          WO Status Cd PILOTI1NmATOR                              In Process Inspections Modex
AHXD            163077              P                                                                              69
                                                          REPAIR CYCLE
                 DATE        TIME   EOC                      DATE        TIME   EOC                         DATE        TIME
 RECEIVED
DISCREPANCY
               27 OCT2010    1745    K      IN WORK
                                                      J    27 OCT 2010   1807    K    COMPLETED       28 OCT 2010       1705
                                                              V




2ND STAGE HYDRAULIC PRESSURE GAUGE FLUCTUATES RAPIDLY BETWEEN 2700 AND 3000 PSL




CORRECTNE ACTION
REMOVED AND REPLACED 2ND STAGE PRESSURE INDICATOR AND 2ND STAGE TRANSMITTER lAW 450-000. SYSTEM OP CHECKS
GOOD lAW 450-200. AREA FOD FREE AT TIME OF INSPECTION.



CORRECTED BY                 INSPECTED BY                    MAINT CONTROL            MCN            ,JCN
                                                                                      229F2RV       GKM300 152
   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.155 Page 61 of 155




                                             ADB Work Order

                                                                                               In Process Inspections Modex
                                                                                                                        69
                                                     REPAIR CYCLE
                 DATE      TIME   EDO                   DATE        TIME       EOC                               DATE        TIME
 RECEIVED
DISCREPANCY
               2700T2010   1932    Z
                                        f   INWORK    270CT2010
                                                                           I    z    J   COMPLETED
                                                                                                       J   280CT2010         0133

FIRST STAGE RESEV1OR BLEW OUT FOWARD CASiNG CAP SEAL MFR #10072UPDATE FIRST STAGE RESERVIOR REMOVED
AND REPt.ACED BUT NOT PRESSURE CHECK OR BLED AND SEICED.’UPDATE P00




CORRECTIVE ACTION
REMOVED AND REPLACED FIRST STAGE RESERVOIR lAW 450-000. AREA FOD FREE AT TIME OF INSPECTION. REFER B&S TO JCN:
GKM300147. REFER PRESSURE CHECK TO JON: GKM3O1 166. REFER TO JCN 0KM3001 53 FOR FIRST STAGE SAMPLE.



CORRECTED BY               INSPECTED BY                 MAINT CONTROL                    MCN               JCN
                                                                                         229F2S2           GKM300157
    Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.156 Page 62 of 155




                                                 ADB Work Order
 Work Center                           CF Reqd QA Reqd System Reason
 120                                     N       N     1NFLIGHTKANDLE
Assy Cd             Buno/Semo          WO Status Cd P!LOTIINITIATOR                            In Process Inspections Modex
AHXD                163077             U                                                                             69
                                                         REPAIR CYCLE
                     DATE       TIME   EDO                  DATE            TIME   EOC                        DATE        TIME
 RECEIVED
DISCREPANCY
               f   28 OCT2010   2349           IN WORK    29 OCT2010
                                                                        f   0100         COMPLETED       31 OCT2010       1852


DURRING INFLIGI-IT PUMP OPPERATION HANDLE BROKE OFF.




CORRECTIVE ACTION
RIR INFLIGHT PUMP OPERA11ON HANDLE lAW 450-000. AREA FOD FREE AT TIME OF INSPECTION.




CORRECTED BY                    INSPECTED BY                MAINT CONTROL                MCN            JCN
—
                                                                                         229F2U7        GKM302208
   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.157 Page 63 of 155




                                                   ADB Work Order
 Work Center                            CF Reqd GA Reqd System Reason
 020                                      N       N     RAMP SELECTOR HANDLE
Assy Cd             Buno/Semo           WO Status Cd PILOT/INITIATOR                       In Process Inspections Modex
AHXD                163077              P                                                                        69
                                                         REPAIR CYCLE
                     DATE       TIME    EOC                  DATE       TIME   EOC                        DATE        TIME
  RECEIVED
DISCREPANCY
               J   I6DEC2OIO    1258      H     INWORK     16DEC2O1O    1450    H    COMPLETED       17FEB2O1I        1415


RAMP SELECTOR HANDLE BROKEN APAF IN AIRFRAMES.




CORRECTIVE ACTION
Work order closed out due to transfer new MCN: 2A019L0




CORRECTED BY                    INSPECTED BY                 MAPNT CONTROL           MON            JCN
                                                             Transfer                229F53G        GKM35001 1
   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.158 Page 64 of 155




                                             ADB Work Order
 Work Center                        CF Reqd GA Reqd System Reason
 X52                                  N       N     LOCKPIN
Assy Cd         BunolSerno          WO Status Cd PILOTIINITIATOR                           In Process Inspections Modex
AHXD            163077

                                    U                                                                            69
                                                         REPAIR CYCLE
                 DATE        TIME   EGG                     DATE        TIME   EGO                        DATE        TIME
 RECEIVED
DISCREPANCY
               1BDEC2O1O     1707           INWORK
                                                     J    17JAN2O11     0700         COMPLETED       17JAN2011        1421


PYLON FOLD UPPER LOCKPIN ACTUATOR HAS BROKEN WIRE.




CORRECTIVE ACTION
REPLACED UPPER PYLON LOCK PIN SWITCH AFTER INSTALLATION OF UPPER LOCKPIN ASSY. REINSTALLED LOWER LOCKPIN
SWITCH AFTER REPLACEMENT OF LOWER LOCKPIN ASSY. INSTALLATION CHECKS GOOD lAW 450-000. AREA FOD FREE AT TIME OF
INSPECTION.


CORRECTED BY                 INSPECTED BY                   MAINT CONTROL            MCN            JCN
                                                                                     229F53Y        0KM350024
  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.159 Page 65 of 155




                                                ADB Work Order
 Work Center                           CF Reqd QA Reqd System Reason
 120                                     N       N     UTILiTY PUMP
Assy Cd             BunolSemo          WO Status Cd PILOTIINITIATOR                           In Process Inspeions Modex
AHXD                163077             P                                                                           69
                                                            REPAIR CYCLE
                     DATE       TIME   EOC                     DATE        TIME   EOC                       DATE        TIME
 RECEIVED
DISCREPANCY
               (   030EC2010    1849    C      INWORK
                                                        J    O3DEC2O1O     1945   C     COMPLETED      O4DEC2OIO        0611


U11LITY PUMP REMOVED DUE TO AGS FOM. UPDATE’ GASKET NEEDS REPLACED DO TO REMOVAL OF PUMP




CORRECTIVE ACTION
RE-ENSTALLED PUMP AND REPLACED GASKET AS REQUIRED JAW 260-000. REFER TO AGB FOM MAP FOR IN PRO INSPECTIONS
GKM337790.



CORRECTED BY                    INSPECTED BY                   MAINT CONTROL            MCN           JCN
          -                                                    —-

                                                                                        22BQ012       GKM337604
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                                                ADB Work Order
Work Center                            CF Reqd QA Rcqd System Reason
120                                      N       N     2ND STG PUMP GASKET
Asay Cd        BunolSemo               WO Status Cd PILOT/INITIATOR                            In Process Inspections Modex
AHXD           163077                  D                                                                                69
                                                         REPAIR CYCLE
                DATE            TIME   EOC                  DATE        TIME   EOC                               DATE        TIME
 RECEIVED     03 DEC 2010
                            J   1844    Z      IN WORK    03 DEC 2010   1952    Z
                                                                                     J   COMPLETED
                                                                                                       (   04 DEC 2010
                                                                                                                         (   0610

DISCREPANCY
2ND STAGE PUMP GASKET NEEDS REPLACED.




CORRECTIVE ACTION
REPLACED 2ND STAGE PUMP GASKET AS REQUIRED lAW 260000




CORRECTED BY                    INSPECTED BY                 MAINT CONTROL               MON               JCN
                                                                                         2280011           GKM337605
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.161 Page 67 of 155




                                          ADB Work Order

                                                                                         In Process Inspections Modex
                                                                                                                 69
                                                   REPAIR CYCLE
               DATE       TIME   EOC                  DATE        TIME   EOC                            DATE          TIME

 RECEIVED   29 NOV 2010   1741           IN WORK    10 JAN2011    0700
                                                                               J   COMPLETED       18 JAN 2011        1324

DISCREPANCY
UTL OIL HOT LIGHT CAME ON WHILE ON DECK. EXECUTED PROCEDURES FROM PCL AND DETERMINED ThAT THE HEAT
EXCHANGER/BLOWER WAS OVERHEA11NG/SHUT1NG DOWN. ThIS HAPPENED TWICE ON DECK PRIOR TO FLIGI-fT AND ONCE
AFTER FLIGHT. DID NOT OCCUR WHILE AIRBORNE.




CORRECTIVE ACTION
USING PROCEDURES IN ThE 450-200, DETERMINED ThAT THE HEAT EXCHANGER OPERATED PROPERLY WHEN THE OVEERTEMP
SWITCH IS BYPASSED. REPLACED OVERTEMP SWITCH. INSTALLATION CHECKS GOOD lAW 450-000. AREA FOD FREE AT TIME OF
INSPECTiON. NPPC.


CORRECTED BY              INSPECTED BY                 MAINT CONTROL               MCN            JCN
                                                                                   22BQOBT        GKM333637
   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.162 Page 68 of 155




                                              ADB Work Order
 Work Center                       CF Reqd QA Reqd System Reason
 120                                 N       N     2ND STO PRESS. REDUCER
Assy Cd         SunolSemo          WO Status Cd PILOT/INITIATOR                             In Process Inspections Modex
AHXD            163077             U                                                                                 69
                                                          REPAIR CYCLE
                 DATE       TIME   EOC                       DATE        TIME   EOC                           DATE        TIME
 RECEIVED
DISCREPANCY
               26N0V2010    2215
                                         j   INWORK
                                                      f    26N0V2010     2216         COMPLETED
                                                                                                    (   27N0V2010
                                                                                                                      f   0107


2ND STG 1000 PSI PRESSURE REDUCER IS LEAKING FROM FIlliNG.




CORRECTIVE ACTION
TiGHTEN AFCS 2ND STG 1000 PSI PRESSURE REDUCER 2ND LAW 450-000




CORRECTED BY                INSPECTED BY                     MANT CONTROL             MCN               JCN
                                                                                      22BQ083           GKM330747
  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.163 Page 69 of 155




                                             ADB Work Order
 Wort Center                       CF Reqd QA Reqd System Reason
 120                                 N        N     2ND STG PRESS. TRANSMIT.
Assy Cd         Buno/Semo          WO Status Cd PILOT/INITIATOR                                In Process Inspections Modex
AHXD            163077             U                                                                                    69
                                                     REPAIR CYCLE
                 DATE       TIME   EOC                  DATE            TIME   EOC                               DATE        TIME
 RECEIVED
DISCREPANCY
               26 NOV2010   2211           IN WORK    26 NOV2010
                                                                    J   2212
                                                                                     j   COMPLETED
                                                                                                       J    27 NOV2010       0204

2ND STAGE PRESSURE TRANSMITTER tS LEAKING FROM BACK FITTING




CORRECTIVE ACTION
TIGHTEN 2ND STG PRESSURE TRANSMITTER .JAMNUT IAW 450-000.




CORRECTED BY                INSPECTED BY                MAINT CONTROl.                   MCN               JCN
                                                                                         2280082           GKM330746
   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.164 Page 70 of 155




                                                ADBWorkOrder
 Work Center                           CF Reqd QA Reqd System Reason
 211                                     N       N     B/F C/B POPS
Assy Cd         Buna/Semo              WO Status Cd PILOT/INITIATOR                       In Process Inspections Modex
AHXD            163077                 U                                                                        69
                                                        REPAIR CYCLE
                 DATE       TIME       EOC                  DATE       TIME   EOC                        DATE        TIME
 RECEIVED
DISCREPANCY
               22 SEP2010   1400
                                   j          IN WORK     04 OCT2010   0600         COMPLETED       07 OCT2010       0910

BLADEFOLD C/B POPS WHEN PITCHLOCK SWITCH IS PLACED IN ENGAGE OR WHEN HEAD REACHES FOLD POSITION. NEW
WORK: AE007




CORRECTIVE ACTION
REAPIRED MULTIPLE WiRES ALONG 2ND STAGE ISOLATION VALVE HARNESS, SYSTEM OP CHECKS GOOD JAW 140-200.




CORRECTED BY                INSPECTED BY                    MAINT CONTROL           MCN            JCN
                                                                                    ONGHNP9       WC8265279
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                                                   ADB Work Order
 Wotic Center                            CF Reqd QA Reqd System Reason
 120                                       N       N     2ND STAGE RESERVOIR
Assy Cd          Buno/Semo               WO Status Cd PILOT/INITIATOR                        In Process Inspections Modex
AHXD             163077                  U                                                                         69
                                                           REPAIR CYCLE
                  DATE            TIME   EOC                  DATE        TIME   EOC                        DATE        TIME
 RECEIVED       15 SEP 2010   j   0622           IN WORK    22 SEP 2010   1354         COMPLETED       22 SEP 2010      1525
DISCREPANCY
2ND STAGE RESERVOIR IS LEAKING OUT OF LIMITS FROM THE SIGHT GAUGE AND WEEP HOLE. NEW WORK: AEO1O




CORRECTIVE ACTION
REMOVED AND REPLACED 2ND STAGE RSVR lAW 460-000, CHECKS GOOD AS REQUIRED.




CORRECTED BY                      INSPECTED BY                 MAINT CONTROL           MCN            JCN
                                                                                       ONGHNNU        WC8258223
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                                                   ADB Work Order
 Work Center                           CF Reqd QA Reqd System Reason
 120                                     N       N    LENGINE START RTRN 4NIFOL
Assy Cd         Buno/Semo              WO Status   Cdl PILOTIINITIATOR                          In Process nspectk,ns Modex
AHXD            163077                 U                                                                             69
                                                              REPAIR CYCLE
                 DATE       TIME       LOG                       DATE        TIME   LOG                       DATE         TIME
 RECEIVED      15SEP2OIO    0621
                                   (         INWORK
                                                          J    I6SEP2O1O     0600         COMPLETED      22SEP2010
                                                                                                                       f   1526
DISCREPANCY
ENGINE START RETURN MANIFOLD LEAKING FROM FILTER BOWL. NEW WORK: AEO1O




CORRECTIVE ACTION
REMOVED AND REPLACED ENGINE START RETURN MANIFOLD lAW 450-000.




CORRECTED BY                INSPECTED BY                         MAINT CONTROL            MCN           JCN
                                                                                          ONGHNNT       WC8258222
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.168 Page 74 of 155




                                              ADB Work Order
 Wofk Center                         CF Reqd QA Reqd System Reason
 120                                   N        N     2NDSTG PRESS
 Assy Cd        Bun&Serno            WO Status Cd PILOT/INITIATOR
                                                                                              In Process Inspections Modex
 AHXD           163077               U           Transfer
                                                                                                                    69
                                                      REPAIR CYCLE
                 DATE        TIME    EOC                    DATE       TIME       EOC                       DATE         TIME
  RECEIVED     12 FEB 2010
DISCREPANCY
                             085.6          IN WORK    22 SEP 2010     1337   j         COMPLETED
                                                                                            22 SEP 2010    1527
                                                                                                                     J
ORIGINAL 2ATBZ77. ORIGINAL 307RY0G. ORIGINAL 307RY
                                                     .
WHEN SECOND STAGE IS SECURED. READS -100 AND ONLY READS2ND STAGE HYD PRESS TRANSMITTER WILL NOT ADJUST
PRESSURE TRANSMITTER.                                   2900 DURING NORMAL OPERATION. TROUBLESI-IOT TO BAD




CORRECTIVE ACTION
PRESSURE TRANSMITTER CHECKS GOOD lAW 450-000,




CORRECTED BY                 INSPECTED BY                   MAINT CONTROL               MON           JCN
                                                                                        ONGHM37       WC8043049
  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.169 Page 75 of 155




                                                        ADB Work Order
 Work Center                                   CF Reqd QA Reqd System Reason
 120                                             N       N     1STSTGSAIPLE
Assy Cd             BunoISemo                  WO Status Cd PILOTIINITIATOR                          In Process Inspecfions Modex
AHXD                163077                     U           Transfer                                                        69
                                                                   REPAIR CYCLE
                     DATE           TIME       EOC                    DATE        TIME   EOC                        DATE        TIME
 RECEIVED
DISCREPANCY
               J   12FE82010
                                j   0856
                                           J         INWORK
                                                               J    22SEP2010     1330         COMPLETED       22SEP2010
                                                                                                                            J   1530


ORIGINAL 2A1BZ74. ORIGINAL: 3O7RYOD. ORIGINAL 307RY7K. 1ST STG SAMPLE DUE TO R&R 1ST STG PUMP.




CORRECTIVE ACTION
RESAMPLED 1ST STAGE DURING TESTLINE PROCEDURES. CHECKS GOOD lAW 450-000.




CORRECTED BY                        INSPECTED BY                      MAINT CONTROI            MCN            JON
                                                                                               ONGHM34
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.170 Page 76 of 155




                                                ADB Work Order
 Work Center                           CF Reqd QA Reqci System Reason
 120                                     N       N      2NDSTGLEAI(
Assy Cd             BunolSemo          WO Status Cd PILOT/INITIATOR                         In Process Inspections Modex
AHXD                183077             U                                                                          69
                                                        REPAIR CYCLE
                     DATE       TIME   LOG                  DATE         TIME   EOC                        DATE        1ME
 RECEIVED
DISCREPANCY
               (   24JAN201I    1941           INWORK     24JAN2011      2100         COMPLETED       24JAN2011
                                                                                                                   I
2ND STG LEAKING, PREFORM LEAJ( CHECK TO ISOLATE THE LEAK.




CORRECTIVE AC11ON
REPLACED PACKING AND RETAINER ON 2ND STG PRESS TRANSMITER lAW 40-000 PRESSURE CHECK GOOD. AREA FOD FREE AT
TIME OF INSPECTION.



CORRECTED BY                    INSPECTED BY                MAINT CONTROL             MGN            JCN
                                                                      .—.---          229F6C0        GKM02456
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.171 Page 77 of 155




                                                      ADB Work Order
Worl Center                            CF Reqd GA Reqd System Reason
210                                      N       N     NUMBER I ENG.
Assy Cd        Buno/Serno                  WO Status Cd PILOTIINITIATOR                              In Prucess Inspections Modex
AHXD           163077                      U                                                                                 69
                                                               REPAIR CYCLE
                DATE            TIME       EOC                    DATE        TIME   EOC                            DATE          TIME

 RECEIVED     24 JAN 2011   j   1749
                                       j         J   IN WORK    25 JAN 2011   0830         j   COMPLETED       25 JAN 2011
                                                                                                                              f   0856

DISCREPANCY
NNMBER ONE ENGINE WILL NOT START. NO NG INDICATION. TROUBLESHOT TO CANNON PLUG AND HAND SAFETY WIRED THE
CANNON PLUG AND IT APPEARED TO WORK.




CORRECTIVE ACTION
SAFETY WIRED THE #1 CANNON PLUG ON ThE ENG START VALVE. AREA FOD FREE AT TIME OF INSPECTION.




CORRECTED BY                    INSPECTED BY                       MAINT CONTROL               MCN            JCN
                                                                                               229F6CL        GKM024566
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.172 Page 78 of 155




                                             ADB Work Order
Work Center                       CF Reqd GA Reqd System Reason
X52                                 N       N     CORRODED TERMINAL
Assy Cd        BunolSemo          WO Status Cd PILOT/iNITIATOR                         In Process Inspec5ons Modex
AHXD           163077             U                                   V                                         69
                                        V            REPAIR CYCLE
                DATE       TIME   EOC                   DATE        TIME   EOC                           DATE        TiME

 RECEIVED     O7JAN2O1I    0647             INWORK    17JAN2OI1     0901         COMPLETED     j   17JAN2O11         1028

DISCREPANCY
PYLON DISCONNECT COUPLING UMIT SWITCH CORRODED TERMINAL.




CORRECTIVE ACTION
CLEANED CORROSION OFF PYLON DISCONNECT COUPLING SWITCH TERMINAL lAW 505 MANUAL. AREA FOD FREE AT TIME OF
INSPECTION.



CORRECTED BY               INSPECTED BY                  MAINT CONTROL           MCN               JCN
                                                                                 229F5R3           GKMOO3C2S
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.173 Page 79 of 155




                                                     ADB Work Order
Woric Center                                CF Reqd QA Reqd System Reason
X51                                           N       N     INFL.IC3HT FILLER CAP
Assy Cd             BunofSemo               WO Status Cd PILOTIINIT1ATOR                         In Process Inspections Modex
AHXD                163077                  U                                                                             69
                                                             REPAIR CYCLE
                     DATE        TIME       EOC                   DATE        TIME   EOC                           DATE        TIME
 RECEIVED
               J   06 JAN 2011   0956   j          IN WORK     ii JAN2011
                                                                                     I I   COMPLETED     j   17 JAN2011
                                                                                                                           J   0820
DISCREPANCY
INFLIGHT FILLER CAP ATRIPPED




CORRECTIVE ACTION
REPLACED INFLIGHT FILLER CAP lAW 450-000 AREA IS FOD FREE AT TIME OF INSPECTION




CORRECTED BY                     INSPECTED BY                     MAINT CONTROL            MCN               JCN
..—
                                                                                           229F5Q1           GKM006594
  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.174 Page 80 of 155




                                                ADB Work Order
Work Center                            CF Reqd QA Reqd System Reason
X51                                      N       N     PYLON FOLD SEQUENCE VALVE
Assy Cd            uno/Semo            WO Status Cd PILOT/INITIATOR                        In Process Inspections Modex
AHXD               163077              D                                                                           69
                                                         REPAIR CYCLE
                    DATE        TIME   EOC                  DATE        TIME   EOC                        DATE          TIME
 RECEIVED
DISCREPANCY
              (   06 JAN 2011   0925    Z      IN WORK    07 JAN 2011   0700    Z    COMPLETED       11 JAN 2011
                                                                                                                    J   1432


PYLON FOLD SEQUENCE VALVE SEVERLY WORN AND CORRODED




CORRECTIVE ACTION
REMOVED AND REPLACED PYLON FOLD SEQUENCE VALVE lAW 450000. AREA FOD FREE AT TIME OF INSPECTION.




CORRECTED BY                    INSPECTED BY                 MAINT CONTROL           MCN            JCN
                                                                                     229F5PL        0KMI306579
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.175 Page 81 of 155




                                               ADB Work Order
Wodc Center                           CF Reqd QA Reqd System Reason
X51                                     N       N     LOWER PYLON LOCKPIN ASSY
Assy Cd        BunolSemo              WO Status Cd PILOT/INITiATOR                        In Process Inspections Modex
AHXD           163077                 D                                                                             69
                                                       REPAIR CYCLE
                DATE       TIME       EOC                  DATE        TIME   EDO                           DATE         TIME
 RECEIVED
DISCREPANCY
              06 JAN2011   0923
                                  J    Z    IN WORK      06 JAN 2011   1200    Z    COMPLETED
                                                                                                  J   14 JAN 2011        1455


LOWER PYLON FOLD LOCKPIN GOUGED




CORRECTIVE ACTION
REMOVED AND REPLACED LOWER PYLON FOLD LOCK PIN lAW 450-000 AREA IS CLEAN AND FOD FREE AT TIME OF INSPECTION




CORRECTED BY               INSPECTED BY                     MAINT CONTROL           MCN               JON
                                                                                    229F5PK           GKM006578
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.176 Page 82 of 155
                                                                                                                       __
                                                                                                                                  __




   AssySmo             Serno      LMcn                      Wuc   _cmpoj__                                                                     1
                           1630771 ONGHM3q                         42AN0           9128/2010 13:42:4                      BMS CONNECTO
                           163       NGHNQ                         42AK4           9/29/2010 1Q:51:S                      @#3GENERTO
                           1630771                                42A5304         11)2012010 10:4.5:0
                                   22BPZWrI                                                                              PILOT SPOT LIGHT
                                                                              -
                           1 6307 222                             424             11I27l20i002:21:5             Cannib MISC INTERIOR LIGI
              -.           163077j 229F401                        42A6141         12115/2010_10:45:54           LEFT SIDE POSITION LIGH
                           16307A229F5D                            42AC1j          1/12/2011 11:24:3d                      -    HI-TIME: 79
             _J_
             _J            16307L229F5ME                            42AJ’Yj        1/12/2011 12:15:0(                 R/H GEN RELAY WIRES
                           1630771 229F5M\                          42AX           1I12)20i1i4j[            —____   RTRHEADINSPLTLE?
                   1
                   L__     1630 229F5M                             42AC1j_         1)13)20j48:0                        #1 GEN XFRMR B00
             _j            1630771 229F5M(                                         1/13)2011_13:43:2                   #3 GEN XFRMR 800
                           163077    229F5M1    —-_______
      ——
                                                                  42AJA01i/i3)2011_13:46:111                            1*1 AJCJ-OX FILTH’
                           163O77_229F5M(                         42AJGOO          1113(2011 13:48:21                   #2 Ale J-BOX FILTH’
                   I       1630771 229F5MF
--    -----..                                                     42AJBOI          1/13)2011 13:50:2
                                                   -.        .-__
                                                                      -       -__:-
                                                                                                    -   -
                                                                                                                        #3 A/C .i-SOX FILTH’
                           1630      229F5M                       42AJH0           1113/2011 13:56:0                    #2 DIC J-BOX DIRTY
                           1630      229F5M11                       42AJI          1/14/2011 11 :46:2                 #1 CONV COMP FIL]jj
                           163d[     229F5Md                        42AJ1          1114/2011 11:47:5                  #2 CONV COMP DIRT’j
—
             __i____       163077] 229F5MYj                       42AV211          1/14/2011 11:52:2         -_____     LIHNAVLTPOJ
                       -   163077] 229F5OWj
      —-     —-
                                                                  42A4111          1)14/2011,fl:58:0                   WIRE BUNDLE SLACKI
                                                                                                                                                   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.177 Page 83 of 155




age 1 of 2
 Asyerno          Serno        Jivn            Wuc                       Cmp Ot                    Sys Rsn
                      16329F5Q                       42A               1/14/2011                    .jNJRE BJNDLE SLAG
              I       1 63077       229F5Q            42AJ)            1/1 4/2011 12:04:1       WIRE BUND          UA     )
                                    229F5R(           42AJ)    —       1114/2011 13400<                GEN RELAY PAE
              I

                          163077229F5R                42AJ     -       11141201113:45:01    -       R/HGENRELAYI
                                                                                                    A
                                                                                                    5   NE
                          1630771   229F5R1           42AT             1117/2011 14:10:d          PYLON TER    AtOARD
                          i075R                      42A411        -   1/17/20fl 14121
—_-:-z-z                  I 63077   2ADI A.&         42A530’            3/3/2011 01:44:1;        COPILOT SPOTLIGHT IN
                          163077j 2AD1AN)              42A4’           3110/2011 10:07:3             #2ENGNET5GAU
                                                       42AJ            3/16/2011 23:20:25                    NO.28LOWEF   -
                                                                                                                              Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.178 Page 84 of 155




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  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.179 Page 85 of 155



                                       COMPL.JE WORK ORDER FORh..
                                                           1
                                       Type WO          Org Code      Maclax      Buno/Semo             Assy Cd     Work Center        CF Req       QA Req
MCN           JCN
                                                                                  163077                AHXD        X52                N            N
229F50W       GKMOO3C1I                PF               GKM           69
                                                        Rev Ur                                Amend                  Part                           Kit No
tritrm Cd     Code         jBasic No


                                                                      Trans     MIL      Item Process    Action Taken Mal Code          Disc Code Type Maint
Turn-In Doc      WUC/UNS (i5                       ‘i
                                                                        11        1       1              C            W31               M         G
                42A4110  ,.1                       p,,L..
                           REMOVED/OLD ITEM                                                                 INSTALLED/NEW ITEM

                                              Serial Number                        Cage                                           Serial Number
Cage

                                              Date Removed                         Part Number                                    Date Installed
Part Number
                                              00     00000000                                                                     00   00000000

                     Elapsed Hrs            Received                    EOC       In Work                     EOC    Completed                  WO Status Cd
Man Hrs
1.2                  0,4                    O7JAN 2011 0834                       14JAN 2011 1008                    14 JAN 2011 1158           U
Meter                In Process lnsp        Safety El       Posit      FId       Tech                      System Reason
                         N                                                                               WIRE BUNDLE SLACK

                                                            (H-Z) Falledlflequired Material

                                       Part Number               OTY PROJ PRI           Date ORD          DDSN              Date RCVD             NOMEN
Index F/P WT MAL Cage




DISCREPANCY                                                                                                                   INITIATOR


WIRE BUNDLE @ F/S 442, SEVERAL TIE POINTS NOT SECURE, BUNDLE SLACK NOT CORRECT.




CORRECTIVE ACTION
ADJUSTED WIRE BUNDLE SLACK AND SECURED WIRE BUNDLE AS REQUIRED. INSTALLATiON CHECKS G000D lAW 420-800. AREA
FOD FREE AT TIME OF INSPECTION.




CORRECTED BY                                         INSPECTED BY                                        MAINT CONTROL



Paae I of I
     Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.180 Page 86 of 155



                                          COMPL..TE WORK ORDER FOR
                                                                       Modex      Buno/Serno           Assy Cd      Work Center       CF Req         QA Req
    MCN           JCN                      Type WO       Org Code
                                                                                  163077               AHXD         X52               N              N
    229F5QZ       GKMOO3C15               [PF            GKM           59
                                                                                               Amend                 Part                          Kit No
    Intrm Cd      Code         Basic No                  Rev Ltr


                                                                       Trans    M/L     Item Process    Action Taken Mal Code             Disc Code Type Maint
    Turn-In Doc      WUC/UNS
                                                     (4(j   fda-        11        1     1               C                 W33             M           G
                    42AJX   i-4i1

                               REMOVED/OLD ITEM                                                             INSTALLED/NEW ITEM

                                                Serial Number                      Cage                                            Serial Number
    Cage

                                                Date Removed                        Part Number                                    Date Installed
    Part Number
                                                00 0000 0000                                                                       00 0000 0000

                         Elapsed Hrs          Received                   EOC      In Work                     EOC    Completed                   WO Status Cd
    Man Hrs
    0.9                  0.3                  07 JAN 2011 0843                    14 JAN 2011 1117                   14 JAN 2011 1204            U
    Mater                In Process lnsp     Safety El       Posit      Rd       Tech                     System Reason
                             N                                                                       WIRE BUNDLE NOT SECURE

                                                             (H-Z) Failed/Required Material

                                          Part Number              0Th’ PROJ FRI        Dale ORD            DDSN            Date RCVD              NOMEN
    Index F/P A/T MAL Cage




                                                                                                                                INITIATOR
    DISCREPANCY


    WIRE BUNDLES ADJACENT TO LJH GENERAL RELAY PANEL NOT SECURED.




    CORRECTIVE ACTION
                                                                                            TIME OF INSPECTION.
    SECURED WIRE BUNDLE AS REQUIRED. INSTALLATION CHECKS GOOD lAW 420-000. AREA FOD FREE AT




                                                        iNSPECTED BY                                    MAINT CONTROL
    CORRECTED BY
I   -
            —-d
    Paqe I oil
  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.181 Page 87 of 155



                                      COMPL.JE WORK ORDER FOR
                                                                      Modex    BunolSemo                    Assy Cd      Work Center        CF Req         QA Req
MCN           JCN                     Type WO          Org Code
                                                                               163077                       AHXD         X52                N              N
229F5R0       GKMOO3C2S               PF               (31(M          69
                                                                                                  Amend                   Part                          KIt No
lntrm Cd      Code         Basic No                    Rev Ltr


                                                                      Trans   MJL            Item Process    Action Taken Mal Code              Disc Code Type Maint
Turn-In Doc      WIJC/UNS
                                                                                  1          1               C                 306              M           G
                42AJX   -44j       c7 JI fi                L.          11


                           REMOVED/OLD ITEM                                                                       INSTALLED/NEW ITEM

                                             Serial Number                            Cage                                             Serial Number
Cage


                                             Date Removed                          Part Number                                         Date Installed
Part Number
                                                                                                                                       00   0000 0000
                                             00 0000 0000
                                           ReceIved                    EOC     In Work                             EOC    Completed                    WO Status Cd
Man Hrs              Elapsed His
2.1                  0,7                   07 JAN 2011 0844                    14JAN 2011 1222                             14 JAN 2011 1340            U
Meter                In Process nap        Safety El      Posit        Rd      Tech      f                        System Reason
                                                                                                                 GEN RELAY PANEL
                         N
                                                          (H-Z) Failed/Required Material

                                                                 OW    PROJ PRI         Date ORD                 ODSN            Date IRCVD             NOMEN
Index F/P AfT MAL Cage                Part Number




                                                                                                                                     INATOR
DISCREPANCY


#1 GENERAL FIEL4Y PANEL COMPONENTS FILTHY.




CORRECTIVE ACTION
                                                                                       INSPECTION.
CLEANED #1 GENERAL RELAY PANEL AND ALL COMPONENTS AND WIRING. AREA FOD FREE AT TIME OF




                                                    INSPECTED BY                                             MAINT CONTROL
CORRECTED BY



Pane 1 of 1
   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.182 Page 88 of 155



                                       COMPL-.TE WORK ORDER FOR.
 MCN           JCN                     Type WO          Org Code      Modex     Buno/Semo            Assy Cd      Work Center       CF Req         QA Req
 229F5R2       GKMOO3C18               PF               GKM           69        163077               AHXD         X52               N              N
 Inirm Cd      Code          Bask No                    Rev Ltr                             Amend                  Part                            Kit No


 Turn-In Doc     WUC/IJNS                                            Trans    MJL     Item Process    Action Taken Mat Code             Disc Code Type Maint
                 42AJY       (2j!1              1
                                                .JI      PaL.          Ii        1      1             C            306                  M           (3

                            REMOVED/OLD ITEM                                                             INSTALLED/NEW ITEM

 Cage                                         Serial Number                      Cage                                          Serial Number


 Part Number                                  Date Removed                       Part Number                                   Date Installed
                                              00     0000 0000                                                                 00       0000 0000

 Man Hrs              Elapsed Hrs           Received                   EOC     In Work                      EOC    Completed                   WO Status Cd
2.1                   0.7                   07 JAN 2011 0846                   14 JAN 2011 1303                     14 JAN 2011 1345           U
 Meter                In Process map        Safety El      Posit      Fid     Tech                       System Reason
                          N                                                                          R/l-I GEN RELAY PANEL

                                                          (H-Z) Failed/Required Material

 Index F/P A/T MAL Cage                Part Number                QTY PROJ PRI       Date CR0          DDSN             Date RCVD               NOMEN




DISCREPANCY                                                                                                               INITIATOR


#2 GENERAL RELAY PANEL FILTHY.




CORRECTIVE ACTION
CLEANED #2 GENERAL RELAY PANEL, ALL COMPONENTS AND WIRING. AREA FOD FREE AT TIME OF INSPECTION.




CORRECTED BY                                       INSPECTED BY                                      MAINT CONTROL



Pane 1 of 1
    Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.183 Page 89 of 155



                                        COMPL_TE WORK ORDER FORI,.
 MCN           JCN                      Type WO            Org Code     Modex      Buno/Semo              Assy Cd      Work Center          CF Req         QA Req

 229F5R9       GKMOO3C2O                PF                 GKM          69         163077                 AHXD         X52                  N              N

 Inlrrn Cd     Code          Basic No                      Rev Ltr                              Amend                   Part                               Kit No


 Turn-In Doc     WUC/UNS                ?
                                        1   (
                                        c-.ôa’-                         Trans    M/L       Item Process    Action Taken Mal Code                Disc Code Type Maint
                 42A4110        Di L..f             Pilt                 11         1      1               C                 W33                M           G


                            REMOVED/OLD ITEM                                                                    INSTALLED/NEW ITEM

 Cage                                          Serial Number                        Cage                                               Serial Number


 Part Number                                   Date Removed                         Part Number                                        Date Installed
 —
                                               00     00000000                                                                         00       00000000

 Man Hrs              Elapsed Hrs            Received                    EOC       In Work                       EOC    Completed                      WO Status Cd
 1.8                  0.6                    07 JAN 2011 0858                      17JAN 2011 1139                      17 JAN 2011 1412               U
 Meter                In Process map         Safety El        Posit      Fid      Tech                          System Reason
                          N                                                                               LEFT E-BAY WIRE BUNDLE

                                                             (H-Z) FailedflRequlred Material

 Index F/P A/T MAL Cage                 Part Number                  OW PROJ PRI         Date ORD              DDSN           Date RCVD                 NOMEN




DISCREPANCY
                                                                                                                               J   INITIATOR


LEFT E-BAY WIRE BUNDLE ON LOWER SHELF IMPROPERLY SECURED, WIRES IN A T’NISTED MESS.




CORRECTIVE ACTION
PROPERLY SECURED WIRE BUNDLE IN LEFT E-BAV LOWER SHELF AS REQUIRED. INSTALLATION CHECKS GOOD lAW 420-000. AREA
FOD FREE AT TIME OF INSPECTION.




CORRECTED BY                                        INSPECTED BY                                          MAINT CONTROL
-




Pane 1 of 1
    PHASE
            (Penodical or Conditional)                     INSPECTION RECORD
1. AIRCRAFT MODELIEQUIPMENT NAME                    2. TYPEIMODEUSERIES                                     3. BUNO OR SERIAL NUMBER
CH-53E                                                                                                       163077
4. TYPE OR DESCRIPTION  5. REFERENCE                           B,     DATE      7.     DATE      8. ACTIVITY            9. SIGNATURE
   OF INSPECTION                                                    COMMENCED        COMPLETED

PHASE “C”15762.5                 AI-H53CE-MRC-400              090821           091005           HMH-462

                                                                JIe3            i,oizo
                                                                                                                      I




0PNAV4790122A (Rev. 144)
                                                                                                                                       Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.184 Page 90 of 155
      CONDITIONAl.
            (Periodical or Conditional)                          INSPECTION RECORD
 1.   AIRCRAFT MODEUEOUIPMENT NAME                         TYPEIMODEUSERIES                                          3. BUNO OR SERIAL NUMBER
 CH-53E
                                                       [                                                             163077
 4. TYPE OR DESCRIPTION           5. REFERENCE                      6.      DATE      7.     DATE      8. ACTIViTY                 9. SIGNATURE
    OF INSPECTION                                                         COMMENCED        COMPLETED

 TRANSFER ll’TSP/5350.7           COMNAVA[RFORINST 4790.2           081023            081023           HMH-462
 ACCEPTANCE INSPI
 53507                            COMNAVAIRFORINST 4790.2           081024            081024           HMH-466
 TRANSFER INSP/A5455.3            COMNAVAIRFORINST479O.2A           090315            090315           HMH-466
 ACCEPTANCE INS/
 A5465.0                          COMNAVAIRFORINST 4790.2A          090315            090316           HMH-361
 TRANSFER INSP/57 14.6            COMNAVAIRFORINST 4790.2A          090806            090806           HMH-36 1
 ACCEPTANCE INSP/
 5732.3                           COMNAVAIRFORINST 4790.2A          090815            090815           HMH.-462

 ON TIME 1NSP15762.5              A1-H53CE-420-000                  090912            090915           HMH-462

TRANSFER [NSP/5824.9              COMNAVAIRFORINST479O.2A           091127            091127           HMH-462
ACCEPTANCE INSP/
5824.9                            COMNAVAIRFORINST 4790.2A          091128            091128           HMH-366 DET B
TRANSFER TNSP/5874.7              COMNAVAIRIORINST 4790.2A          100112            100112           HMH-366 DET B
ACCEPTANCE INSP                   COMNAVAIRFORINST 4790.2A CH2      100121            100407
                         /                                                                             FRCSW SAN DIEGO
TRANSFER INSP                     COMNAVAIRF0RJNST 4790.2A CH2      101037            101037
                     /                                                                                 FRCSW SAN DIEGO         1
LEp1JC.,f         1tiM            CNNAIiaS 499.A C- lôiOO8                                 lUU)2O       HUi&S’5
R4/LDz.                           ei/.cr ‘,4cv.z4 clip               Ii                ii p2           Jg4’- $5
            /t.*P/   61’/.        I7bLT              g31’ jq         lI/’z



OPNAV 4790122A (Rev. 1-84)
                                                                                                                                                  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.185 Page 91 of 155
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Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.187 Page 93 of 155




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                                                                                MISCELLANEOUSI’FIISTORY
 iRCRAFT MODEL           OR   EQUIPMENT NAME
                                                                       EQUIPMENT MODEL)TYPE
                               CH-53E                                                                                                                  BUNO OR SERIAL I(O.

     DATE                                                                                                                                                             163077
                                                                                                     REMARKS
     110215             EFFECTIVE THIS DAT
                                       1  E                 LATE ENTRY:        101020),       RCVD ACFT BT.JNO     163077    FROM FEC SW               SAN DIEGO,CA     UPON
                        COMPLETION OF PMI
                                          -D.               PHASE       BASE TIME IS 5762.5
                                                                                                   WITH NEXT       “D”    PHASE   DUE          AT   5962.5.    THIS DATE,      THE
                       MONTHLY         FLIGHT SUMMARY FLIG
                                                           HT HOURS                IN   PERIOD AND SINCE          NEW    WERE VERIFIED TO
                                                                                                                                          BE                CORRECT.


                                                                                          I
                       EFFECTIVE
                                                                                                      1H4H_465,
                                            THIS DATE,      ACFT       BUNO 163077 WAS TRANSFERR
                                                                                                 ED          TO    HMH 361 lAW CG 3RD MAW ATh
                                                                                                                                              J132-11.                         ACT BASE
                       DATES         AND    TIMES WERE VERIFIE
                                                              D/ESTABLISHED               AND ARE AS        FOLLOWS:
                       INSP/BASE/NEXT              DUE
                                                                                                    INSP/BASE/NEXT          DUE
                       SPECIAL         14 DAY/101013
                                                             /       110302
                                                                                                     N.E.    14    DAY/101013                 110302
                                                                                                                                      /
                       SPECIAL         28   DAY/101013
                                                             /       110302
                                                                                                     N.E.    28 DAY/101013
                                                                                                                                      /       110302
                       SPECIAL         56   DAY/10].013      /       110330
                                                                                                     M.E.    18    DAY/100929
                                                                                                                                          /    110330
                       SPECIAL        182    DAY/100929
                                                                 /    110330
                                                                                                     N.E.    364   DAY/100929             /    110928
                       SPECIAL        364    DAY/100929
                                                                 /    110928
                                                                                                     M.E.    3 YE? 100126         /       130126
                       SPECIAL 25           HR/    5931.1    /       5981.1
                                                                                                     N.E.    200   HR/5880.3          /       6080.3
                      SPECIAL         50    ER!    5809.8    /                                       M.E.    400   HR/5874.7
                                                                                                                                      /       6274.7
                      SPECIAL         100    ER!    5917.2       /   6017.2
                                                                                                     M.E.    800   HE) 5874.7             /    6674.7
                      SPECIAL 150            HR/    5912.1       /   6062.1
                                                                                                     PHA.SS/    5-4-&,1
                      SPECIAL 1200 HR
                                     /5693.5                     /   6893.5

                      THE MONTHLY FLIGHT
                                         SUMMARY HOURS                         IN PERIOD AND
                                                                                                   IN LIFE     WERE VERIFIED              TO   BE   CORRECT.
4790/25A (8-89) SIN 0107-7
                           70-3508
                                                                                                                                                                                          Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.188 Page 94 of 155
                                                        MISCELLANEOUS!HISTORY
AICRAFr LOO OR EOUTPMRT RRdE
                                                OOEJERES
                                                                                                UNO CR 5RAL NC
                          CH-53E
                                                                                                                   163077

       DATE                                                                  REMARKS
                    EFFECTIVE THIS DATE, RECEIVEDACFT BUNO 163077 FROM HMH-465 lAW
                                                                                   CG 3RD MAW ATL NR J132-1 1 MSG DTG 041637Z JAN 11. THE
                    FOLLOWING_INSPECTION_BASE TIMES_AND WHEN_DUE_TIMES_HAVE_BEEN_E
                                                                                   STABLiSHED:
                    INSPECTION                            BASE TIME                             WREN DUE
                    200 HOUR PHASE (A)                    5953.0                                6153.0
                    25 HOUR                               5931.1                                5981.1
                    50 HOUR                               5809.8                                6009.8
                    100 HOUR                              5917.2                                6017.2
                    150 HOUR                              5912.1                                6062.1
                    200 HOUR ME.                          5880.3                                6080.3
                    400 HOUR ME.                          5874.7                                6274.7
                    800 HOUR ME.                          5874.7                                6674.7
                    1200 HOUR                             5693.5                                6893.5
                    14DAY                                 101013                                110302
                    14 DAY M.E.                           101013                                110302
                    28 DAY                                101013                                110302
                    28 DAY ME.                            101013                                110302
                    56 DAY                                101013                                110330
                    182 DAY                               100929                                110330
                    182 DAYM.E.                           100929                                110330
                    384 DAY                               100929                            .   110928
CPNAV 4190’25A REV.e.69 SIN O1O7-LF7JO.35O
                                                                                                                                            Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.189 Page 95 of 155
   Site : HMH36I                                                         NALCOMIS                                                       Date :27 APR2011
                                                                  Configuration Management                                              TIme :09:34
                                                                                                                                                           --
   Requested ORG Code   : GH7                                                                                                           ReqBy:
            BUNO        : 163077                             Outstanding Technical Directives Report                                    Page :Pagelof8
            TO Code     :ALL
            TD Basic    : ALL
                                                  A
                                                  MP
                                            I    REAP             51                             Target
BUNO!       Component   TO      TO          N    E N R   R         I         Issue             CompletIon    Man        TD                       Schd           Usage
&mQ                     Code si!       ISJ.t I    Q I        M     L WUCIUN$                                 ff2W1 Description                   Exondtr        Remng

163077      00040        93     0003 00                  R         3             22 Jan 2007   30 Jun 2015       3.0 REINSTL FIT PGS RMVD                         1.000
                                                                                                                     ON PREV SW INSTLNO
                                                                       7294200
                                                                                                                     LONGER ON AC1V TOSA
                                0011                     R         3             I7JLIn2OIO 3OJun 2018           3.0 INSTLOF FLIR SYS, SEU,
                                                                       7294200                                       OP SW VER 4.03 AND VSP
                                                                                                                     SW VER 2.40
            163077       50     0819 Al                  R         3             11 Aug2005 30 Jun 2013       1280.0 C1W INSTRUCTIONS FOR                         1.000
                                                                                                                     INSTALLATION OF THE
                                                                       1000000
                                                                                                                     INTEGRATED
                                0549                     R         3             08 Jan 2009   30 Jun 2016      20.0 COMPLY WIINSTL OF                            1.000
                                                                                                                     RT.1851(A) ARC-210
                                                                       1000000
                                                                                                                     SATCOM RADIO.UP TO
                                0549                     R         3             06 Jan 2009   30 Jun 2016     200.0 COMPLY WI1NSTL OF                            1.000
                                                                                                                     RT-1861(A) ARC.210
                                                                       1000000
                                                                                                                     SATCOM RADIO.UP TO
                                0550 Al                  R 2ADIAWJ 1             29 Jul 2010   30 Jun 2018         0.5 PERFORM RELOCATION                         1.000
                                                                                                                       OF APP CLUTCH BLEED
                                                                       1000000
                                                                                                                       AIRLINE
                                0555 Al                  R         3             O6May2OlO 31 Dec2017           30.0 INSTL HEELS                                  1.000
                                                                                                                     WUC 1000000
                                                                       1000000
                                                                                                                     DEPOT-LVL MOD AS
                                0555 A3                  R         3             06 May 2010 31 Dec2017         20.0 INSTL HEELS                                   100
                                                                                                                     WUC 1000000
                                                                       1000000
                                                                                                                     DEPOTLVL MOO AS

                                0557 Al                  R         3             19 May2010 30 Jun 2018         70.0 INSTI OF MCU                                  1.000
                                                                       1000000

                                0562 Al                  R         3             17 Dec 2009 31 Dec 2017        25.0 INSTL CRASH                                   1.000
                                                                                                                     ATTENUATING CREW
                                                                       1000000
                                                                                                                     CHIEF SEAT IN CH53E
                                0565 Al                  R         3             08 Mar 2011   31 Dec 2013       52.0 INSTI.. OF CH53E ALE.47                      1.000
                                                                                                                      DUAL DISPENSER POD
                                                                       1000000
                                                                                                                      SYSTEM
                                                                                                                                                                           Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.190 Page 96 of 155
   Site : HMH36I                                                         NALCOMIS                                                       Date       27 APR 2011
                                                                 Configuration Management                                               Time     :09:34
   Requested ORG Code          : GH7                                                                                                    Req By   :
            BUNO               :163077                      Outstanding Technical Directives Report                                     Page     : Page 2 of 8
            TO Code            : ALL
            TO Basic           :ALL
                                                    A
                                                    MP
                                                I REAP           U                              Target
BUNO!        Component         TO     TD        N E N R R         I             Issue         Completion    Man         ID                           Schd        USaGe
                               e           !SIt I 22 I I MI±      1. WUCIUN$                                tho     DeacrlBtign                      Exndtr      Remno
163077       163077            50     0585 A2           R         3             08 Mar2011    31 Dec2013     62.0 INSTL OF CH53E ALE-47                            1.000
                                                                      1000000                                     DUAL DISPENSER POD
                                                                                                                  SYSTEM
                                      0566 A3           R         3             08 Mar 2011   31 Dec 2013     82.0 INSTL OF CH53E ALE-47
                                                                      1000000                                      DUAL DISPENSER POD
                                                                                                                   SYSTEM
                                      0565 A4           R         3             08 Mar2011    31 Dec2013      62.0 INSTL OF CH53E ALE47                            1.000
                                                                      1000000                                      DUAL DISPENSER POD
                                                                                                                   SYSTEM
                                      0569 00           R 2ADIAWK I             15JuI2010     30Jun2018      100.0 INSTL OF ThE 164.GE-419                         1.000
                                                                      1000000                                      ENG ONTO ThE CHS3E

                               93     0008 00           R         I             iOMar2Oll     310ec2012           0.6 INSTI. ANIALE47(V) OFP                       1.000
                                                                      1000000
                                                                                                                      SW VER. 1130,
                                                                                                                      SEQUENCER OFP 3049
             1842              51     0091 00           R         1             15 Oct2001    31 Dec2009      10.0 ADD AN ADDITIONAL                               1.000
                                                                      15A7492                                      METHOD OF TRACKING
                                                                                                                   COMPONENTS BY
             207A8             61     1212 00           R         1             04 Feb 2002 31 Dec 2009           6.0 ADD ADDITIONAL                               1.000
                      4) L.’                                                                                          METHOD OF TRACKING
                      ,)-                                             49AP300
                                                                                                                      COMPONENTS BY
                      j          -‘   1324 00           R         1             26 Jan 2005   31 Dec 2012         0.5 PROVIDE PROVISIONS                           i.oó
                                                                      49AP300                                         FOR QUICK DISCONNECT
                                                                                                                      OF SINGLE POINT CARGO
         (A’    “
         ‘
                                 —    1324 00       1   R         1             13 Dec2005                        1.0 CHANGE PARA 12,                              1.000
                                                                      49AP300                                         RECORDS AFFECTED
                                                                                                                      SECT TO READ:
             2081              61     1212 00           R         1             04 Feb 2002 31 Dec 2009           6.0 TO ADD AN ADDITIONAL                         1.000
                                                                      15A6133                                         METhOD OF TRACKING
                                                                                                                      COMPONENTS BY
             20L5334           67     1155 00       1   U 2ADIAVY 1             17 Dec2010    3lOec 2011          0.4 ACB 1155 Al ONE.TIME                          1.000
                                                                      9IAILOO                                         INSPECTION OF OPNAV
                                                                                                                      47901138 AIRCREW
                                                                                                                                                                            Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.191 Page 97 of 155
   Site:HMH36I                                                       NALCOMIS                                                       Date :27 APR 2011
   Requested ORG Code                                         Configuration Management                                              Time :09:34
                        : GH7
            BUNO                                                                                                                    Req By:
                        :163077                          Outstanding Technical Directives Report
            TO Code                                                                                                                 Page ;Page3of8
                        :ALL
            TO Basic    : ALL
                                                A
                                                MP
                                            REA      P        Lii                              Target
BUNOI     Component     TI)    TI)      N EN R       R        I                Iau           Completion    Man      TD                        Schd      Usage
                        !     i1        I        I. I f44     h W1J1UNS                                          Descilotign                  Exondtr   Remna
163077    269133        02    0114                   R        2                28 Jan 2010   30 Jun 2018     0.5 REPL 10 O’CLOCK                          1.000
                                                                    22600                                        EXHAUST FRAME PREZ
                                                                                                                 ELBOW WINEW DESIGN
                              0119                   R                         14JuI2010     30Jun2018       18.0 CONVERSION OF
                                                                    22600                                         T64.GE-416A TO
                                                                                                                  T84-GE-419 FOR USE ON
          269447        02    0114                   R        2                28 Jan 2010   30 Jun 2018     0.5 REPL 10 O’CLOCK                          1.000
                                                                    22600                                        EXHAUST FRAME PREZ
                                                                                                                 ELBOW WINEW DESIGN
                              0119                   R        I                l4JuI 2010    3OJun 2018      18.0 CONVERSION OF                           1.000
                                                                    22600                                         T64.GE416A TO
                                                                                                                  T64-GE4IO FOR USE ON
          269490        02    0114                   R        2                26 Jan 2010   30 Jun 2018     0.5 REPLIO O’CLOCK                           1.000
                                                                    22600                                        EXHAUST FRAME PREZ
                                                                                                                 ELBOW WINEW DESIGN
                              0119                   R                         14JuI201O     30Jun2018      16.0 CONVERSION OF                            1.000
                                                                    22600                                        T64-GE-418A TO
                                                                                                                 T64-G5419 FOR USE ON
          2799          61    1212 00                R                         04 Feb 2002   31 Dec 2009     6.0 TO ADD AN ADDITIONAL                     1.000
                                                                    1 6A6133                                     METHOD OF TRACKING
                                                                                                                 COMPONENTS BY
          855           61    1212 00                R                         04 Feb 2002   31 Dec 2009     6.0 TO ADD AN ADDITIONAL
                                                                    15A6133                                      METHOD OF TRACKING
                                                                                                                 COMPONENTS BY
          95419         61    1510 Al                R        3                05 Aug 2010 30 Jun 2018      64.0 COMPLY WIMOD OF TM                       1.000
                                                                    22862                                        MFC

                              1510 81                R        3                O5Aug2OlO 30Jun2018          64.0 COMPLY WIMOD OF TM                       1.000
                                                                    22662                                        MFC

          A069.00799    51    0088 DO       B        R        3                26 Aug 2009 31 Dec 2012       8.0 COMPLY                                   1.000
                                                                    I 5A74G0                                     WIIF4PROVEMEp4T OF MR
                                                                                                                 DAMPER
                                                                                                                                                                  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.192 Page 98 of 155
   Site : HMH36I                                                              NALCOMIS                                                     Oate    :27 APR 2011
                                                                       Configuration Management                                            Time    :09:34
   Requested ORG Code        : GH7                                                                                                          Req By:
            BUNO             :163077                              Outstanding Technical Directives Report
                                                                                                                                            Page   :Page4ot8
            TO Code          :ALL
            TO Basic         : ALL
                                                A
                                                MP
                                              IREAP                    M                              Target
BUNOI       Component        TD   TD          N   E N R     R                         Issue         Compleflon    Men        ID                        Schd       Usage
            &ro2          Cp      aIc ii I            2 I        MCN   L WUC!UNS                                  Hou                                             Remno
163077      A069-00802       51   0068 00         B         R          3              26 Aug 2009 31 Dec 2012       8.0 COMPLY                                      1.000
                                                                            15A74G0                                     WRMPROVEMENT OF MR
                                                                                                                        DAMPER
            A069-01524       51   0088 00         B         R          3              26 Aug 2009 31 Dec2012        8.0 COMPLY
                                                                            15A7400                                     WIIMPROVEMENT OF MR
                                                                                                                        DAMPER
                                  0091   00                 R                         150ct2001     31 Dec2009      10.0 ADD ADDITIONAL                             1000
                                                                            15A74G0                                      METHOD OF TRACKING
                                                                                                                         COMPONENTS BY
            A069-01638       51   0088 00         B         R          3              26 Aug 2009 31 Dec 2012       8.0 COMPLY                                      1.000
                                                                            15A7400                                     WIIMPROVEMENT OF MR
                                                                                                                        DAMPER
            A089-02891       Si   0088 00         B         R          3              26 Aug 2009 31 Dec 2012       8.0 COMPLY                                      1000
                                                                            15A74G0                                     WIIMPROVEMENT OF MR
                                                                                                                          DAMPER
            A069.03049       51   0088 00         B         R          3              26 Aug2009 31 Dec 2012        8.0 COMPLY                                      1.000
                                                                            15A74G0                                     WIIMPROVEMENT OF MR
                                                                                                                        DAMPER
            A117-00501       51   0091   00                 R           1             16 Oct 2001   31 Dec 2009     10.0 TO ADD AN ADDITIONAL                        4.000
                                                                            15A6100                                      METHOD OF TRACKING
                                                                                                                         COMPONENTS BY
            A117.02646       51   0091   00                 R           I             15 Oct2001    31 Dec2009      10.0 TOADDAN ADDITIONAL                          1.000
                                                                            15A6100                                      METHOD OF TRACKING
                                                                                                                         COMPONENTS BY
            A117.04108       51   0091   00                 R           1             15 Oct 2001   31 De 2009      10.0 TO ADD AN ADDITIONAL                        1.000
                                                                            15A6100                                      METHOD OF TRACKING
                                                                                                                         COMPONENTS BY
            A130-00383       51   0094 00                   R           1             15 Oct2001    31 Dec2009      10.0 ADDADDITIONAL                               1.000
                                                                            15A74J0                                      METHOD OF TRACKING
                                                                                                                         COMPONENTS BY
                   ,,
                         .7 52    0150 00                   Li          1             11 May 2005 31 Dec 2006           2.0 COMPLY Wit TIME INSP                     1.000
                                                                            15A74J0                                         FOR MFG DEFECT ON MR
                                                                                                                            PITCH HORN

                         0
                                                                                                                                                                             Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.193 Page 99 of 155
   Site : HMH36I                                                       NALCOMIS                                                           Date :27 APR 2011
                                                                Configuration Management                                                  Time :09:34
   Requested ORG Code     : GH7                                                                                                           Req By
            BUNO          :163077                          Outstanding Technical Directives Report
                                                                                                                                          Page :Page5of8
            TO Code       :ALL
            TO Basic      : ALL
                                                   A
                                                   MP
                                               I REAP           M                                Target
BUNOI       Component     TO       TO          N E N R R                         Issue         CompletIon    Men      ID                            Schd      Usage
            roo           &        1t J1 I        2 I I M2      L, WUCIUNS Qet                                     DesctotIon                       ExpncHr   Remna
163077      A13700145     51       0097                R        3                14 Feb 2011   30 Jun 2018     1.0 INSTL OF H53E                                1.000
                                                                      15A7500                                      IMPROVED MR
                                                                                                                   SWASHPLATE BEARING
            A139-00185    51       0091   00           R                         15 Oct 2001   31 Dec 2009     10.0 TO ADD AN ADDITIONAL                        1.OL
                                                                      ISAF400                                       METHOD OF TRACKING
                                                                                                                    COMPONENTS BY
                               —   0092 Al                      3                18 Nov 2005 30 Jun 2012       2.0 ROTOR SYSTEM, HUB
                         JA                                                                                                                                     1.000
                                                                      15AF400                                      ASSEMBLY, TAIL. ROTOR,
                                                                                                                   ROTOR TRACK AND
                    L-—52          015900              U         •1              22 Apr 2008   30 Jun 2009      1.0 PROVIDE ONE TiME                            1.000
                   fJ                                                 1 5AF400                                      INSPECTION OF TAIL.
                                                                                                                    ROTOR HUBJBLAIDE
            A15-00856     51       0094 00             R                         09 Mar 2011   30 Jun2018      4.0 INSTL OF NGB INPUT                           1.000
                                                                      260F300                                      AND OUTPUT SEALS

                                   0094A1           02R         2                09 Mar 2011   30 Jun 2018      2.0 INSTL OF NGB INPUT                          1.000
                                                                      260F300                                       AND OUTPUT SEALS

                                   0094A2           02R         2                09 Mar2011    30Jun2018        2.OINSTLOFNGBINPUT                              1.000
                                                                      260F300                                      AND OUTPUT SEALS

            A170-00057    61       1408 BI             R        3                30 Sep 2009 31 Dec 2016       20.0 REMOVE THE NUMBER                           tOO’IJ
                                                                      I1GI 100                                      SIX DRIVE SHAFT
                                                                                                                    SUPPORT FITTINGS,
            A276-00475    61       1212 00             R                         04 Feb2002 31 Dec 2009         6.0 TO ADD AN ADDITIONAL                        1.000
                                                                      280E310                                       METHOD OF TRACKING
                                                                                                                    COMPONENTS BY
            A302-01466    51       0091   00           R        I                15 Oct 2001   31 Dec 2009     10.0 TO ADD AN ADDITIONAL                         1.000
                                                                      15A0100                                       METHOD OF TRACKING
                                                                                                                    COMPONENTS BY
            B1420Q214     61       1212 00             R        I                04 Feb 2002 31 Dec 2008        8.0 TO ADD AN ADDITIONAL                         1.000
                                                                      14E1810                                       METHOD OF TRACKING
                                                                                                                    COMPONENTS BY
                                                                                                                                                                         Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.194 Page 100 of 155
   Site HMH36’I
                                                                           NALCOMIS                                                         Date :27 APR 2011
   Requested ORG Code           : GH7                               Configuration Management                                                Time :09:34
                                                                                                                                            ReqBy:              —
            BUNO                :163077                        Outstanding Technica’ Directives Report
            TDCode              :ALL                                                                                                        Page :Page6of8
            TD Basic            : ALL
                                                    A
                                                    MP
                                                 IREAP                 M
8UNO/                                                                                                 Target
                   Component    TO    i’D        N ENRR                I             Issue         Completion     Man       TD                        Schd          Usage
                                                 I   2 I               ,   WUCIUNS   Qg               Qate       LiQLIIE Descilt1pn                   Exsndtr       Remng
163077             CYCOOIIS     61   1294 00               U                         16 Dec 2003   31 Dec 2006       1.0 TO PROVIDE AN                                1.000
     “C.                                                                                                                 ADDITiONAL. SEAL TO
                                                                           295C700
                                                                                                                         THE EAPS
                   0474.00922   51   0062 00               U           6             01 Feb 1983   30 Jun 1988
    (P                                                                                                               8.0 COMPLY WIINSTL OF MR
                                                                           16A7403                                       DAMPERS IMPROVED
                                                                                                                         ROD END ASSY
                   GKM0237      54   5535 Al               R 2ADI9LP                 01 Dec2010 30 Jun 2014          1.0 COMPLY W!MOD OF                              1.000
                                                                           12340                                         ANIAAQ-24(V) ZEROIZE
                                                                                                                         AND EGI PWR PNL ASSY
                   J58i4        61   1355 Al               R           3             15 Jan 2008   30 Jun 2018       1.0 PROVIDE INSTL                                1.000
                                                                           22662                                         INSTRUCTiONS FOR
                                                                                                                         ADDITION OF
                                     1610 Al               R           3             05 Aug 2010 30 Jun 2018        64.0 COMPLY WIMOD OF T64                          1.000
                                                                           22662                                         MFC

                                     1510 81               R           3             05 Aug 2010 30 Jun 2018        64.0 COMPLY WIMOD OF T64                          1.000
                                                                           22662                                         MFC

     ,   c..   —   PNCLEO34     61   1294 00               U           1             16 Dec 2003 31 Dec 2006         1.0 TO PROVIDE AN                                1.000
                                                                           295C700                                       ADDITIONAL SEAL TO
                                                                                                                         THE SAPS
                   SL01860      51   0091 00               R                         15 Oct 2001   31 Dec 2009      10.0 ADD AN ADDITIONAL                            I .00’O-
                                                                           15A7492                                       METHOD OF TRACKING
                                                                                                                         COMPONENTS BY
                   SUSGZO85     61   1511 Al               R           3             04 Aug 2010 30 Jun 2018        20.0 COMPLY WIMOD T64 ENG                         1.000
                                                                           2266100                                       ROTARY FUEL PUMP AND
                                                                                                                         FILTER
                                     1511   81             R           3             04 Aug 2010 30 Jun 2018       20,0 COMPLY W1MOD T64 ENG                          1.000
                                                                           2266100                                      ROTARY FUEL PUMP AND
                                                                                                                        FILTER
                   SUSG2IS8     61   1511 Al               R           3             04 Aug 2010 30 Jun 2018       20.0 COMPLY WIMOD T64 ENG                          1.000
                                                                           2266100                                      ROTARY FUEL PUMP AND
                                                                                                                        FILTER
                                                                                                                                                                                 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.195 Page 101 of 155
   Site : HMH36I
                                                                        NALCOMIS                                                 Date   :27 APR 2011
   Requested  ORG Code   : GH7                                  Configuration Management                                         Time   :09:34
             8UNO        : 163077                          Outstanding Technical Directives Report                               ReqBy
             TO Code     :ALL                                                                                                    Page :Page7of8
             TD.Basic    : ALL
                                                  A
                                                  MP
                                              IREAP             M                            Target
BUNO,       Component    TO       Tb          N E N R R         I             Issue       Completion    an     TO                           Schd       Usage
                         Co                   I   Q I j 4           WUIUNS                  Da          HQi Dcrlptlori                      Exndtr     Remni
163077      SUSG21G8         61   1511 81              R        3             04 Aug 2010 30 Jun 2016     20.0 COMPLY W!MOD T64 ENG                      1.000
                                                                    2268100                                    ROTARY FUEL PUMP AND
                                                                                                               FILTER
            SUSG376          61   1511 Al              R        3             O4Aug 2010 3OJun 2018       20.0 COMPLY WIMOD T64 ENG                      I .0.
                                                                    2266100                                    ROTARY FUEL PUMP AND
                                                                                                               FILTER
                                  1511   BI            R        3             O4Aug2OlO 3OJun2Olg         20.0 COMPLY WIMOD T64 ENG                      1.000
                                                                    2266100                                    ROTARY FUEL PUMP AND
                                                                                                               FILTER
            XXX              61   1373 Al              R        3             26Feb20l0 3OJun 2018         2.0 INSTL OF T64 VARIABLE                     1.000
                                                                    22616                                      GEOMETRY ACTUATOR
                                                                                                               SEAL
                                  1373 Al              R        3             26Feb20l0 30Jun2048          2.0 INSTL OF T64 VARIABLI                     1.000
                                                                    22616                                     GEOMETRY ACTUATOR
                                                                                                              SEAL
                                  1373 Al              R        3             26Feb20l0 30Jun2018          2.0 INSTL OF T64 VARIABLE                     1.000
                                                                    22616                                      GEOMETRY ACTUATOR
                                                                                                               SEAL
                                  1373 Al              R        3             26Feb20f0   3OJun2OlB        2.0 INSTL OF T64 VARIABLE                     1.000
                                                                    22616                                      GEOMETRY ACTUATOR
                                                                                                               SEAL
                                  1373 Al              R        3             28Feb20j0   30Jun2018        2.0 INSTI OF TM VARIABLE                      l.00
                                                                    22616                                      GEOMETRY ACTUATOR
                                                                                                               SEAL
                                  1373 Al              R        3             26Feb2010   30Jun2018        2.0 INSTL OF T64 VARIABLE                     1.000
                                                                    22616                                      GEOMETRY ACTUATOR
                                                                                                               SEAL
                                  1373 81              R        3             2SFeb2OIO 3OJun2QlB          2.0 INSTL OF TM VARIABLE                      1.000
                                                                    22616                                      GEOMETRY ACTUATOR
                                                                                                               SEAL
                                  1373 81              R        3             26Feb201Q   3Olun 2018       2.0 INSTL OF TM VARIABLE                      1.000
                                                                    22616                                      GEOMETRY ACTUATOR
                                                                                                               SEAL
                                                                                                                                                                 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.196 Page 102 of 155
                                                                                                                                  ______
                                                                                                                                            ______




   Site ; HM1i61                                                 NALCOMIS                                               Date :27 APR 2011
   Requested ORG Code                                     Configuration Management                                      Time :09:34
                          GH7
            BUNO        : 163077                     Outstanding Technical Directives Report                            ReqBy:
            TDCode      :ALL                                                                                            Page :Page8of8
            TD Basic    : ALL
                                            A
                                            MP
                                       I REA     P        N                         Target
BUNOI       Component   TO   TO        N E N R   R        I           Issue       CompletIon   Man     TO                         Schd      Uege
                        2!         .S1I I   2 I 1 MQ      L WUCIUNS 2I.e            t2         U91! DO$1iPtlOn                    Expndtr   RorflflQ
163077      XXX         81   1373 Bi             R        3           26Feb2010 30Jun2018         2.0 INSTL OF T64 VARIABLE                    1.000
                                                              22616                                   GEOMETRY ACTUATOR
                                                                                                      SEAL
                             1373 81             R        3           26Feb2010 30Jun2018         2.0 INSTL OF T64 VARIABLE
                                                              22616                                   GEOMETRY ACTUATOR
                                                                                                      SEAL
                             137381              R        3           26FebZOlO 3DJun2DiB         2.0 INSTL OF T64 VARtABLE                    1.000
                                                              22618                                   GEOMETRY ACTUATOR
                                                                                                      SEAL
                             1373 81             R        3           26Feb2010   3OJun2OlB       2.0 INSTL OF T64 VARIABLE                    1.000
                                                              22816                                   GEOMETRY ACTUATOR
                                                                                                      SEAL
                                                                                                                                                       Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.197 Page 103 of 155
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                                                                                           1. PLACE
                        DEPARTMENT OF THE NA VY                                               HMH-361
                                                                                           2. DATE
                        VOLUNTARY STATEMENT
                                                                                              22 March 2011

                                  —----•
                                                                                  USMC                                 make the following


    free and voluntary statement to

    whom I know to be

    I make this statement of my own tree will and without any threats or promises extended to me. I fully understand that this

    statement is given concerning my knowledge of

    Aircraft 69 on 9 March 2011.
    I signed for aircraft 69 on 9 March 2011 to conduct a training flight
    from MCAS Miramar over to the Yuina range area,and recovered back at MCAS
    Miramar.  I was the section leader for the flight.            The crew on board was
                    and              as  the  1
                                              co-pilots     crewchiefs  were
    and    --—      and  my  AO for  the  flight   was  Sgt  Fontalvo.    We had no
    maintenance issues starting up the aircraft and taxiing outbound for an
    on time take off of 0930.     Pins were pulled with no issues or any
    indications that anything was out of the ordinary.            Once departed, as the
    flight passed  Santee   Lakes and   before   Lake  Jennings   I moved the gear
    handle up in order to bring the gear up.          We received the normal
    indication of three up and lacked, which was verbalized over 1CS.             We
    proceeded over the hill into R-25l0 to conduct training.            Once complete
    with TAC Form maneuvers, the gear handle was again manipulated to bring
    the gear down.   Normal indication of three down and locked was shown and
    verbalized over ICS and we then began the TERF training for the flight.
    TERF complete, the flight transitioned to Imperial Airfield for fuel.
    The gear remained down for this evolution with no issues.            The flight
    departed Imperial   and  conducted   CALS  at  LZ  Bull.   As  per the  timeline and
    training requirements, the flight departed for Mirainar at about 1345.
    Following course rules home, the flight brought the gear back up at
    Plaster city with normal indications three up and looked.            Once on final
    for runway 28  the gear   was brought   down   with  normal   indications  showing
    three down and locked which was again, verbalized over ICS.             Safe
    landings were made by both aircraft.         The flight taxied back to the line,
    pins went in without issue    followed    by  a normal shutdown.




    OPNAV 5527/2 (DEC 1982)
        Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.199 Page 105 of 155



                             Daily Maint. R       zrds for MODEX 69                 /BUN          163077

      Received Date:   15 MAR 20111531   CompletIon Date:   15 MAR 2011 2102   Maint Cntl SIg:


                         Tool                                                                                 Worker
                         BOX #                          Discrepancy                              Corrected   Signature
  Card No      Wc Cd
 2.2            13A    NTR                                                                          LI

 5.2            13A    NTR                                                                          LI

 5.3            13A    NTR                                                                          fl

 5.6            13A    NTR                                                                          [j


‘3.2            120    5-1



3.22            120    5-1



‘323            120    5-1



‘3.24           120    5-1



 3.3            120    5-1



 3.30          120     5-1



‘3.37          120     5-1



 3.8           120     5-1                                                                         fl

‘3.9           120     5-1                                                                         U

               200     200-41                                                                      [

A41            200     200-41



               200     200-41                                                                      LI

4.3            200     200-41                                                                      I .1

4.4            200     200-41                                                                      El
        Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.200 Page 106 of 155


                                   Mant. R         rds for MODEX                      !BUN’

      Received Date:   15 MAR 2011 1531   Completion Date:   15 MAR 2011 2102   Maint CntI Sig:   —




                         Tool                                                                          Worker
                         OX #                            Discrepancy                                  Slgnatur
    Card No    Wc Cd
“4.5            200    200-41



“5.5            200    200-41



“5.4            200    200-41



1               310    1-5



2               310    1-5



2.1            310     1-5



2.10           310     1-5



2.2            310     1-5



2.3            310     1-5



2.4            310     1-5



2.5            310     1-5



2.6            310     1-5



2.7            310     1-5



2.8            310     1-5



2.9            310     1-5



3,1            310     1-5



3.10           310     1-5



311            310     1-5
         Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.201 Page 107 of 155



                                      Maint. R       rrds for MODEX                     IBUN

       Received Date:    15 MAR 2011 1531   Completion Date:   15 MAR 2011 2102   Maunt Ciii! SIg:

                              Tool
  Card No       Wc Cd         Box #                        Discrepancy

 3.12            310     1-5



 3.13            310     1-5



 3.14            310     1-5



 3.15           310      1-5



 3.16           310      1-5



 3.17           310      1-5



 3.18           310      1-5



3.19            310      1-5



3.2             310      1-5



3.20            310     1-5



3.21            310     1-5



3.22            310     1-5



3.23            310     1-5



3.24            310     1-5



3.25           310      1-5



3.26           310      1-5



3.27           310      1-5



3.28           310      1-5
        Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.202 Page 108 of 155


                                  Maint. R        rds for MODEX                     /BUN’

      Receved Date:   15 MAR 2011 1531   CompletIon Date:   15 MAR 2011 2102   Maint Cntl Sig:

                        Tho[                                                                                  Worker
  Card No     Wc Cd     Box #                           Discrepancy                              Corrected   Signature

3.44           310     1-5



3.45           310     1-5                                                                          Fl

3.5            310    1-5                                                                           fl

3.6            310    1-5                                                                           LI

3.7            310    15



3.8           310     1-5                                                                          fl

3.9           310     1-5                                                                          LI

5.2SPH        310     1-5                                                                          LI

3.3 DPP       310     1-5



54 FAST       310     1-5                                                                          Li

3.5 WINCH     310     1-5                                                                          LI

5.6 CONFI(    310     1-5                                                                          LI

.6 PROBE      310     1-5                                                                          LI
         Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.203 Page 109 of 155



                                       Maint. Rc       rds for MODEX                     /BUNI’

       Received Date:     15 MAR 2011 1531   Completion Date:   15 MAR 2011 2102   Melnt Cntl Sig:

                               Tool
      Card No    Wc Cd         Box#                        ._C!Pfl$y.

 3.29             310      1-5                                                                        LI

 3.3              310      1-5                                                                        LI

 3.30             310      1-5                                                                        Li

3.31             310      1-5                                                                         rz
3.32             310      1-5                                                                         LI

3.32             310      1-5                                                                         El

3.33             310      1-5



3.34             310      1-5



3.35             310      1-5                                                                        LI

3.36            310      1-5                                                                         [I

3.37            310      1-5                                                                         LI

3.38            310      1-5



1.39            310      1-5                                                                         LI

1.4             310      1-5                                                                         LI

.40             310      1-5                                                                         LI

.41             310      1-5                                                                         LI

.42             310     1-5
                                                                                                     LI

.43             310     1-5
                                                                                                     LI
          Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.204 Page 110 of 155



                  Turnaround M:ant, R                   rds for MODEX 69                /BUN         1163077

         Received Date:   16 MAR 2011 1630   Completion Date:   16 MAR 2011 2244   Maint Cntl Sig:   —‘—




                           Tool                     V
                                                                                                                  Worker
                           Box #
                                         V



                                                            Discrepancy                              Corrected   Signature
        Card No   Wc Cd
    1              310    1-7



    2              310    1-7                                                                           Li

3                  310    1-7                                                                           Li

4                 310     1-7                                                                           Li

5                 310     1-7                                                                           Li

6                 310     1-7



7                 310     1-7                                                                          fl


8                 310     1-7



9                 310     1-7                                                                          Li
    Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.205 Page 111 of 155




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      Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.208 Page 114 of 155




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  8 April 2011

  0750


                                                                                                     er from
                                                son, and the acting father for my 10 year old daught
  Sgt Fontalvo is the father to my one year old
  a previous relationship.
                                                  . This was not a contentious issue for me and my
  My daughters father is no longer in the picture
  husband.

  Our son was born on February 22, 2010.
                                                   y engaged to be married. The engagement occurred
  We have been dating for 4 years and were recentl
                                                      away. No date was set for the wedding.
  in the beginning of March, when my mother passed
                                                  er as a part of HMH-466.
  I met Sgt Fontalvo when we were deployed togeth

  I currently work at MWHS-3, out of the ALD office.
                                                          December of 2007.
  Sgt Fontalvo and I have lived together, off base, since
                                                                                  Mother, Father and older
  Sgt Fontalvo is really close with his nuclear family, which all live in Houston.
                                                         us relationship that he is not as close with. I have
  brother. His father has 2 other children from a previo
                                                         been particularly good with my daughter.
  a good relationship with his family. They have always
                                                          raised me, died in March. My birthmother
  My family resides in New Mexico. My stepmother, who
                                                               nship with my father.
  passed away when I was six. Sgt Fontalvo had a close relatio
                                                      July 2010. Our connectivity was good while he was
  Sgt Fontalvo left on deployment for the 31 MEU in
                                                           skype when he was in Okinawa.
  deployed. We used email when he was on the ship, and
                                                                in October to remove a tumor from his
  He returned early because our son was going to have surgery
                                                              r, the surgery was postponed until
  lung. Because he had an upper respitory infection in Octobe
                                                               stress of a 9month old having surgery, we
  November. He was excited to be home, and aside from the
                                                             was very successful, and our son came home
  enjoyed a good relationship during that time. The surgery
                                                               vo would stay home vice returning to
  after 5 days. It was decided by the command that Sgt Fontal
                                                             health after his surgery recovery.
  Okinawa. There were no further complications to my sons
                                                              vo would check in each morning with
  While he was home and the squadron was deployed, Sgt Fontal
                         The     was also around for HMH-361.

                                                               His normal work hours resumed. While
  The rest of the detachment came home in December of 2010.
                                                              them, he was happy to stay home with
  he was mildly disappointed not finishingthe deployment with
                                                         66. He had actually asked to return to his first
  the family. Generally, he wished to come back to HMH4
                                                              in his shop that treated him different after
  squadron, but his request was denied. He worked for a SNCO
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.212 Page 118 of 155




                                                                                                                            ed
                                                                                         t him with the respect he deserv
             retu rn   to  his  depl  oym   ent.    I  always felt that they didn’t trea                                   a
 he didn’t                                                                          e the SNCOs and officers worked in
                                             the front office of airframes whil
 as a SNCO select. He worked in
 different office.
                                                                        and her husband             as well as
        ld con side   r our   mutu   al frien  ds to be
 I wou
 his wife             and their family.
                                                                                           that. He would occasionally go
                  is  not  a  big  drink  er.  I  do    not like alcohol and he respects
 Sgt Fontalvo                                                                                                             ut it.
                                                                                   nd me because of the way I felt abo
                                          beers, but didn’t drink much arou
  out with his friends for a few
                                                 ol dependency.
  He certainly did not have an alcoh
                                                                                                 playing flight simulator on
            alvo ’s  time   was    mos  tly  con   sum    ed with being a father. He enjoyed
  Sgt Font                                                                               and intended on staying in the
                                              cted to staff sergeant this summer,
  the computer. He had been sele                                                             teach at the schoolhouse there.
           Corp  s.   We    were    talki ng  abo     ut moving to Pensacola so he could
  Marine
                                              a Staff Sergeant.
  He was excited about becoming
                                                                                                            on any medication.
                      of  any   injur ies  that   he    had.  To  the best of my knowledge, he was not
  I did not know
                                                   ency on prescription medication.
   He certainly did not have a depend
                                                                                                                              ed
                                                                                       of anytime that he ever contemplat
                                                  me about suicide, nor do I know
  Sgt Fontalvo has never spoken to
                                              mentally abusive to me.
   it. He was never physically nor
                                                                                                  Aerial Observer. He loved
            star ted    flyin g  this sum   mer,      on  deployment, and was designated an
    He had                                                                                    It was the first time he was
                                                       work the morning he died, because
   flying. He was very excited going to                                                                  the left window. He
             act  as   an  AO.    This  mean     s he    was n’t going to be in the back, but manning
   going to
                                                      how excited he was.
   called me that afternoon to tell me




                                                   Print                                  Date
  Sign
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 31 March 2013.

  1105

                      HMH-466 Airframes
                                                                                                                     sonal
                                                                                 could be described as both a per
            wn  Sgt Fon talv o  sinc e Oct  ober 26, 2006. Our relationship                                        ore  this
  I’ve kno                                                                                          occasions bef
                            dep   loy ed  tog ethe  r wit h HMH   -466. We shared several social
  and professional. We                                                            since deployment. I was invited to
                                                                                                                         his
              nt dep loy men   t, but  our  visi ts had been more infrequent                                         r.
  most rece                                                                    intended on celebrating it togethe
                                       also share the same birthday, and
  son’s first birthday party. We
                                                                                                 he was usually the
                      wn  Sgt  Fon  talv o to  be  add icte d to any drugs or alcohol; in fact
   I have never kno                                                            w of any addictions to prescriptio
                                                                                                                    n
       ign ated driv er whe  n  out  on  social occasions. I also don’t kno                                 ing trou ble
   des                                                                                              was hav
                          od  was   ver y  eve n,  and  I kne w of ho stressors in his life that he
    medication. His   mo
  with.
                                                                                            very proud to be a
                           dep  loy men  t, he see med even happier than previous. He was
  Since he returned from                                                         y in the airframes shop at
                son . He des ired to retu  rn to HMH-466, but he was not unhapp
  father of his
                                     flying.
  HMH-361. He seemed to enjoy




                                                                       of my interview.
                                      nt is an accurate representation
   I certify that this 1 page stateme




                                                   Print                                Date
   Sign
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.214 Page 120 of 155




                                           HMH-361

  31 MARCH 2011

  0954
                                                                              he checked into HMH-361. I
                                          oximately 1 and a half years, since
  I have known SSGT Montalvo for appr                                           for me in the shop. I knew
                                       personal and professional He worked
  would describe our relationship as                                              s at squadron functions.
                                         as well. We have met a couple of time
  him well, but I did not know
                                                                                   ames CDI and CDQ,AR came
                                        his training and qualification as an Airfr
   I did not qualify him as a mechanic,
  underneath
                                                                                  t interaction with him did
                                        alvo went to 3l MEU, so my more recen
  I went to Afghanistan when Sgt Font
  not start again until 10 Feb 2011.
                                                                                  ember that he was
                                          nd the shop. He had found out in Sept
  Sgt Fontalvo was very motivated arou                                                  promotion. He was
                                             itely happy about his job, and excited for
  selected for Staff Sergeant. He was defin
                                             .
   also happy to be flying with the squadron
                                                                                       demeanor as happy.
                                            al, and I would characterize his general
   He was always very polite and profession
                                                                                           intments for his son,
                                           hip problems. He had several medical appo
   He never came to me with any relations                                                     de.
                                              ary. It did not affect his work ethic or attitu
   but nothing I thought was out of the ordin
                                                                                               g erratically in or
                                                 ol nor medications. I never saw him actin
   I do not know of any addition to drugs, alcoh
   around the shop.
                                                                                                   y tight group.
                                                 pretty good after deployment. We are a prett
   The environment of the airframes shop was                                                  out of the
                                               al month in Airframes, no external stresses
   The month of March was a relatively norm
   ordinary.


                                                                                      .
                                              accurate representation of my interview
   I certify that this 1 page statement is an




                                                                                  13iP&     2oL

                                              Print                              Date
   Sign
Crew locations at time of mishap
                                                                                             TN




                                                      A/C 69
                                                      Pilot right seat:
                                                      Pilot left seat:      -




                                                      In the cabin:
                                                      At Lose Landing Gear:
                                                      Left Main Landing Gear: Sgt Fontalvo
                                                      Taxi Director:




                               A/C 68
                               Turn-up, right side:
                                                                                                  Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.215 Page 121 of 155
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     6a pri I

     1506



     HMH-361 flightline

     On 17 March, W85 assisting on the flightline, acting as a taxi director for aircraft 69. I am a 6113
     flightline mechanic. I got to the fleet and HMH-361 in January of this year. I was out on the flightllne
     approiruately 8 minutes before the aircraft turned up. This was my first time taxiing an aircraft, and I
     was under training.

    Referencing the diagram, was at the 1130 to l2oclock of the aircraft. I did not see the call or hand
    signal for pins and chalks.             went to the nose wheel at the same time that Sgt Fontalvo went
    to the left main landing gear. I did not see             actions at the nose landing gear as I was
    watching Sgt Fontalvo at the left main landing gear.

    Sgt Fontalvo went underneath the main landing gear, and tried to pull the landing gear pin out. When
    he was unable, he laid down, presumably so he could get more leverage. He still could not get it out.
    He got back up, and went and pulled the aux tank pin. With the aux tank pin in his hand, he went back
    underneath. He was laying on his left side, His feet were pointing outward from the aircraft. He
    reached up with his right hand again to pull the main landing gear pin. I do not know where the aux
    tank pin was at this time. Between the time that he pulled the aux tank pin and the time the aircraft
    collapsed, approximately 45 seconds past. He was pulling at the main landing gear pin the whole time.
    He was not otherwise moving or inspecting the rest of the main landing gear.

    The aircraft slammed to the deck without warning, and Sgt Fontalvo was trapped underneath.




                                                                             tjj.L1   L3

   Sign                                     Print                            Date
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.217 Page 123 of 155




     6 April 2011

     0857



     HMH-361 Flightline

      was conducting a post-phase ground turn of A/C 68, which was parked to the immediate left of A/C 69
     on 17 March, 2011. On preflight of A/C 68, we found that the 4 2 overheat harness had been
     cannibalized, so our aircraft was not going to be flying that afternoon. This left us to conduct “ground
     work” on A/C 68.

     I was on my aircraft’s right side, as the pilots of A/C 68 were conducting test procedures on the #3
     engine. This was the side closest to the hangar, as well as closest to the mishap A/C 69. We were at a
     stopping point, as the pilots were writing down the parameters on their test card.

    The first time I saw Sgt Fontalvo was when he.came around from the opposite side of the aircraft and
    underneath the probe to pull the pins on the left side of his aircraft. He was always inside the rotor arc.
    He was not up ICS. At that point, my attention went back to my aircraft for approximately 10 seconds.

    The standard procedure is pulling the landing gear pin first, then the Aux tank second. Normally, pulling
    the pins takes only a few seconds. You duck underneath the Aux tank, and pull the pin out. It should
    slide nice and smooth, Generally you stay either on your knees or crouching while pulling the pins.

     What caught my eye was that Sgt Fontalvo was laying on his side to look up into the wheel well.
    Knowing Sgt Fontalvo is an airframer, I was not alarmed by him inspecting the landing gear. He was
    laying down on his left side, reaching up with his right hand, with his feet extended toward me, or
    outward from the aircraft.

    He reached up with his right hand, with his body on its left side, but flush with the ground. He was
    reaching up to grab the landing gear pin. I could not tell how much force he was applying to pull the pin.
    I don’t remember the next few seconds, but what I do remember doing is telling my pilots “the bird is
    down” and then disconnecting ICS to run over and assist.

    I did not see Sgt Fontalvo approach or pull the Auxiliary Tank pin.

    I certify that this 1 page statement is an accurate representation of my interview.




                                                                               3’flL      ac


                                             Print                            Date
ASM                                                                                                                                   Page 1 of 3


 Trainee                                                                                                                               Add
                                                                                                                                  [
 {me: SGT FONTALVO, ALEXIS            SSN Last 4: 2071       Up-To-Date as of: 02-Jun-201 0 by                                    [Up To Datej
 Search                                                                                                                               Return
                                                                                                                                  L
   Accreditation Status:                                                               Lsearc1
  Accreditation Type:
                                                                                       [__Reset
   AccreditaUon Status Reason:

   Tour Of Duty:                                    -
                                    ( 04-Feb-2011       Present ) HMH-361

 Accreditations
                                                .                                                        Records 1 to 31 of 31

                                    Title                                     Status              iiid Grantedpftes
       Iyp I                                                 tinit
                                                                                                    Date    On j on
                    2A42 TOW TRACTOR (H-                    HMH-                                  22-Feb- 09-Mar- 03-Aug-
   LICENSE                                                               Active
                        53E) (MQJ                           :361                                  2011    2011    :2011
                        i48AS100 3000 PSI PORTABLE
                                                   :HMH                                           22-Feb-    09-Mar- 1 4-Nov-
   LICENSE              NITROGEN CYLINDER (H-53E)       Active
                                                    361                                           2011       2011    2011
                        (Mci.
                        AIM27T-5 HYDRAULIC                   HMH                                  22-Feb-    09-Mar-    03-Aug-
   LICENSE                                                           -
                                                                 Active
                        SERVICING UNIT (H-53E) (MCI          361                                  2011       2011       2011
                        NS32A-45 MID RANGE TQy              ;HMH                                  22-Feb-    09-Mar-    06-Nay-
   LICENSE                                                       Active
                        LRACTOIR (H-53E) .(Mc                361                                  2011      .2011       2011
                        NQ10A/B/C AND AMJ32A-108
   LICENSE              MOBILE ELECTRIC POWER                            Active
                                                                                                  22-Feb-    09-Mar- 23-Nay-
                                                                                                  2011       2011    2011
                        PLANT (MEPPI 1J-53El (MC)
                        DU-20/M AIR COMPRES$Q.               HMH                                  22-Feb-    09-Mar- 03-Aug-
   LICENSE                                                       Active
                        1NIT (H-53PI (MC)                   .361                                  2011       2011    :2011
                 HELICOPT
                 HYDRAULIC/PNEUMATIC                         HMH                                  22-Feb-    22-Fob--
   QUALIFICATION                                                     -
                                                                 Active
                 MECHANIC (6153 MATMEP                       361                                  2011       2011
                 1E\LEL IV) (H-53l MC)
                    .


   QUALIFICATION
                            LSAMPLE QUAL (H-53E)             HMH                                  22-Fob-    30-Mar-
                        (M_Q                                     Active
                                                            :361                                  2011       2011
                 HELICOPTER
   QUALIFICATION HYDR,UIJCLPNEUMATIC                         HMHActive                            22-Fob-    22-Fob-
                                                                                                  2011       2011
                        MANIcJ1a1ATh4EP
                                                                                                                                                    Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.218 Page 124 of 155




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                                                                                                                                        3/31/2011
ASM                                                                                                    Page 2 of 3


                   VEL I) (H-53E) (MC’)
   QUALIFICATION NAMP INDOC TRAINING (MC)          HMH-.Pending          03-Ma
                                                   361   Qualification   2011
   QUALIFICATION BLADEJPYLON FOLD QUAL (H          HMH                   22-Feb-     30-Mar-
                   53E’) (MC>                            Active
                                                   361                   2011        2011
   QUALIFICATION
                 AUXILIARY POWER PLANT            :HMH-:                 22-Feb-     23-Feb- 24-Mar-
                                                         Exp,red
                   IPP’I QUAL (H-3E) (MC’)         361                    )11        2011    .2011
                 • CORROSION
   QUALIFICATION
                 • CONTROL/EMERGENCY              HMH-                    22-Feb-    22-Feb-
                                                         Active
                   BCLAM4AILQN LEVEL III                                  2011       2011
                    M.IE
                 EGRESS/EXPLOSIVE SYSTEM
   QUALIFICATION CHECKOUT CERTIFICATION (H        :HMH.Actjve             1 6-Feb-   04-Mar- 30-Sep-
                 53E’) (MC)                                              .2011       2011    .2011
                 :ATh0t’t LEVEL
   QUALIFICATIONMAINTENANCE MATMEP                       ‘Active          22-Feb-    22-Feb-
                                                  :361                     .,l1      2011
                 (SECTIONS C AND D LEVEL IV)
                 ORGANIZATIONAL LEVEL             ;HMH.
   QUALIFICATION MAINTENANCE MATMEP                                       22-Feb-    22-Feb.
                 (SLECTIONS C AND U LEVEL III)     361 ActIve            :2011       2011
                                                  HMH                     22-Feb-    22-Feb-
   QUALIFICATION QUALITY A_SSURANCE LEVEL II          Active
                 MATMEP                           361                     2011       2011
                 BRAKE RIDER CERTIFICATION        HMH                     22-Feb-    30-Mar-
   E
   3
   QUALIFICATION(Hs
                ) (MC)                                Active
                                                  361                     2011       2011
                 HELICQPTE9
   QUALIFICATION HYDRAULI    C/PNEUMATK           H MH                   ‘22-Feb-    22-Feb-
                 MECHANIC,(6153 MATMEP            361  Active
                                                                          2011       2011
                 LEVEL III) (H-53E) (M
                 PLANE CAPTAIN DESIGNATION         HMH-: Pending
   E)
   53
   QUALIFICATION(H (MC)                           :361 Qualification
                                                                         I15-F
                                                                         .2011
                 EINT TOUCH-UP AND
                                                  HMH-                    22-Feb-    22-Feb-
   QUALIFICATION MARKLNGS N-701 -OQ1 S (H-53E’l          Active
                                                                         :2011       2011
                 CORROSION
   QUALIFICATION CONTROL/EMERGENCY                HMH                     22-Feb-    22-Feb-
                 LPMATION LEVEL IV                    Active
                                                  361                    .2011       2011
                 MATMEP

   QUALIFICATION LAXI DIRECTOR           HMH-:                            22-Feb-    22-Feb-
                                               Active
                 SYLLABUS/CERTIFICATIoNJ 361                              2011       2011
                                                                                                                     Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.219 Page 125 of 155




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ASM
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                 53E)jCj
   QUALIFICATION 1.DRA FT TOW QUAL (H.-EI       HMH           22-Feb       30-Mar-
                  (MC)                              Active
                                                361           2011        .2011
                  AIRCRAFT TIRE/WHEEL
   QUALIFICATIONMAINANCE                        HMH-          :22-Feb--   09-Mar-
                  QUALIFICATION/CERTIFICATION        Actwe
                                                361            2011       2011
                  (H-53E) (MCJ
                  HELICOPTER
   QUALIFICATION HYDRAULIC/PNEUMATIC                 Active   22-Feb-     22-Feb-
                  MECJjANIC (6153 MAThIEP                     2011        2011
                  LEVEL II’ (H-53EI (MC)
                  ORGAN IZATIONAL LYL
   QUALIFICATION MAINTENANCE MATMEP             HMHActive     22-Feb-     22-Feb-
                  (SECTIONS C AND 0 LEVELJfl                  2011        2011
                  CORROSION
   QUALI FICATION CONTROL/EMERGENCY             HMH           ;22-Feb-    22-Feb-
                  RECLAMATION LEVEL II              Active
                                                361            2011       2011
                  MATMEP
   QUALIFICATION QUALITY ASSURANCE LEVEL I      HMH-.At       22-Feb-     22-Feb-
                  MATMEP                                      2011        2011
                  QRROS ION
   QUALIFICATION CONTROL/EMERGENCY              HMH           22-Feb-     22-Feb-
                  RECLAMATION LEVEL!                Active
                                                361           2011        2011
                  MATMEP
                  HYDRAULIC CONTAMINATION
   QUALIFICATION CONTftQNAY$JS                  HMH           .22-Feb-    15-Mar-
                                                    Active
                  TECHNICIAN DESIGNATION (H     361            2011       2011
                                                                                                   Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.220 Page 126 of 155




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 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.222 Page 128 of 155




                                           ADB Work Order
Wort Center                       CF Reqd QA Reqd System Reason
210                                 N       N     NLG HARNESS CLAMPS
Assy Cd        Buno/Semo          WO Status Cd PILOTJINITIATOR                                In Process Inspectlons Modex
AHXD           163077             U            Transfer                                                             69
                                                        REPAiR CYCLE
                DATE       TiME   EOC                      DATE        TIME       EOC                        DATE        TIME
 RECEIVED     08 OCT2010                  IN WORK
                                                    (    25 OCT 2010   1800
                                                                              f         COMPLETED       25 OCT 2010      0250
DISCREPANCY
ORIGINAL: ONGHNQU. NLG HARNESS CLAMPS ARE WORN. R&R
NEW WORK: AEOIO




CORRECTIVE ACTION
REPLACED NLG HARNESS CLAMPS lAW 130-000. AREA POD FREE AT TIME OF INSPECTION.




CORRECTED BY               INSPECTED BY                    MAINT CONTROL                MCN            JCN
                                                                                        228F1Q         GKM281272
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.223 Page 129 of 155




                                                ADB Work Order
Work Center                            CF Reqd QA Reqd System Reason
210                                      N       N     PARKING BRAKE UGHT
Assy Cd        BunoSerno               WO Status Cd PILOTIINITIATOR                            In Process Inspections Modex
AHXD           183077                  U            Transfer                                                         69
                                                         REPAIR CYCLE
                DATE            TIME   EOC                     DATE         TIME   EOC                        DATE         TIME
 RECEIVED
DISCREPANCY
              08 OCT 2010
                            (   0458           IN WORK    20 OCT 2010
                                                                        j   1251         COMPLETED       20 OCT 2010
                                                                                                                       I   1251


ORIGINAL: ONGHNQX. PARKING BRAKE LIGHT INOP WHEN HANDLE RAISED AND BRAKES CONFIRMED ON. LIGHT WORKS WITH
CAUTION PANEL PRESS TO TEST.
   NEW WORK: AE007




CORRECTIVE ACTION
SCIR Change Close-Oul ReferToMCN; 229F2EG




CORRECTED BY                    INSPECTED BY                   MAINT CONTROL             MCN            JCN
                                                                                         229F1QC        GKM281273
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.224 Page 130 of 155




                                               ADB Work Order
 Work Center                                          System Reason
 210                                                  PARKING BRAKE LIGHT
                                      WO Status Cd PILOTIINITIATOR                               In Process Inspections Modex
                                      D           Transfer                                                             69
                                                       REPAIR CYCLE
                 DATE      TIME       EOC                    DATE         TIME       EOC                        DATE        TIME
 RECEIVED      200CT2010       1251    2    INWORK      2000T2010     j   1920
                                                                                 f    Z    COMPIETED       200CT2010        194
DISCREPANCY
SCIR CHANGE: 229F1 DC. ORIGINAL: ONGHNQX. PARKING BRAKE LIGHT INOP WHEN HANDLE RAISED AND BRAKES CONFIRMED
ON. LIGHT WORKS WITH CAUTION PANEL PRESS TO TEST.
   NEW WORK: AE007




CORRECTIVE ACTION
CLEANED CORROSION AND LUBRICATED PARKING BRAKE SWITCH LINKAGE, OPERATION CHECKS GOOD lAW 130-200. AREA FOD
FREE AT TIME OF INSPECTION.



CORRECTED BY               INSPECTED BY                      MAINT CONTROL                 MCN            JCN
                           -



                                                                          —                229F2EG        GKM281273
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.225 Page 131 of 155




                                               ADB Work Order



                                                           REPAIR CYCLE
               DATE           TIME   EOC                      DATE        TIME   EOC                         DATE     TIME
 RECEIVED
DISCREPANCY
            27 OCT 2010
                          f   1742           IN WORK
                                                       J    27 OCT 2010   1756         COMPLETED   j    26 OCT 2Q10   0324


PARKING BREAK LIGHT IS INTERMITTENT WITH PARKING BREAK CONFIRMED ON. ATTEMPTED TO RESET BREAK AND LIGHT
WOULD COME ON, ONLY TO TURN OFF AGAIN WITHIN A FEW SECONDS.




CORRECTIVE ACTION
ADJUSTED PARKING BRAKE ADJUST SWITCH lAW 130-00. SYSTEM OP CHECKS GOOD lAW 130-200 AREA FOD FREE AT TIME OF
INSPECITON.



CORRECTED BY                  INSPECTED BY                    MAINT CONTROL            MCN             JCN
                                                                                       229F2RU         GKM3001 51
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.226 Page 132 of 155




                                               ADB Work Order
Work Center                           CF Reqd QA Reqd System Reason
310                                     N       N     MLG GROUNDING STRAP
Assy Cd        Buno/Semo              WO Status Cd PILOT/INITIATOR                        in Process Inspections Modex
AHXD           163077                 U            -                                                            69
                                                        REPAIR CYCLE
                DATE           TIME   EOC                  DATE        TIME   EOC                        DATE        TIME
 RECEIVED
DISCREPANCY
              09 NOV2010
                           J   0818           IN WORK    09 NOV2010    0820         COMPLETED       09 NOV2010       032


MAIN LANDING GEAR GROUNDING STRAP WORN.




CORRECTIVE ACTION
REMOVED AND REPLACED MAIN LANDING GEAR GROUNDING STRAP lAW 130-000. AREA LEFT FOD FREE AT TIME OF rNSPECTION.




CORRECTED BY                   INSPECTED BY                 MAINT CONTROL           MCN            JCN
                                                                                    229F38M        GKM313514
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.227 Page 133 of 155




                                                    ADB Work Order
Wort Center                            CFReqd QA Reqd System      Reason                                         V




120                                        N          N      LMOIBTIRE
Assy Cd            Buno/Serno          WO Status Cd PILOT/1NmATOR                              In Process Inspectk,ns Modex
AHXD               163077              0
                                                             REPAIR CYCLE
                    DATE        TIME   EOC                      DATE        TIME   EOC                        DATE       TIME

 RECEIVED
              (   13 DEC 2010   1010    Z
                                               J   IN WORK    13 DEC 2010   1054    Z    COMPLETED
                                                                                                       (   13 DEC 2010   1347

DISCREPANCY
L1MIOIB TIRE CUT OUT OF LIMITS.




CORRECTIVE ACTION
REMOVED AND REPLACED UMJOIB TIRE lAW 130-000. AREA FOD FREE AT TIME OF INSPECTION.




CORRECTED BY                    INSPECTED BY                     MAINT CONTROL           MCN               JCN
                                                                                         229F4PH           0KM347163
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.228 Page 134 of 155




                                              ADB Work Order
Work Center                        CF Reqd QA Reqd System Reason
210                                  N       N     TA1L SKiD ACTUATOR
Assy Cd        BunolSerno          WO Status Cd PILOTflNrnATOR                               In Process Inspections Moclex
AHXD           163077              D                                                                               69
                                                       REPAIR CYCLE
                DATE        TIME   EOC                     DATE       TIME       EOC                      DATE          TIME

 RECEIVED     20 DEC 2010   0805    Z
                                         J   IN WORK    20 DEC 2010   0812
                                                                             f    Z    COMPLETED       20 DEC 2010      1507

DISCREPANCY
TAIL SKID ACTUATOR STUCK IN ThE EXTENDED POSITION,




CORRECTIVE ACTION
REMOVED AND REPLACED TAIL SKID ACTUATOR. SYSTEM OIP CHECKS GOOD lAW 130-200. AREA FOD FREE AT THE TIME OF
INSPECTION.



CORRECTED BY                INSPECTED BY                   MAINT CONTROL               MCN             JCN
                                                                                       229F56A         GKM354074
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.229 Page 135 of 155




                                                 ADB Work Order
Work Center                            CF Reqd QA Reqd System Reason
020                                      N       N     NLG HARNESS CLAMPS
Assy Cd            BunolSemo           WO Status Cd PILOT/INITIATOR                                in Process Inspections Modax
AHXD               163077              U                                                                                 69
                                                             REPAIR CYCLE
                    DATE        TIME   EOC                      DATE            TIME   EOC                        DATE        TIME

 RECEIVED
DISCREPANCY
              f   28 SEP 2010   1340           IN WORK
                                                         j     00   0000
                                                                            f   0000         COMPLETED       08 OCT 2010


NLG HARNESS CLAMPS ARE WORN. R&R
NEW WORK: AEOI 0




CORRECTIVE ACTION
Work orer closed out due to transr new MCN: 229F1Q8




CORRECTED BY                    INSPECTED BY                     MAINT CONTROL               MON            JCN
                                                                Transfer                     ONGHNQU        WC8271 333
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.230 Page 136 of 155




                                                   ADB Work Order
 Work Center                                                System Reason
                                                            PARKING BRAKE LIGHT



                                                            REPAIR CYCLE
                   DATE        TIME     EOC                     DATE        TIME       EOC                     DATE    TIME

 RECEIVED      28 SEP 2010      1928          j   IN WORK      00   0000    0000
                                                                                   J         COMPLETED   08 OCT 2010

DESCREPANCY
PARKING BRAKE LIGHT INOP WHEN HANDLE RAISED AND BRAKES CONFIRMED ON. LIGHT WORKS WITH CAUTION PANEL PRESS
TO TEST.
   NEW WORK: AE007




CORRECTIVE ACTION
Work order dosed out due to transfer new MCN: 229F1QC




CORRECTED BY                    INSPECTED BY                     MAINT CONTROL               MCN         JCN
                                                                Transfer                     ONGHNQX     WC8271336
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.231 Page 137 of 155




                                            ADB Work Order
Work Center                        CF Reqd QA Reqd System Reason
120                                  N       N     LEFT NOSE TIRE
Assy Cd        Buno!Serno          WO Status Cd PILOT/iNITIATOR                              In Process Inspections Modex
AHXD           163077              D                                                                               69
                                                     REPAiR CYCLE
                DATE        TIME   EOC                  DATE        TIME       EOC                          DATE        TIME

 RECEIVED     21 NOV2010    1605    Z      IN WORK    21 NOV 2010   1857   j    Z    COMPLETED         21 NOV 2010      1930

DISCREPANCY
LEFT NOSE TiRE hAS CUT IN SIDEWALL OUT OFF LIMITS.




CORRECTiVE ACTiON
REMOVED AND REPIACED THE LEFT NOSE WHEEL AS REQUIRED, lAW 130000.




CORRECTED BY                INSPECTED BY                 MAINT CONTROL               MCN              JCN
                                                                                           PZYM       GKM325882
                                                                                     228
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.232 Page 138 of 155




                                                  ADB Work Order
Work Center                            CF Reqd QA Reqd System Reason
120                                      N       N     MATCH SET
Assy Cd            Buno/Serno          WO Status Cd PILOT1INITIATOR                              In Process Inspections Modex
AHXD               163077              D                                                                               69
                                                           REPAIR CYCLE
                    DATE        TIME   EOC                    DATE            TIME   EOC                      DATE          TIME

 RECEIVED
DISCREPANCY
              J   21 NOV2010    1614    Z
                                             (   IN WORK    21 NOV2010
                                                                          j   1624    Z    COMPLETED       21 NOV2010       1929


MATCH SET LEFT NOSE LANDING GEAR TIRE FOUND BAD




CORRECTIVE ACTION
REMOVED AND REPLACED RIGHT NOSE WHEEL AS A MATCH SET DUE TO LEFTWHEEL NEEDING REPLACEMENT.




CORRECTED BY                    INSPECTED BY                   MAINT CONTROL               MCN             JCN
                                                                                           22BPZYN         GKM325683
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.233 Page 139 of 155




                                             ADB Work Order
Wotk Center                       CF Reqd QA Reqd System Reason
120                                 N       N     EMERGENCY LANDING GEAR
Assy Cd        BunoiSemo          WO Status Cd PILOTIINITIATOR                          In Process Inspections Maclox
AI-IXO         163077             U                                                                           69
                                                      REPAIR CYCIE
                DATE       TIME   EOC                    DATE        TIME   EOC                       DATE         TIME

 RECEIVED     21 NOV2010   2000         J   IN WORK    21 NOV2010    2300         COMPLETED       22 NOV2010       0017

DISCREPANCY
EMERGENCY LANDING GEAR BLOW DOWN BOTTLE NEEDS SERVICED.




CORRECTIVE ACTION
SERVICED EMERGENCY LANDING GEAR BLOW DOWN BOTILE lAW GAI-000. AREA FREE OF FOD AT TIME OF INSPECTION,




CORRECTED BY               INSPECTED BY                   MAINT CONTROL           MCN             JCN
                                                                                  22BPZZN         GKM25709
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.234 Page 140 of 155




                                                      ADB Work Order
Work Center                                CF Reqd QA Reqd System Reason
210                                          N       N     TAILSKIDACTUATOR
Assy Cd        BunolSemo                   WO Status Cd PILOT/INmATOR                                    In Process Inspections Modex
AHXD           163077                      U                                                                                   69
                                                                   REPAIR CYCLE
                DATE            TIME       EOC                        DATE            TiME   EOC                        DATE        TiME
 RECEIVED     05 DEC 2010
                            f   2058
                                       J         j   IN WORK
                                                               f    05 DEC 2010
                                                                                  j   2059         COMPLETED       20 DEC 2010      0955
DISCREPANCY
TAIL SKID ACTUATOR INOP, ThOUBLE SHOT TO BAD TAIL SKID ACTUATOR. POC LCPL ULOTh. UPDATE ACTUATOR FULLY
EXTENDED, GOOD TO FLY, POC




CORRECTIVE ACTION
SCIR CHANGED. REFER TO MCN: 229F56A JCN; GKM354074




CORRECTED BY                    INSPECTED BY                           MAINT CONTROL               MCN            JON
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Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.235 Page 141 of 155




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                                                       ADB Work Order
 Work Center                                   CF Reqd QA Reqd System Reason
 120                                             N       N     NO.1 START VALVE
Assy Cd             BunolSemo                  WO Status Cd PILOTI1NmATOR                            In Process Inspections Modex
 AHXD               163077                     U                                                                           69
                                                               REPAIR CYCLE
                     DATE           liME       EOC                 DATE       TIME       EOC                       DATE         TiME
 RECEIVED
DISCREPANCY
               J   02MAR2011
                                J   1802
                                           f         INWORK     O2MAR2O11     1930
                                                                                     (         COMPLETED       O2MAR2O11        2041

NO.1 START VALVE 1-lAS LARGE HYD LEAK.




CORRECTiVE ACTION
TIGHTENED NO.1 START VALVE JAMNUT lAW REF A1-H53CE-450-000. PRESSURE CHECK IS GOOD, AREA FOD FREE AT TIME
INSPECTION.                                                                                               OF




CORRECTED BY                        INSPECTED BY                  MAINT CONTROL                MCN           JCN
                                                                                               2AD1A2T       GH7OB1 447
     Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.237 Page 143 of 155




I                                                    ADB Work Order
    Work Center                            CF Reqd QA Reqd System Reason
    120                                      N       N     2ND STG HYD LEAK
    Assy Cd             Buno/Semo          WO Status Cdj PILOT/INITIATOR                           In Process Inspections Modex
                        183077             U                                                                                69
                                                             REPAIR CYCLE
                         DATE       TIME   EOC                   DATE       TIME   EOC                               DATE        TIME
     RECEIVED
DISCREPANCY
                  J   02 MAR 2011   2010           IN WORK    02 MAR 2011   2041
                                                                                         J   COMPLETED
                                                                                            00 MAR 2011
                                                                                                           f
                                                                                                           2319

2ND STG HAS HYD LEAK FROM JAMNUT ON TEE UNDERNEATh 1000 PSI PRESSURE REDUCER. LEAK IS G2G FOR FLIGHT POC
ODE ON 2 MARCH 2011.                                                                                     CPL




CORRECTIVE ACTION
REPLACED BACKUP ON JAMNUT UNDERNEATh 1000 PSI PRESSURE REDUCER JAW 450-000. AREA POD FREE
                                                                                          AT TIME OF INSP.




CORRECTED BY                        INSPECTED BY                MAINT CONTROL                MCN               JCN
                                                                                             2ADIA3O           GH7061451
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.238 Page 144 of 155




                                            ADB Work Order
Wodc Center                        CF Reqd QA Reqd System Reason
200                                  N       N     PYLON FOLD
Assy Cd        Buno/Semo           WO Status Cd PILOTITNITJATOR                                In Process Inspections Modex
AHXD            163077             U                                                                                 69
                                                         REPAIR CYCLE
                 DATE       TJME   EOC                      DATE            liME   EOC                        DATE        TiME

 RECEIVED     04 MAR 2011   1720           IN WORK   f    15 MAR 2011
                                                                        f   1001         COMPLETED       15 MAR 2011      1357

DISCREPANCY
PYLON WILL NOT FOLD ELECTRICLY FROM THE COCKPIT.




CORRECTIVE ACTION
REPAIRED BROKEN WIRE IN OVERHEAD COCKPIT lAW WCR-000. SYSTEM OP CHECKS GOOD lAW 450-200 WP1 1. AREA FREE OF FOD
AT TIME OF INSPECTION.



CORRECTED BY                INSPECTED BY                     MAINT CONTROL               MCN            JCN

                                       —
                                                                                         2AD1A8D        GH7063534
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.239 Page 145 of 155




                                                    ADB Work Order
 Wotk Center                               CF Reqd QA Reqd System Reason
 120                                         N       N     1ST STAGE SAMPLE
Assy Cd             Buno/Semo              WO Status Cd Pfl..OT/INITIATOR                           In Process Inspections Modex
AHXD                163077                 U                                                                              69
                                                             REPAIR CYCLE
                     DATE           TIME   EOC                    DATE          TiME   EOC                        DATE         TIME
 RECEIVED
DISCREPANCY
               j   130CT2010
                                J                  INWORK      2700T2010
                                                                            (   1700         COMPLETED        270CT2010        1732

FIRST STAGE SAMPLE DUE TO AIRCRAFT ACCEPTANCE REFER TO JCN GKM281292




CORRECTIVE ACTION
PERFORMED FIRST STAGE SAMPLE lAW 01-1417. AREA FOD FREE AT TIME OF INSPECTION. SAMPLE FAILED. REFER TO JCN
GKM300147 FOR BLEED AND SERVICE.



CORRECTED BY                        INSPECTED BY                  MAINT CONTROL              MCN            JCN
                                                                                             229F1 YL       GKM286477
 Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.240 Page 146 of 155




                                                ADB Work Order
Worl Center                            CF Reqd QA Reqd System Reason
120                                      N       N     1STSTAGEB&S
Assy Cd            Buno/Serno          WO Status Cd PILOTITNIT1ATOR                       In Process Inspections Modex
AHXD               163077              0           —                                                            69
                                                        REPAIR CYCLE
                    DATE        TIME   EOC                  DATE       TIME   EOC                        DATE        TIME
                                1723    Z      INWORK    270CT2010     1733    2    COMPLETED       280CT2010
 RECEIVED
              j   270CT2010                                                                                          0902
DISCREPANCY
PERFORM 1ST STAGE BLEED AND SERVICE DUE TO A FAILED HYDRAUUC SAMPLE.




CORRECTiVE ACTION
PERFORMED 1ST STAGE BLEED AND SERVICE lAW 450-000 DUE TO REMOVAL AND REPLACEMENT OF 1ST STG RESEVOIR. AREA FOD
FREE AT TIME OF INSPECTION. FOR PRESSURE CHECK REFER TO JCN GKM301166, FOR SAMPLE REFER TO JCN GKM300153.



CORRECTED BY                    INSPECTED BY                 MAINT CONTROL          MCN            JCN
                                                                                    229F2RS        GKM300147
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.241 Page 147 of 155
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     At that time, the nose landing gear lifted off the ground approximately 1.5 to2 feet, and did a counter
     clockwise circle away from me. At that time, I was laying down, on the right side of the nose landing
     gear, with my head toward the aft of the airplane. My immediate reaction was to roll to the right side of
     the aircraft. I rolled approximately 5 yards and then stood up. I when I looked, I could see Sgt
     Fontalvo’s body underneath the collapsed portion of the aircraft.

     I screamed to the pilots that “there is somebody under the aircraft, shut down immediately”. The pilots
     executed a emergency shutdown of the aircraft. I did not participate in the rescue operation as I was
     removed from the scene.



     If I had more time troubleshooting the nose landing gear, I would have checked the servicing of the gear
     on top of the strut, and then I would have announced it over the ICS that the pin was stuck. I would
     have asked the pilots if the gear handle was up.



     Interview concluded.




    I certify that this 2 page statement is an accurate representation of my interview.




                                                                               03/3 J/ 2fl

    Sign                                     Print                            Date
Case 3:13-cv-00331-GPC-KSC Document 7-2 Filed 03/06/13 PageID.243 Page 149 of 155


                                                                                         Li




     Here are the steps that we took to troubleshoot the mishap on aircraft 69.

     Starting with a control aircraft, we applied electrical power via NC-l0, and
     checked -For power at the UP Landing Gear Control Valve plug 494 pin A, and the
     DOWN Landing Gear Control Valve plug 495 pin A. Neither plug had power on them
     at that time.

     We then tried the same test on A/C 69. We again applied electrical power via NC-
     10 and checked for power at plugs 494 and 495. P 495 of the Down Landing Gear
     Control had 28 Volt DC. p 494 of the Up Landing Gear Control Valve had no power.
     It was also noted that the tension of the wires on the Down Control were tight
     and without proper strain relief and pin A of 495 had two wear through spots were
     the wires came in contact with the Up Landing Gear Control Valve Cannon Plug.

    Hydraulic power was applied to the control aircraft along with the NC-1O. After
    putting the helicopter up on aircraft jacks, hydraulic and electrical power were
    applied via the A/M27T-5 (Jenny) and the NC-l0. With both the Up and Down
    Landing Gear Control Valve plugs 494 and 495 disconnected we checked for power on
    pin A of the respective plugs. Both plugs had a 0 volt DC reading.

    Hydraulic and electrical power was applied to A/C 69 after it was jacked and
    plugs disconnected to p 494 and P495. Same result as before, P494 had no power
    but 28 volts was present on P495. As soon as the Down Landing Gear Valve cannon
    plug was connected to the valve, the left main landing gear extended.

    All previous checks were completed in a manner that simulated aircraft 69 the day
    of the incident, meaning all cockpit switchology was annotated and matched prior
    to checks. The Landing Gear control Panel was in the down and Lock position and
    the down lock release lever moved out only when weight was off wheels. The
    control aircraft was also used to check landing gear retraction and extension
    operation and it did perform as intended and directed by the technical
    publication Al-HS3CE--130-200.

    The left and right main landing gear harnesses were checked for continuity of the
    scissor switches. Pins that were shown to have continuity in Weight on Wheels
    position had applicable continuity and pins that were shown to be Open with
    Weight on Wheels, were open. The same was applied to Weight off wheels and pins
    with continuity had it and those pins that should have been Open were Open. The
    Landing gear scissor switches ohmed out correctly according to the Al-H53CE-130-
    200 manual.

    Aircraft 69 was relocated to the Hangar and the remainder of the power checks was
    conducted with hangar wall power.

    Having previously noting the bare section of wire going to p 495 of the Down
    Landing Gear Control Valve, hydraulic and electrical power was applied to the
    aircraft and the bare wires were pressed up against the Up Landing Gear Control
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     Valve Plug 494 to see if erroneous voltage on the external portion of the
     connector would actuate the Up Valve. Nothing happened.

     The electrical test on bare sections of wire were still of concern so an external
                                                                                 These
     28 volts was applied to the bare sections to visualize what would happen.
     tests were conducted utilizing the  aircraft crash worthy battery which produces
     28 VDC output. Connecting both P494 and 495 powers was applied to the bare
     sections of pin A and indications in the cockpit were noted along with verifying
     Landing gear pin security. When power was applied to the Up Landing Gear Control
     Valve P494 pin A, the only indication in the cockpit was a momentary reduction in
     Utility hydraulics, the landing gear pins were hard to pull and when they were
     completely removed the gear moved up and when power was removed the gear traveled
     back to the down and lock position.

     When the same test was conducted to the Down Landing Gear Control Valve pin    the
     same fluctuation on Utility hydraulic pressure indicator momentarily decreased
     and the Landing Gear Control Panel lights illuminated.

     The weight on Wheels scissor switches of the left and right landing gear were
     tested in miscompare with one weight on and one weight off and the gear didn’t
     move. Then the switches were swapped and the test was run again with no movement
     on the landing gear. The Landing Gear was then compressed using two jacks and
     the switch was tested for actuation and verified by continuity within specified
     range according to A1-hS3CE-l30-ege, Work Package 5.

     After the system operation of the landing gear system and testing of the system
     was complete physical and visual verification of the power wires pin A of both
     Plug 494 and 495 were traced back to the Landing Gear Control Panel. The only
     noted discrepancies in the wires were the bare portions previously mentioned.
     The wires for the Utility Hydraulic manifold are all white wire and once they
     enter the aircraft about eighteen inches to two feet into the cabin, the wires
     are spliced into Kapton wiring. The wires were inspected from that point to plug
     677 (the connector feed through into the left electronics bay), and from there to
     the landing gear control panel. The wires look and feels structurally sound upon
     inspection.




     Sign                           Print                    Date
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From:
Sent:                    Friday, July 22, 2011 2:07 PM
                                     --



To:
Cc:                                  —-




Subject:                 RE: RH
Attachments:             CH_Phase2.ppt
Signed By:




Hi, I am responsible (along with my co-lead)                 Cc’d) for the Kapton replacement
program at PMA-261.

In short, at a cost of $lM per aircraft, Kapton replacement has never been a -Fully funded
program. As a result, an original (baseline) timelirie to-complete could never be
established; instead, we have been forced to attack the problem in phases based on the amount
of money that became available through multiple POM and Supplemental funding requests.

Our current plan removes/replaces all Kapton from the aircraft in three phases with 19
harnesses targeted in Phase 1, 20 in Phase 2, and 32 in Phase 3. Phase 1 on the CH is
complete, Phase 2 is currently in-work (see attached), and Phase 3 replacement harnesses are
still in development with the first aircraft -Fit check on scheduled for Aug/Sept 2011.

Based on our current funding profile and IMC induction schedule, full Kapton replacement will
be complete for the 97 affected CH’s in FY-17.

If you’re looking more details as to the harness part numbers included in each phase, by BuNo
implementation plan, etc. let me know.

Regards,




     Original Message-   -   -   -




From:   —




Sent: Fri      ‘




To:
Cc:
Subject:


Can you answer question regarding Kapton wiring replacement?

Thanks


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       -Original Message     -




   From: —-—
                            —




                                8:32
   Sent: Friday,. July 22, 2011
   To:
   Cc:

   Subject: RE: RFI
                                                                       questions please
                                         are working. IRT your other
        below is the Proposed AFB we                        I hav e Cc them both on this
                            his rig ht hand              .

    contact             or                                        g else please feel free
        ail. . And as I sta ted on  the phone if you need anythin
    e-m
    to contact me..

    Per our Conversation, the
                               below data is provided:
    As of 15 June 2011
    97 CH53E aircraft
    100% complete phase I
                                II
    27/97 (28%) complete phase
    0% complet e pha se III
